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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
 CARMEN ARROYO, et al.,

               Plaintiffs,
                                              Case No. 3:18-cv-00705-VLB
      -v-

CORELOGIC RENTAL PROPERTY
SOLUTIONS, LLC,

               Defendant.


                    DECLARATION OF TIMOTHY ST. GEORGE

I, Timothy St. George, the undersigned, hereby declare:

      1.    I am admitted pro hac vice to the United States District Court for the

District of Connecticut. I am a member in good standing of the State Bar of Virginia,

an attorney in the law firm of Troutman Sanders, LLP, and counsel for defendant

CoreLogic Rental Property Solutions, LLC ("RPS") in the above captioned matter.

      2.    Based on my experience as counsel for RPS in this matter, I have

personal knowledge of the facts set forth in this declaration and am competent to

testify as to the matters stated below.

      3.    I submit this declaration in support of RPS's Motion for Summary

Judgment.

      4.     A true and correct copy of relevant portions of the Deposition of

Carmen Arroyo, which took place on July 24, 2019, is attached as Exhibit A.

      5.     A true and correct copy of relevant portions of the Deposition of Erin

Kemple, which took place on July 23, 2019, is attached as Exhibit B.




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      6.     A true and correct copy of relevant portions of the Deposition of

Christopher Wildeman, which took place on September 3, 2019, is attached as

Exhibit C.

      7.     A true and correct copy of the Pre-Determination Conciliation

Agreement between the CFHC and WinnResidential, produced by Plaintiffs in

discovery as CFHC000660-000666 is attached as Exhibit D.

      8.     A true and correct copy of relevant portions of the CFHC's Objections

and Responses to RPS's Requests for Admission, dated January 9, 2019, is

attached as Exhibit E.

      9.     The CFHC never supplemented or amended its responses to RPS's

Requests for Admission.

      10.    A true and correct copy of relevant portions of the CFHC's Objections

and Responses to RPS's First Set of Interrogatories, dated January 31, 2019, is

attached as Exhibit F.

      11.    The CFHC never supplemented or amended its responses to RPS's

First Set of Interrogatories.

      12.    A true and correct copy of Plaintiffs' Amended Diversion Log,

produced on July 11, 2019, is attached as Exhibit G.

      13.    A true and correct copy of Plaintiffs' Amended Damages Analysis,

produced on July 11, 2019 is attached as Exhibit H.

      14.    Plaintiffs never supplemented or further amended their Amended

Diversion Log or Amended Damages Analysis.




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        15.   A true and correct copy of U.S. Census Bureau QuickFacts for

Connecticut, Bridgeport, Connecticut, Hartford, Connecticut, New Haven,

Connecticut,       and       Willimantic,       Connecticut,       available      at

https://www.census.goviquickfactsgact/table, last visited November 9, 2019, is

attached as Exhibit I.

        16.   A true and correct copy of Bureau of Justice Statistics, 2018 Update

on Prisoner Recidivism: A 9-year Follow-up Period (2005-2014), dated May 2018, is

attached as Exhibit J.

        17.   A true and correct copy of National Low Income Housing Coalition,

Who Lives in Federally Assisted Housing, dated Nov. 2012, available at

https://nlihc.orgisites/defaultifiles/HousingSpotlight2-2.pdf, is attached as Exhibit

K.

        18.   A true and correct copy of Bureau of Justice Statistics, Location,

available at https://www.bjs.goviindex.cfm?ty=tp&tid=44, is attached as Exhibit L.

        19.   Plaintiffs took no discovery of any apartment complexes, including

WinnResidential.

        I declare under penalty of perjury that the foregoing is true and correct.

Executed on November 11, 2019, at Richmond, Virginia.



                                                    Timothy St. George




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                 EXHIBIT A
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1                        UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT
2
                               Case No. 3:18-cv-00705-VLB
3       _____________________________________
4       CONNECTICUT FAIR HOUSING CENTER
5       and
6       CARMEN ARROYO, individually and
        as next friend for Mikhail Arroyo
7
8                                  Plaintiffs,
9                  v.
10      CORELOGIC RENTAL PROPERTY
        SOLUTIONS, LLC
11                            Defendant.
12      ______________________________________
13
14
15
                          Deposition of Carmen Arroyo
16
                           Wednesday, July 24, 2019
17
                        Connecticut Fair Housing Center
18
                             60 Popieluszko Court
19
                             Hartford, Connecticut
20
                            12:06 p.m. - 4:23 p.m.
21
22
23                        ----- Sharon Roy, RPR -----
                                 Planet Depos
24                      451 Hungerford Drive, Suite 400
                             Rockville, MD 20850
25                               888.433.3767
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                               Transcript of Carmen Arroyo
                               Conducted on July 24, 2019                2

1       A P P E A R A N C E S:
2
3       Representing the Plaintiffs:
4       Salmun Kazerounian, Esq.
        Connecticut Fair Housing Center
5          60 Popieluszko Court
           Hartford, CT 06106
6          860.247.4400 (Fax) 860.247.4236
           swhite@ctfairhousing.org
7
8       Representing the Defendant:
9       Timothy J. St. George, Esq.
        Troutman Sanders LLP
10         Troutman Sanders Building
            1001 Haxall Point
11         Richmond, VA 23219
           804.697.1254
12         tim.st.george@troutmansanders.com
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                                Transcript of Carmen Arroyo
                                Conducted on July 24, 2019               8

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10              Q.      Okay.   So, put aside that single-family
11      house.       Where did you live immediately prior to
12      that?
13              A.      480 Main Street, Windham -- Willimantic,
14      Connecticut.
15              Q.      And was there an apartment number for
16      that or is it a single-family house?
17              A.      It's an apartment.      206.
18              Q.      And is that at the ArtSpace Windham
19      apartment complex?
20              A.      Yes.
21              Q.      And that was also in Windham,
22      Connecticut?
23              A.      Willimantic, Connecticut.
24              Q.      Willimantic, Connecticut.
25              A.      Yes.

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                               Transcript of Carmen Arroyo
                               Conducted on July 24, 2019                9

1             Q.      That Apartment 206, what were the dates
2       where you resided -- the date range that you resided
3       in Apartment 206?
4             A.      November, I don't recall the actual date,
5       but it was in November, I want to say 2016, 2017.
6       Well, I think 2016.
7             Q.      Okay.    So November 2016 until the time
8       that you moved out about a month ago?
9             A.      Yes.
10            Q.      Okay.    And in November 2016, did you live
11      there by yourself?
12            A.      Yes.
13            Q.      And at some point did Mikhail Arroyo move
14      in with you?
15            A.      Shortly after.
16            Q.      Do you recall --
17            A.      Sorry.    For the record, not shortly
18      after.     It took a while.
19            Q.      Okay.    Well, what was the date,
20      approximately?
21            A.      He came home June -- June 23.          I believe
22      in 2016.     So retract that back.        I believe it was
23      the twenty-fifteenth of November coming in, or so.
24      I don't recall quite the date, so please forgive me
25      for that.

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                               Transcript of Carmen Arroyo
                               Conducted on July 24, 2019                12

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4                    All right.     Let's move back in time from
5       the 206 apartment.       What was your address
6       immediately before you lived in the 206 apartment?
7             A.     480 Main Street.
8             Q.     And what apartment number?
9             A.     Oh, gosh.     I would like to say it's 315.
10      I believe it was 315.       Oh, 314.      My mistake, sorry.
11            Q.     314?
12            A.     I believe it was 314.
13            Q.     Okay.    So we'll call that the 314
14      apartment, if that's okay.
15                   Okay.    And when did you begin living in
16      the 314 apartment?
17            A.     November of 2015.
18            Q.     And that's also at the ArtSpace Windham?
19            A.     Yes.
20            Q.     It sounds like it might just be a floor
21      up.   Is that fair?
22            A.     Yes.
23
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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 18

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7         A.      She just wanted me to have some
8    stability.    I was between the hospital and work, so,
9    she just wanted me to have a home to pretty much
10   stay at and just rest with work and going into the
11   hospital.
12        Q.      Okay.   And when you say "going into the
13   hospital," is that in reference to the accident that
14   involved Mikhail Arroyo?
15        A.      Yes.
16        Q.      And when did that accident occur?
17        A.      July 23, 2015.
18        Q.      All right.    So he was injured in July of
19   2015 and you moved into the 314 apartment in
20   November of 2015?
21        A.      Yes.
22        Q.
23
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25

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 19

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6         Q.      It sounds like you moved almost exactly
7    one year into the 206 apartment after you moved into
8    the 314 apartment.      Is that right?
9         A.      Sounds about right.       Again, the time
10   frame I don't recall exactly, but it seems like it
11   may be about right.
12        Q.      And did you have to wait a year to move
13   units within ArtSpace Windham?
14        A.      Yes.
15        Q.      So you had to be in one unit for a year
16   before you'd be allowed to transfer to another unit?
17        A.      Yes.
18        Q.      And did you have a one-year lease at the
19   314 unit, was that a one-year lease?
20        A.      Yes.
21        Q.      And then at the 206 apartment, were you
22   also under a lease there?
23        A.      I was not.
24        Q.      Was it month-to-month?
25        A.      Yes.

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 26

1            A.   Early spring, yes.       Yes.
2            Q.   And if you can just speak up a little bit
3    for the court reporter.       Sometimes --
4            A.   Oh, sorry.    Early spring, yes, I believe
5    so.
6            Q.   Okay.   And was he discharged at that
7    time?
8            A.   No.
9            Q.   Okay.   Why not?
10           A.   Due to ArtSpace, I wasn't allowed to
11   bring him in.
12           Q.   And when you say you weren't allowed to
13   bring him in, what do you mean?          Did they say that
14   Mikhail could not join you in your apartment?
15           A.   Well, I had to get the transfer and I had
16   to do a background check for him.            And once I did
17   that, I was told that he wasn't allowed to move in
18   due to the findings.
19           Q.   Okay.   We'll certainly talk about that in
20   detail, but let me just get some basic understanding
21   as to what -- what you were looking to do at
22   ArtSpace at that time.
23                Would Mikhail have transferred into your
24   one-bedroom unit at that point in time?
25                MR. KAZEROUNIAN:      Objection.

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 27

1         A.      I don't believe so.
2         Q.      So, your testimony earlier was that you
3    were required to remain in the -- let me make sure I
4    get the numbers correct.       You were required to
5    remain in the 314 unit for a year after you moved
6    in, is that right?
7         A.      Yes.
8         Q.      Okay.   So, when Mikhail was deemed
9    eligible to be discharged in April 2016, at that
10   point in time would he have moved back in with you
11   at the 314 unit?
12                MR. KAZEROUNIAN:      Objection.
13        A.      I don't believe so.
14        Q.      Would you have gone to -- I'm just trying
15   to ask something simple which may be making it
16   confusing.     If Mikhail had been discharged in April
17   of 2016, would he have joined you in the one-bedroom
18   apartment or would you have moved into another unit
19   at ArtSpace?
20        A.      I was already planning to move to a
21   different unit before the manager said that I had to
22   wait to move from ArtSpace.        So, there was already
23   an intent to move to a two-bedroom unit before
24   his -- even knowing that he was going to be
25   released.

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                             Transcript of Carmen Arroyo
                             Conducted on July 24, 2019               31

1         A.       It wasn't -- it was a while before he
2    moved in.     So, I don't -- I don't know the precise
3    date and year.        I mean, it's just, this has been a
4    very long haul.        But I know that he moved in in the
5    summer and we were just finishing up with getting
6    everything together for him to move in.
7         Q.       Okay.
8         A.       So, like I said, I do apologize as far as
9    time frame.
10        Q.       No, that's okay.       I understand.
11                 So he moved back in with you, and at that
12   point in time when he moved back in with you, you
13   had moved into the 206 apartment, correct?
14        A.       I was there by myself before he could
15   move in.
16        Q.       So when he moved back in with you, he
17   moved into the 206 apartment, correct?
18        A.       Yes.
19        Q.       So he came and joined you in the
20   two-bedroom?
21        A.       Yes.
22        Q.       And you had been living in the
23   two-bedroom since November of 2016?
24        A.       Yes.
25

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 37

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15        Q.      Okay.   Did you -- did you ever sign any
16   sort of agreement with the Connecticut Fair Housing
17   Center, what we would call an engagement agreement
18   or like an attorney-client agreement; do you
19   remember?
20        A.      I signed so many paperwork; I couldn't
21   even tell you if I did at this moment.
22        Q.      Okay.   Would you agree with me that now
23   you are being represented by the Connecticut Fair
24   Housing Center in this lawsuit?
25        A.      Yes.

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 38

1         Q.      Do you know if Ms. Cuerda reached out to
2    WinnResidential on your behalf?
3         A.      Yes.
4         Q.      And do you know about the conversation
5    she had with WinnResidential?
6         A.      I know that she submitted a -- what's the
7    name of that .... a recommendation, a letter,
8    accom -- a --
9         Q.      If I said reasonable accommodation, is
10   that what you're looking for?
11        A.      Yes, that's it.
12        Q.      I saw it was on the tip of your tongue.
13        A.      I was like, I know it's something like
14   accommodating.
15        Q.      No problem.     So you believe that she made
16   certain requests to WinnResidential for a reasonable
17   accommodation?
18        A.      Yes.   That was the -- when she called,
19   she said that she had sent something over to them
20   and that they were just still trying to hear back.
21        Q.      Do you know if WinnResidential ever
22   granted you a reasonable accommodation?
23        A.      If WinnResidential -- no, they -- they
24   didn't, I don't believe.       I don't think so, no.
25        Q.      So when you were denied, so when you were

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 39

1    denied the ability to move Mikhail Arroyo into the
2    ArtSpace Windham, who -- did you have any
3    conversations with folks in the leasing office or
4    other people at WinnResidential at that time?
5         A.      The only thing I -- Melissa was her name
6    at the time, the office manager, and that's the only
7    one I was dealing with as far as the transfers to
8    the two-bedroom unit and providing her the money
9    that I needed to -- for the background check to
10   CoreLogic.
11                The reply was that Mikhail was not
12   allowed to come in based on what the CoreLogic
13   report came back as.      That's basically it.       It was
14   just really her.     And the nursing facility wanted to
15   know what day will Mikhail be moving home; you know,
16   he was ready to come home.
17                And I believe that it was then his case
18   manager, who's no longer a case manager at this
19   point, but in the very beginning was, and contacted
20   me with the Fair Housing, Maria.          And they were
21   submitting paperwork.
22        Q.      Okay.   So let me just make sure that I've
23   got a couple things clear.        So, with respect to the
24   application that you submitted for Mr. Arroyo, is
25   the only person that you talked to at

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 40

1    WinnResidential about the application Melissa, who
2    you mentioned?
3         A.       Yeah.
4         Q.       So you don't recall having any other
5    conversations with anyone else at WinnResidential
6    about the application?
7         A.       That -- I don't remember.
8         Q.       Okay.   Nothing that you can remember
9    sitting here today?
10        A.       I know she was just my point of --
11   because she was the manager.         Aside from the -- the
12   case manager for Mikhail, and then when I was able
13   to communicate with the housing, the people they
14   appointed me with them, fair housing.
15        Q.       Okay.   All right.
16        A.       That I recall, yeah.       That's ...
17        Q.       Did you have to fill out any sort of
18   applications in connection with your request to move
19   Mikhail Arroyo in?
20        A.       I don't remember.      I know I gave her the
21   check, and I probably might have had to, I'm not
22   quite sure.
23        Q.       And how long did it take for you to hear
24   back that he was not being granted permission to
25   move in with you?

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 44

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6         Q.      So we'll talk about that as well but, I
7    guess what I'm trying to figure out is, when did you
8    find out about his, Mikhail's, charge for retail
9    theft?
10        A.      I'd have to go back into my files.          I
11   don't really recall the dates.
12        Q.      And do you remember how you found out
13   about it?
14        A.      I called the Pennsylvania courthouse to
15   see if there was anything pending there.            And they
16   did say there was -- and then they asked me who I
17   was and I had to send documentation that I was his
18   conservator, and then the lady was able to tell me,
19   I guess the secretary, the docket numbers and who
20   the acting judge or -- I don't know how they operate
21   there, their laws.      But then I was supposed to send
22   a letter to them about Mikhail's condition, and then
23   they withdrew the case.
24        Q.      So your initial conversation was that you
25   called someone at the courthouse?

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 45

1         A.      Yes.
2         Q.      And through that conversation, during
3    that conversation were you able to confirm that he
4    had the criminal record?
5         A.      Yes, around that time frame, talking to
6    someone, making it aware to me that that's what was
7    it, yes.
8         Q.      Did you ever get any documentation about
9    the criminal record?
10        A.      I got a letter stating that it was
11   withdrawn.    Anything as far as what entailed to
12   whatever it was, I didn't get any, like, thick
13   documentations or anything.        I just got a letter
14   withdrawing the case.
15        Q.      And is it your testimony that the case
16   was withdrawn after you provided the clerk with
17   evidence about his medical condition?
18        A.      I believe so, yes.
19        Q.      So prior to that time, when you talked to
20   the clerk in the courthouse, you didn't have any
21   knowledge about the charge for retail theft?
22        A.      What was that again?
23        Q.      Retail theft?
24        A.      No, after what?
25

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                    48

1    about the York -- the criminal charge in York
2    County, did you have any conversations with
3    CoreLogic after that time?
4         A.      I don't believe I did, no.
5         Q.      So I want to make sure that I'm
6    understanding fully all of the conversations that
7    you had with WinnResidential.         So, you told me
8    about, there was a time when you submitted the
9    transfer form, and then there was the time when you
10   heard back from Melissa that the application had
11   been declined?
12        A.      Yeah.
13        Q.      Did you have other conversations with
14   Melissa or anyone else at WinnResidential besides
15   those two conversations?
16        A.      Melissa and I, we kept in touch.             I
17   wanted to know.      And I didn't get any answer from
18   her until probably a few tries after.               Then she did
19   confirm that it wasn't the credit check, after I
20   brought the credit to her from my phone.               And then I
21   just started researching and checking and looking to
22   see what could have been.        And I checked over there
23   in Pennsylvania, York County, and there was
24   something there.      I got the paperwork.           But we had
25   already proceeded forward, so I believe that I

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                            Transcript of Carmen Arroyo
                            Conducted on July 24, 2019                49

1    contacted -- I communicated with -- I believe it was
2    Maria from here.
3         Q.      Okay.     So you had the further
4    conversation with Melissa where she confirmed that
5    it wasn't a credit related issue?
6         A.      Mm-hmm.
7         Q.      Right?
8         A.      After several attempts, yes.
9         Q.      And then it sounds like from there you --
10   you personally did not have further contact with
11   individuals at WinnResidential, is that right?
12        A.      I believe so, yes.
13        Q.      Any further contact from that point on
14   would have been done through the Connecticut Fair
15   Housing Center?
16        A.      If I remember or recall, I do think
17   that's how it went, yes.
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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 58

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12        Q.      All right.    So, do you know when the
13   criminal charge for your son was withdrawn -- let me
14   make this easier.     Your testimony was that you
15   applied to ArtSpace Windham sometime in the spring
16   of 2016, right?
17        A.      In the spring, yeah.
18        Q.      And do you know whether your son's
19   criminal charge was withdrawn after the time that
20   you applied to ArtSpace Windham?
21        A.      I -- I believe it was after.
22        Q.      Okay.   All right.      So, at the time of the
23   application, is it fair to say that the criminal
24   charge at that point had not been withdrawn?
25        A.      I believe it wasn't withdrawn.         Yeah.

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 59

1         Q.      All right.
2         A.      I mean, I wasn't even aware of it until I
3    came across it.
4         Q.      Fair.
5                 So then in terms of your son's disability
6    status, is that something that you explained to
7    WinnResidential at the time that you were applying
8    to have him move back in?
9         A.      I did.
10        Q.      Okay.    Did you ever have any -- at the
11   time of that application, you hadn't had any
12   conversations with CoreLogic, correct?
13        A.      A lot of the conversations were with the
14   main manager, Melissa, based on what my rights were
15   as far as moving my son in.
16        Q.      Right. okay.
17        A.      And then once the initial transaction
18   happened where I paid for the background check,
19   background/credit check I guess is what they say it
20   is, that's when -- when he was declined that all the
21   other stuff arose.
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                            Transcript of Carmen Arroyo
                            Conducted on July 24, 2019                80

1    open-ended question.
2                 When you applied for Mikhail to come live
3    with you in the spring of 2016, remind me again, did
4    you fill out any paperwork in connection with that?
5         A.      I don't believe so.
6         Q.      Okay.
7         A.      Only the credit background check, when I
8    submitted the check, I believe.           I remember --
9    that's what I remember.
10        Q.      When you say "submitted the check," is
11   that the $400 check you were talking about?
12        A.      No.     There was a check that was supposed
13   to be submitted for a background check.
14        Q.      I see.     Okay.   So your testimony is that
15   the only thing that you can remember filling out was
16   an authorization for a background check and the cost
17   associated -- a check for the cost of that
18   background check?
19        A.      I believe so, yes.
20        Q.      So you authorized a background check to
21   be performed on Mr. Arroyo?
22        A.      Yes.
23        Q.      I'm going to show you another document, I
24   think this is Exhibit 4.
25                         (Exhibit 4, marked)

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                            Transcript of Carmen Arroyo
                            Conducted on July 24, 2019                85

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7                 MR. ST. GEORGE:       Let's mark this
8           Exhibit 5, please.
9                         (Exhibit 5, marked)
10   BY MR. ST. GEORGE:
11        Q.      Ms. Arroyo, do you have Exhibit 5 in
12   front of you?
13        A.      I do.
14        Q.      Do you recognize this document?
15        A.      Yes.
16        Q.      What do you understand it to be?
17        A.      It's the transfer, the request -- the
18   transfer to one unit to another, request form.
19        Q.      And it looks like there's a signature at
20   the bottom of a woman named Melissa Desjardins?
21        A.      I don't know her last name, but, yeah, I
22   see "Melissa."
23        Q.      You see "Melissa"?
24        A.      Mm-hmm.
25        Q.      Do you understand that that's the same

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                  86

1    Melissa that you've been referencing in your
2    testimony?
3         A.      Yes.
4         Q.      Have you -- did you see this document
5    when it was filled out?
6         A.      I did not see it filled out.           I went into
7    the office to give the money when it was done and
8    processed.
9         Q.      And were you given a copy of this
10   document when you went in and provided them the
11   check?
12        A.      I don't remember.       I don't recall.      I
13   could have, I could have not, I'm not sure.
14        Q.      It says, if I'm reading this correct,
15   that the proposed -- so it's a unit transfer request
16   form and the proposed unit number is unit 206,
17   towards the middle.      Do you see that?
18        A.      Oh, yes.
19        Q.      And that's the two-bedroom apartment that
20   you ultimately moved into?
21        A.      Yes.
22        Q.      And then it says the effective date of
23   transfer is 11/15/2016.       Do you see that?
24        A.      Yes.
25        Q.      And is that the date that you moved into

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                             Transcript of Carmen Arroyo
                             Conducted on July 24, 2019               87

1    unit 206?
2         A.       Well, that's when I gave the money.         I
3    moved in around the 19th.          I had a weekend to move
4    in is what I was told.
5         Q.       Got it.    Understood.       So that's the date
6    that the apartment was made available to you?
7         A.       Yes.
8         Q.       Even if you didn't move in until a couple
9    days later.
10                 But the the apartment was not -- the
11   two-bedroom and was not available to you any earlier
12   than November 15 of 2016?
13        A.       That's correct.
14        Q.       You testified earlier that you submitted
15   an application to have Mikhail come live with you
16   and that application was submitted in the spring of
17   2016, correct?
18        A.       An application?
19        Q.       Well, you're right, I shouldn't say
20   application.     There was a request for Mr. Arroyo to
21   come live with you and that you made that request to
22   WinnResidential in the spring of 2016?
23        A.       I asked, yes, if my son could move in and
24   I was told to do the background check.
25        Q.       Right.

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                    92

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5         Q.      No, that's okay.      All right.       So, your
6    testimony is that you were informed at some point in
7    the spring of 2016 that Mikhail would not be
8    permitted to move in with you at ArtSpace Windham,
9    correct?
10        A.      Correct.
11        Q.      And that was communicated to you by
12   Melissa at WinnResidential?
13        A.      Yes.
14        Q.      Okay.   At that point in time did you
15   explore moving into any other two-bedroom apartments
16   at any other complex?
17        A.      If I applied at any other complex?
18        Q.      Yeah.
19        A.      I didn't apply at any other complex, but
20   I was looking.
21        Q.      Why didn't you apply anywhere else?
22        A.      It was tough.     You know.      Having to find
23   out if the facility would accommodate his needs.               At
24   the time he wasn't really walking, he wasn't really
25   very active, I guess.      You know.      The wheelchair

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 94

1    edge of -- I don't even know how to describe it, but
2    it just wasn't a fit for him.
3            Q.   On how many -- so I take it you weren't
4    physically visiting places.        Were you looking at
5    some places online, is that typically how you were
6    trying to find another apartment?
7            A.   Well, sometimes you do, yeah.          Like I
8    like to go online.      I look at everything online.
9    You know, I read, I look -- even if I'm not moving,
10   I look up apartments, I look up jobs, things like
11   that.
12           Q.   You never submitted an application
13   anywhere else, correct?
14           A.   That I am aware of, I don't think so.
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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 122

1    BY MR. ST. GEORGE:
2         Q.      So let me hand you a copy of this.
3         A.      Oh, yes, okay.
4         Q.      Do you have in front of you Exhibit 9?
5         A.      Yes.
6         Q.      And do you recognize this document?
7         A.      Yes.
8         Q.      And what do you understand it to be?
9         A.      It is a complaint against, from my son
10   and I to WinnResidential.
11        Q.      Okay.   And do you recall the nature of
12   the claims that you are asserting against
13   WinnResidential in that complaint?
14        A.      It was the transfer for the two-bedroom
15   and they were not compliant with trying to move my
16   son in with reasonable accommodation that we had
17   requested.    I believe that's what it was for.          Yeah.
18        Q.      And so, in your understanding, claim was
19   that WinnResidential had denied the request for a
20   reasonable accommodation for your son in connection
21   with the request to have him move into the complex?
22        A.      I believe so.
23        Q.      Do you remember how this action was
24   resolved, how it ended?
25        A.      How it ended?

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 123

1         Q.      Yes.
2         A.      We had to go to -- I don't even know, it
3    was something similar to this, I don't know if there
4    was a deposition.       I don't think it was a
5    deposition, but we talked with WinnResidential
6    and -- several times, I think a couple times, twice.
7    And then I guess they came with the answer that
8    Mikhail then can move in after everything had been
9    said and done.      You know, but it took a -- there was
10   a process, it just didn't happen right away.
11        Q.      So part of the process was that
12   Mr. Mikhail Arroyo was allowed to move into the
13   complex, into the two-bedroom apartment that you
14   were residing in at that time?
15        A.      Correct.
16        Q.      And that was unit 206?
17        A.      206.
18                MR. ST. GEORGE:      Let's take a look at
19          another document.      And mark this, please, as
20          Exhibit 10.
21                       (Exhibit 10, marked)
22   BY MR. ST. GEORGE:
23        Q.      Do you have in front of you what's been
24   marked as Exhibit 10?
25        A.      Yes.

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                                Transcript of Carmen Arroyo
                                Conducted on July 24, 2019             124

1            Q.       Take whatever time you need to look at
2    it, no worries.           Can I have you turn to page 5 of
3    the document?
4            A.       Okay.
5            Q.       And do you see that there is a signature
6    of the Complainant towards the top?
7            A.       Yes.
8            Q.       Okay.     And is that your signature?
9            A.       Yes.
10           Q.       All right.     So, do you recognize this
11   document, have an understanding of what it is?
12           A.       I believe it's giving permission on my
13   behalf.
14           Q.       So why don't we turn back to the first
15   page.        That might give us a little bit better
16   understanding.           So this is labeled as a
17   Pre-determination Conciliation Agreement.                Do you
18   see that?
19           A.       Yes.
20           Q.       And I think what normal people would say,
21   non-lawyers would say that this is a settlement
22   agreement.
23           A.       Okay.
24           Q.       Is that your understanding of what this
25   document is?

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 125

1         A.      A pre-determination, right ...
2                 I'm just going to read it, please.
3         Q.      Yeah, please do.
4                                 (Pause)
5         A.      Yes.    Okay.
6         Q.      So now that you've read it, do you
7    recognize this document?
8         A.      Yes.
9         Q.      And what do you understand it to be?
10        A.      An agreement.
11        Q.      Is this agreement the document that
12   resolved the complaint that we just looked at in
13   Exhibit 9?
14        A.      Yes, I believe so.
15        Q.      Okay.    So, if you look at page 2 of this
16   agreement, page 2 of Exhibit 10.
17        A.      Okay.
18        Q.      You see there's a section called Terms of
19   the Agreement?
20        A.      Yes.
21        Q.      And then if you look at section D1, so
22   those two sections read that "Respondents agree upon
23   the signing of this agreement to pay Complainant
24   Carmen Arroyo the sum total of                      in full
25   settlement of all disputed claims between them" --

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 126

1         A.       Go ahead.
2         Q.       -- "and payment shall be made in the form
3    of certified bank check or attorney trust account,
4    payable to Connecticut Fair Housing Center, as
5    trustee for Carmen Arroyo, and hand-delivered or
6    mailed to the attention of Diane Carter,
7    Investigator, State of Connecticut Commission on
8    Human Rights and Opportunities, 540 Columbus
9    Boulevard, Suite 3, Hartford, Connecticut, 06103."
10                 Do you see that?
11        A.       Yes.
12        Q.       So do you agree that this reflects that
13   WinnResidential paid to you, the Complainant, Carmen
14   Arroyo, the total of               to resolve the
15   complaint that we looked at in Exhibit 9?
16                 MR. KAZEROUNIAN:     Objection.       It's
17            been -- not exactly what it says.
18        A.       I don't quite understand the way it's
19   broken down, but, yeah.
20        Q.       Well, let me ask you a basic question.
21   As part of this agreement do you acknowledge that
22   WinnResidential paid to you as the complainant,
23   Carmen Arroyo, the sum total
24        A.       They paid the amount, yes, as documented
25   there.

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                           Transcript of Carmen Arroyo
                           Conducted on July 24, 2019                 127

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3         A.      Um, I don't know.       It's basically the
4    complaint that we filed about ... (witness reading).
5                 I believe it was just what they had --
6    what we had been dealing with with them.
7         Q.      Okay.   So, and by that, do you mean
8    the -- their refusal to allow Mikhail to move into
9    the two-bedroom apartment with you?
10        A.      It seems like that's what it is, yes.
11                                          meant to compensate
12   you for the damages that you claimed in connection
13   with their denial of Mikhail Arroyo's request to
14   move in with you?
15        A.      I don't -- can you repeat that again?
16        Q.      Sure.                         then, that was
17   meant to compensate you for the damages that you
18   were claiming in connection with their refusal to
19   allow Mikhail Arroyo to move in with you to the
20   two-bedroom apartment, correct?
21        A.      It would appear like that, yes.
22        Q.      All right.    You can put that document
23   away as well.
24                All right.    I want to go back to one of
25   the exhibits we first looked at, Exhibit 2.           Can you

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                  EXHIBIT B
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1
                      UNITED STATES DISTRICT COURT
2                       DISTRICT OF CONNECTICUT
3                            Case No. 3:18-cv-00705-VLB
     _____________________________________
4
     CONNECTICUT FAIR HOUSING CENTER
5
     and
6
     CARMEN ARROYO, individually and
7    as next friend for Mikhail Arroyo
8                               Plaintiffs,
9               v.
10   CORELOGIC RENTAL PROPERTY
     SOLUTIONS, LLC
11                          Defendant.
12   ______________________________________
13
14                      Deposition of Erin Kemple
15                       Tuesday, July 23, 2019
16                   Connecticut Fair Housing Center
17                        60 Popieluszko Court
18                        Hartford, Connecticut
19                       10:09 a.m. - 5:20 p.m.
20
21
22
23                     ----- Sharon Roy, RPR -----
                              Planet Depos
24                   451 Hungerford Drive, Suite 400
                          Rockville, MD 20850
25                            888.433.3767
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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                2

1    A P P E A R A N C E S:
2
3    Representing the Plaintiffs:
4    Sarah White, Esq.
     Connecticut Fair Housing Center
5        60 Popieluszko Court
         Hartford, CT 06106
6        860.247.4400 (Fax) 860.247.4236
         swhite@ctfairhousing.org
7
8    Representing the Defendant:
9    Timothy J. St. George, Esq.
     Troutman Sanders LLP
10       Troutman Sanders Building
         1001 Haxall Point
11       Richmond, VA 23219
         804.697.1254
12       tim.st.george@troutmansanders.com
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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                43

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21        Q.      All right.     Let's start really high level
22   before we look at the log.        Diversion Resources is
23   the first category of compensatory damages that I
24   see on page one.     Do you see that?
25        A.      Yes.

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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                  44

1         Q.      So describe to me generally what this
2    means in terms of diversion of resources and what's
3    being claimed.
4         A.      So, under the case of Haydens versus
5    Coleman, the Supreme Court articulated two types of
6    damages that fair housing organizations can suffer
7    as a result of work on a particular case.
8                 One is diversion of resources which means
9    that instead of doing what it had planned to do or
10   what it needed to do, the organization diverted its
11   resources, went from one type of work to another
12   type of work.
13                In this particular case there are, I
14   believe, four types of diversion.           One is casework,
15   not necessarily on this case but on other cases.
16   The second is education and outreach.               The third is
17   -- maybe there's only three -- the fundraising that
18   we did or didn't do as a result of this work.               So
19   that's, sort of, the high level.
20        Q.      Okay.   All right.      Let's talk about this
21   still on just a high level.         This diversion of
22   resources, as you've described it, it's more than
23   individuals simply working on this matter, correct?
24   So, actually litigating this case?
25        A.      It is not any of the litigation on this

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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                45

1    case.
2            Q.   Okay.
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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                122

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17                 MR. ST. GEORGE:       I have the final
18           exhibit of this variety.         Let's have this
19           marked, please, as Exhibit 8.
20                       (Exhibit 8, marked)
21   BY MR. ST. GEORGE:
22          Q.     I'll represent to you this is an
23    electronic printout of the tab from the spreadsheet
24    produced by the Connecticut Fair Housing Center that
25    is labeled as grant writing.          Does that accurate to

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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                123

1     you?
2            A.     That's correct.
3            Q.     Do you recognize this document?
4            A.     Yes, I do.
5            Q.     Describe for me generally what the
6     entries on this tab reflect.
7            A.     So these are mostly my work but some also
8     of Shannon Houston in writing two grants that we
9     ended up applying for in order to be able to expand
10    our work with people who could not find housing as a
11    result of criminal records.
12                  MR. ST. GEORGE:      Again, I'd ask for the
13            production of those grant proposals.
14   BY MR. ST. GEORGE:
15           Q.     Okay.   So, these grants, were they
16    successful?
17           A.     Yes.
18           Q.     So both grants were awarded?
19           A.     Yes.
20           Q.     What was the amount of the awards?
21           A.     The Hartford Foundation grant was
22    $260,000 spread out over three years and the BOA, or
23    Bank of America, grant was $500,000 spread out over
24    three years.
25           Q.     Congratulations.      Those are some good

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                              Transcript of Erin Kemple
                             Conducted on July 23, 2019               124

1    grants.
2                 Okay.     So these efforts, grant writing
3    efforts, they're all concentrated in it looks like
4    the spring essentially through the summer of 2017,
5    is that right?
6            A.   That is correct.
7            Q.   So I have April 2017 through October
8    2017.
9            A.   Yes.
10           Q.   And the grants that you were awarded, was
11   any of that grant money specifically earmarked
12   towards studying the effective criminal background
13   screening and housing accessibility?
14           A.   So it was criminal background screening
15   and access to housing for people with criminal
16   records, but it wasn't really studying, it was
17   really trying to determine the extent to which
18   people's abilities to get housing was affected by
19   their criminal records.
20           Q.   And what percentage of the grants would
21   you say were specific to those efforts?
22           A.   50 percent of each grant.           So the time
23   records that you see in front of you are only half
24   of what was actually spent.
25           Q.   Mm-hmm.     Right, because I see, if you

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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                125

1    turn to the very last -- I should say the
2    second-to-last page, there's a 69.3 hours and then
3    that's actually divided in half.
4         A.      Right.
5         Q.      And is that what you're referencing, the
6    figures here for these grant proposals were actually
7    taken in half because it's your position that only
8    half of the grant was related to the criminal
9    background screening issues?
10        A.      That is correct.
11        Q.      And has the Connecticut Fair Housing
12   Center -- I take it this was in 2017, has it
13   received this money, or at least a portion of it?
14        A.      So they were each three-year grants and
15   so we were paid yearly.
16        Q.      So you received money in 2018 and 2019?
17        A.      I think our first payment for both grants
18   was in October of 2017, and we received payments
19   every six months.
20        Q.      Okay.    Got it.    And what -- again, I want
21   to be specific to the criminal background portion.
22   What efforts have you made -- what have you done
23   with that money for that portion of the grant?            What
24   activities has the Connecticut Fair Housing Center
25   been undertaking?

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                                  Transcript of Erin Kemple
                                 Conducted on July 23, 2019               126

1            A.       Everything in our diversion log.          Some of
2    it is paid for by the grants, some of it is not paid
3    for by the grants because we are required to use
4    money other than money paid for by the grants in
5    order to do the work.            But what you're seeing is a
6    summary of all of the work we've done on criminal
7    records over the past -- since 2017.
8            Q.       Okay.     Understood.      All right.   So is it
9    fair to say that the diversion logs have generally
10   been -- those efforts of the Connecticut Fair
11   Housing Center, those efforts have generally been
12   funded by these grants that were received by the
13   Connecticut Fair Housing Center?
14           A.       They have been partially funded.
15           Q.       Okay.     Do you have an understanding of
16   what percentage has been funded by these grants?
17           A.       So, currently, we have a $340,000 deficit
18   in our budget.           So, it's that kind of -- that's
19   about -- what is that.            That's about a quarter of
20   our budget that's unfunded, or maybe even a little
21   more.        And so I would say that is about a quarter to
22   a third is what is unfunded or is funded by things
23   other than these grants.
24           Q.       Okay.     So these grants, these grants have
25   funded the efforts, the criminal background

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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                127

1    screening efforts under the diversion log, is it
2    fair to say that these grants have funded between 66
3    and 75 percent of those efforts?
4            A.   That's an approximate number but, again,
5    remember, in diversion we're not saying that we
6    spent money that we didn't have.           Part of what we're
7    saying is that we spent money on an effort on things
8    that we would not have spent had it not been for
9    this.
10                So, yes, some of it is covered by grants
11   but it's the fact that we ended up having to divert
12   our time.    So if you'll see on the log you just gave
13   me, I think I have a memo from April of 2017 that
14   says here's what we're going to apply for, and then
15   you'll see that on 20 -- on April 19 of 2017, I
16   heard from staff members that we should really be
17   working on criminal records and why.            And so we
18   completely changed what we were going to do for both
19   grants.
20           Q.   Okay.   All right.      And so in these
21   grants, at least 50 percent of the grants that were
22   focused on the criminal background screening issues,
23   these grants were -- 50 percent of these grants were
24   awarded to fund activities on those issues, is that
25   fair?

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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                128

1         A.      Yes.
2         Q.      And these grants, did you at all mention
3    Corelogic or CrimSAFE?
4         A.      Yes.   I don't -- let me be clear.         I do
5    not know that we mentioned Crimsafe.            We mentioned
6    Corelogic, I believe.
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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                    129

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13          Q.     I want to have you turn back to Exhibit
14   2, which was the Plaintiffs' Amended Damages
15   Analysis.
16                 So we talked about the diversion of
17   resources, and we went through that spreadsheet.                 I
18   want to ask you about the next category of damages
19   claimed by the Connecticut Fair Housing Center in
20   terms of compensatory damages, and that's
21   Frustration of Mission.         Do you see that?
22          A.     Yes.
23          Q.     I don't intend for you to read this
24   document or recite it, I can read it just as well as
25   you can, but what I want to have you do is summarize

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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                130

1    for me what is meant by "frustration of mission"
2    and, you know, your testimony as to how the mission
3    has been frustrated.
4         A.      So, as I said earlier, the case of
5    Higgins vs. Coleman articulated two standards of
6    damages for fair housing organizations and the
7    second was frustration of mission.
8                 Frustration of mission is a category of
9    damages that in a tort case would really correspond
10   to emotional distress or damages that are not tied
11   to a specific economic loss.         And in this case what
12   fair housing organizations are designed to do is
13   both counteract individual cases of discrimination
14   as well as try to ensure that the fair housing laws
15   are being followed by everyone who is obligated to
16   comply with the fair housing laws.
17                And so the Connecticut Fair Housing
18   Center's mission is to ensure that all of
19   Connecticut residents have access to the housing of
20   their choice and that's certainly something we put
21   out in the world as something we say whenever we are
22   testifying, or in front of a legislative committee,
23   or a meeting with a potential funder, as well as
24   doing education and outreach.
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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                146

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4         Q.      Right.    So I think we're saying the same
5    thing.    But -- so what I'm asking is, is it your
6    position that the messages that are reflected in
7    Exhibit A, is it your position that that type of use
8    of criminal background screening results is what's
9    required under the law?
10        A.      Yes.
11        Q.      Okay.    So basically your message would be
12   to reinforce compliance with the law?
13        A.      Given that it's not clear to me that
14   anybody is complying with the law, I think it would
15   be telling them how to comply with the law.
16        Q.      But, in any event, it would be compliance
17   with the law as it exists today for housing
18   providers?
19        A.      Yes.
20        Q.      This comprehensive advertising campaign,
21   you mentioned prior campaigns like buses, bus
22   shelters and things like that, do you have any idea
23   as to what the substance of this advertising
24   campaign would be for where the messages would be
25   displayed?

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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                  147

1         A.      So, one was online on public --
2    advertising on online publications that are directed
3    toward the housing provider community.              So, if there
4    were industry newsletters or newsletters put out by,
5    for instance, the National Association of Housing
6    and Redevelopment Officer, NAHRO, buying advertising
7    there, advertising at conferences and places where
8    people in the industry would be likely to go, so I
9    know that a lot of people attended various
10   conferences in Connecticut and elsewhere, where they
11   are -- where fair housing is taught or they're just
12   hearing about industry practices.           So that was, I
13   think, the majority of it.        I think that the rest of
14   it would be having individual media buys in specific
15   places.   So I think they said probably not a -- like
16   a Hartford Courant or any kind of newspaper of
17   general circulation but other kinds of media that is
18   specifically directed -- print media that is
19   specifically directed toward the housing provider
20   community.
21        Q.      Okay.   Understood.
22                All right.     Has the Connecticut Fair
23   Housing Center done anything beyond accepting this
24   written estimate; have you moved forward in any way
25   with this advertising campaign?

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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                148

1         A.      No.   We don't have the money to do that.
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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                235

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4         Q.       Okay.   So what happened in this case?
5    There was the fact-finding hearing, correct?
6         A.       And I believe that there was a
7    preconciliation determination, which means that CHRO
8    made certain factual determinations that it then
9    applied to the law which said that, you know, all
10   things being true as alleged here, this should go to
11   hearing in order to determine if there's liability
12   by the respondents.
13        Q.       Do you know if the hearing ever occurred?
14        A.       The hearing did not occur.
15        Q.       The case resolved?
16        A.       The case resolved.
17        Q.       And it settled?
18        A.       Yes.
19        Q.       And my understanding of the settlement
20   was there was at least a monetary component to the
21   settlement?
22        A.       Yes, there was.
23        Q.
24        A.       Yes.
25        Q.       Did that payment go directly to

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                             Transcript of Erin Kemple
                            Conducted on July 23, 2019                236

1    Mr. Arroyo or was it split with the Connecticut Fair
2    Housing Center?
3         A.      So, there were actually three components
4    to the agreement.     The first was that Mikhail could
5    move in, which he did shortly -- I think it happened
6    relatively quickly after the predetermination
7    decision was made.      So, the second was the monetary.
8    And then the third was that they had to change their
9    policies and practices and undergo fair housing
10   training.
11                With regards to the money, I believe that
12   the client, Mr. Arroyo, and his mother received
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                              Transcript of Erin Kemple
                             Conducted on July 23, 2019               256

1         Q.      Okay.     I think we were turning to
2    Interrogatory No. 10, which is on page 13 of the
3    responses.    Do you see that?
4         A.      Yes.
5         Q.      Okay.     So, in this interrogatory we asked
6    for "the factual basis for your allegation in the
7    Complaint that RPS's policies and procedures
8    discriminate against black and Latino applicants."
9    Include the basis for any such claim under a theory
10   of disparate impact and disparate treatment.
11                The answer to this response was generally
12   an objection.       But if you turn the page and go to
13   the second paragraph, do you see the sentence that
14   says "The Complaint already explains the factual
15   basis for these allegations in detail, supported
16   with citations to statistical evidence, scientific
17   studies, and the defendant's marketing materials,
18   and explains the Plaintiff's legal theory in
19   detail."
20                Do you see that?
21        A.      Yes.
22        Q.      So, am I to take it from this response
23   that the relevant statistics for purposes of
24   establishing the claim of disparate impact are set
25   forth in the Complaint?

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                              Transcript of Erin Kemple
                             Conducted on July 23, 2019               257

1         A.      Yes.
2         Q.      Okay.   The same with the factual bases
3    for the claim of disparate impact and disparate
4    treatment?
5         A.      Correct.
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                  EXHIBIT C
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1               UNITED STATES DISTRICT COURT
2                  DISTRICT OF CONNECTICUT
3                  CASE NO. 3:18cv00705VLB
4    ______________________________________________
5    CONNECTICUT FAIR HOUSING CENTER and
6    CARMEN ARROYO, individually and as next
7    of friend for Mikhail Arroyo,
8
9                             Plaintiffs,
10                   vs.
11
12   CORELOGIC RENTAL PROPERTY SOLUTIONS, LLC,
13
14                            Defendant.
15   ______________________________________________
16
17        This is the Examination Before Trial of
18                   CHRISTOPHER WILDEMAN
19        held on the 3rd day of September, 2019,
20        held at the Courtyard by Marriott, 29
21        Thornwood Drive, Ithaca, New York.
22
23              REPORTED BY:      CAITLYN A. SHAYLOR
24                                 Shorthand Reporter
25
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                          Transcript of Christopher Wildeman
                           Conducted on September 3, 2019             2

1                       A P P E A R A N C E S
2
3           CONNECTICUT FAIR HOUSING CENTER
4                 60 Popieuszko Court
5                 Hartford, Connecticut 06106
6                 Attorneys for Plaintiffs
7                 BY:     SALMUN KAZEROUNIAN, ESQUIRE
8
9    (PRESENT VIA VIDEO CONFERENCING EQUIPMENT.)
10          TROUTMAN SANDERS LLP
11                1001 Haxall Point
12                Richmond, Virginia 23219
13                Attorneys for Defendant
14                BY:     ALAN WINGFIELD, ESQUIRE
15
16
17                         S T I P U L A T I O N S
18
19                  It is stipulated by and between the
20             parties hereto that the filing of the
21             deposition is waived; that the deposition
22             may be signed before any Notary Public;
23             and that all objections except as to the
24             form of the question are reserved to the
25             time of the trial.

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                         Transcript of Christopher Wildeman
                          Conducted on September 3, 2019              62

1    never been available to me.
2        Q      Are you aware that this case involves
3    background checks for applicants for housing at
4    Artspace Windham in Willimantic, Connecticut?
5        A      I -- I wouldn't know that level of
6    specificity about the properties, but I know that
7    it's on background checks around criminal justice
8    contact.
9        Q      Do you know if it has something to do
10   with applicants for affordable housing in
11   Willimantic, Connecticut?
12       A      I did know that.
13       Q      If you were going to determine whether
14   there was disparities based on race or ethnicity
15   of applicants for affordable housing in
16   Willimantic, Connecticut, how would you go about
17   studying that?
18       A      So I'd need to know about the applicant
19   pool, and I'd need to know about the rejection
20   rate, and I'd need to know about the reasons for
21   the rejection, and I'd need to know all of those
22   things by race, ethnicity.
23       Q      Were you asked to do such an analysis?
24       A      No, I wouldn't have the data to do an
25   analysis like that.

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                  EXHIBIT D
          FILED UNDER SEAL
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                  EXHIBIT E
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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

CONNECTICUT FAIR HOUSING CENTER               Case No. 3:18-cv-00705-VLB

and

CARMEN ARROYO, individually and
as next friend for Mikhail Arroyo

               Plaintiffs,
        v.

CORELOGIC RENTAL PROPERTY
SOLUTIONS, LLC.

        Defendant.                            JANUARY 9, 2019


      PLAINTIFF CONNECTICUT FAIR HOUSING CENTER’S RESPONSES TO
          DEFENDANT’S FIRST SET OF REQUESTS FOR ADMISSIONS

       Plaintiff Connecticut Fair Housing Center (“CFHC”) submits the following

answers and objections in response to Defendant CoreLogic Rental Property

Solutions, LLC’s (“RPS” or “CoreLogic”) First Set of Requests for Admission to

CFHC.

       Request for Admission No. 1:

        Admit that Plaintiffs have no evidence that RPS made any decisions with

respect to Mikhail Arroyo’s application for residency at the ArtSpace Windham.

       Response:

       Deny.

       Request for Admission No. 2:

        Admit that Plaintiffs have no evidence that RPS determined for the

ArtSpace Windham or WinnResidential what public records would be

                                          1
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Plaintiffs have no evidence that CoreLogic advised ArtSpace Windham or

WinnResidential that the criminal records implicated by the CrimSAFE report at

issue in this action should be disqualifying, CFHC responds as follows:

      Deny.

       Request for Admission No. 4:

       Admit that the ArtSpace Windham and/or WinnResidential set the standard

for what public records would be “disqualifying” with respect to any criminal

records implicated by the CrimSAFE report at issue in this action.

       Response:

      CFHC objects to this request on the ground that it is vague and ambiguous

as to the phrase “set the standard,” and as to the phrase “as to what public

records would be ‘disqualifying’ with respect to any criminal records implicated

by the CrimSAFE report at issue in this action.” Subject to and without waiving

the foregoing objection, and understanding this as requesting an admission that

ArtSpace Windham or WinnResidential determined that the criminal records

implicated by the CrimSAFE report at issue in this action were disqualifying,

CFHC responds as follows:

      Deny.

       Request for Admission No. 5:

       Admit that Mikhali Arroyo was charged with retail theft under 18 Pa. C.S.A.

§ 3929(a)(1) on July 18, 2014.

      Response:

      CFHC admits that Mikhail Arroyo was charged with summary offense retail

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theft under 18 Pa. C.S.A. § 3929(a)(1) on July 18, 2014.

       Request for Admission No. 6:

       Admit that the retail theft charge referenced in Request for Admission No.

4 was still pending at the time Mikhail Arroyo applied for residency at the

ArtSpace Windham in April 2016.

       Response:

      CFHC is unable to truthfully admit or deny this request because no retail

theft charge is referenced in Request for Admission No. 4. Assuming this is

intended to refer to the charge referenced in Request for Admission No. 5, CFHC

responds as follows:

      Admit.

       Request for Admission No. 7:

       Admit that nothing in RPS’s CrimSAFE report at issue in this action is

alleged by Plaintiffs to be inaccurate.

       Response:

      Deny.

       Request for Admission No. 8:

       Admit that Plaintiffs were aware of the retail theft charge referenced in

Request for Admission No. 4 at the time that Mikhail Arroyo applied for residency

at the ArtSpace Windham in April 2016.

       Response:

      CFHC is unable to truthfully admit or deny this request because no retail

theft charge is referenced in Request for Admission No. 4. Assuming this is
                                          4
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intended to refer to the charge referenced in Request for Admission No. 5, CFHC

responds as follows:

      Deny as to CFHC and Carmen Arroyo. CFHC has made reasonable inquiry,

but the information it knows or can readily obtain is insufficient to enable it to

admit or deny this request as to Mikhail Arroyo’s knowledge in April 2016.

       Request for Admission No. 9:

       Admit that Mikhail Arroyo secured housing at the ArtSpace Windham after

April 2016.

       Response:

      CFHC admits that Mikhail Arroyo secured housing at ArtSpace Windham

more than a year after his application was submitted in April 2016.

       Request for Admission No. 10:

       Admit that Plaintiffs did not pay any money with respect to any File

Disclosure request to RPS.

       Response:

      Admit.

       Request for Admission No. 11:

       Admit that Plaintiffs not aware of any other disabled individual who

has been unable to access a copy of his or her consumer file from RPS.

       Response:

      Admit.

       Request for Admission No. 12:


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     Deny.

      Request for Admission No. 25:

      Admit that Mikhail Arroyo’s application to the ArtSpace Windham was

denied for reasons other than the content of any CrimSAFE report at issue in this

action.

      Response:

     Deny.

      Request for Admission No. 26:

      Admit that Plaintiffs have no evidence that Mikhail Arroyo’s application to

the ArtSpace Windham would have been approved despite the “disqualifying

record” stated on the CrimSAFE report at issue in this action.

     Response:

     Deny.

                               By Counsel,

                                      /s/ Greg Kirschner
                                      Greg Kirschner (ct26888)
                                      Salmun Kazerounian (ct29328)
                                      Sarah White (ct29329)
                                      Connecticut Fair Housing Center, Inc.
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                                      Hartford, CT 06106
                                      (860) 263-0724
                                      gkirschner@ctfairhousing.org

                                      /s/ Eric Dunn
                                      Eric Dunn, Pro Hac Vice
                                      National Housing Law Project
                                      919 E. Main Street, Ste. 610
                                      Richmond, VA 23219
                                      (415) 546-7000
                                      edunn@nhlp.org

                                       10
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                           CERTIFICATE OF SERVICE

      I hereby certify that on January 9, 2019 a copy of the foregoing was sent via
email to:

Daniel Cohen
Troutman Sanders LLP
875 Third Avenue
New York, NY 10022
dan.cohen@troutman.com


Timothy J. St. George
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                         /s/ Salmun Kazerounian
                         Salmun Kazerounian




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                  EXHIBIT F
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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

CONNECTICUT FAIR HOUSING CENTER             Case No. 3:18-cv-00705-VLB

and

CARMEN ARROYO, individually and
as next friend for Mikhail Arroyo

             Plaintiffs,
       v.

CORELOGIC RENTAL PROPERTY
SOLUTIONS, LLC.
                                            January 31, 2019
             Defendant.



      PLAINTIFF CONNECTICUT FAIR HOUSING CENTER’S RESPONSES TO
              DEFENDANT’S FIRST SET OF INTERROGATORIES

       Interrogatory No. 1: State Mikhail Arroyo’s full name (complete first name,

middle name, and last name), Social Security number, date of birth, nicknames,

former names, and/or aliases that he has used and the periods during which each

alias was used.

       Answer:

       Mikhail Jesus Arroyo
       SSN:          8831
       DOB:         94
       Nicknames: Casper, Suso, Mickey
       Former Names/Aliases: None

       Interrogatory No. 2: Identify all individuals providing information contained

in the responses to these Interrogatories, including each person who has prepared

or assisted in the preparation of the Responses to these Interrogatories.




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          a. A statewide advertising campaign to inform landlords, tenants and
             tenant screening providers that criminal records screening policies
             that impose blanket bans are illegal, housing providers must make
             individualized assessment of criminal records, and disabled tenants
             may be able to request a reasonable accommodation of a landlord’s
             criminal records screening policy. A comprehensive four week
             advertising campaign directed at people of color and people with
             disabilities that would disseminate the necessary information via
             television, radio, print media and the internet would cost at least
             $250,000.

          b. A three year testing program to gauge the level of discrimination
             occurring and to determine whether the CFHC’s efforts to combat this
             discrimination is effective. The cost of the testing program over three
             years would be $30,000.

          c. A two year outreach plan to educate landlords through seminars and
             trainings to counteract the effect of the defendant’s discrimination.
             Conducting three trainings per year for two years will cost
             approximately $20,000.

The CFHC reserves the right to amend and update these estimates based on
information about the extent of the defendant’s discrimination that may be revealed
through discovery.

This contention is based on:

         Testimony of Erin Kemple
         Diversion Log, produced in response to RFP 11.

      Interrogatory No. 10: Describe specifically, and in detail, the factual basis of

your allegation in the Complaint that RPS’s policies and procedures discriminate

against black and Latino applicants. Include in your response the basis for any

such claim under a theory of: (1) disparate impact; and (2) disparate treatment. Also

identify in your response all documents, testimony, or other forms of proof on

which you base that contention.

       Answer:

       OBJECTION: The interrogatory is overly broad and unduly burdensome.
Interrogatories that seek “every fact, every piece of evidence, every witness, and
every application of law to fact—rather than, for example, certain principal or
material facts, pieces of evidence, witnesses and legal applications—supporting
                                            13
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the identified allegations, are overly broad and unduly burdensome … [C]ontention
interrogatories ‘must be specific, intelligible, and narrowly tailored for the case.’[]
Similarly Plaintiffs should not be “required to parse through documents that have
already been produced to defendants, which defendants are in a position to review
themselves, in order to explain the obvious.” Ritchie Risk-Linked Strategies
Trading (Ireland), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(internal citations omitted). Moreover, even narrowly tailored contention
interrogatories are more suited for the close of discovery in order to narrow the
issues of trial, not as a primary means of discovering new information. See
Pasternak v. Dow Kim, No. 10 CIV. 5045 LTS JLC, 2011 WL 4552389, at *3 (S.D.N.Y.
Sept. 28, 2011) and Fed. R. Civ. P. 33(a)(2) (“ court may order that the [contention]
interrogatory need not be answered until designated discovery is complete, or until
a pretrial conference or some other time”).

       The interrogatory is overly broad and unduly burdensome in that it would
require the Plaintiff to describe the factual and legal basis of at least 177
paragraphs of the 234 paragraph, 56-page long Complaint, the gravamen of which
is that Defendant’s CrimSAFE product unlawfully discriminates against black and
Latino applicants. In essence, the interrogatory requires the Plaintiff to recite, in
narrative form, the Plaintiff’s entire case at trial, and to update this narrative as
discovery progresses. The Complaint already explains the factual basis for these
allegations in detail, supported with citations to statistical evidence, scientific
studies, and the defendant’s marketing materials, and explains the Plaintiff’s legal
theory in detail. Answering this interrogatory would require the Plaintiff to explain
the factual basis for all of these allegations as well as comb through all the
discovery produced by both parties and publicly available information to compile
all evidence supporting these numerous factual allegations.

      Interrogatory No. 11: Describe specifically, and in detail, the factual basis of

your allegation in the Complaint that RPS’s policies and procedures discriminate

against disabled individuals. Include in your response the basis for any such claim

under a theory of: (1) disparate impact; and (2) disparate treatment. Also identify in

your response all documents, testimony, or other forms of proof on which you base

that contention.

       Answer:

       OBJECTION: The interrogatory is overly broad and unduly burdensome.
Interrogatories that seek “every fact, every piece of evidence, every witness, and
every application of law to fact—rather than, for example, certain principal or
material facts, pieces of evidence, witnesses and legal applications—supporting
the identified allegations, are overly broad and unduly burdensome … [C]ontention

                                            14
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interrogatories ‘must be specific, intelligible, and narrowly tailored for the case.’[]
Similarly Plaintiffs should not be “required to parse through documents that have
already been produced to defendants, which defendants are in a position to review
themselves, in order to explain the obvious.” Ritchie Risk-Linked Strategies
Trading (Ireland), Ltd. v. Coventry First LLC, 273 F.R.D. 367, 369 (S.D.N.Y. 2010)
(internal citations omitted). Moreover, even narrowly tailored contention
interrogatories are more suited for the close of discovery in order to narrow the
issues of trial, not as a primary means of discovering new information. See
Pasternak v. Dow Kim, No. 10 CIV. 5045 LTS JLC, 2011 WL 4552389, at *3 (S.D.N.Y.
Sept. 28, 2011) and Fed. R. Civ. P. 33(a)(2) (“ court may order that the [contention]
interrogatory need not be answered until designated discovery is complete, or until
a pretrial conference or some other time”).

       The interrogatory is overly broad and unduly burdensome in that it would
require the Plaintiff to describe the factual and legal basis of it entire claim that the
Defendant’s policies and procedures related to consumer file disclosures
discriminate on the basis of disability. In essence, the interrogatory requires the
Plaintiff to recite, in narrative form, the Plaintiff’s entire case for disability
discrimination at trial, and to continually update this narrative as discovery
progresses. The Complaint already explains the factual basis for these allegations
in detail, supported with citations to statistical evidence, scientific studies, and
public information, and explains the Plaintiff’s legal theory. Answering this
interrogatory would require the Plaintiff to explain the factual basis for at least 50
paragraphs of allegations as well as comb through all the discovery produced by
both parties and publicly available information to compile all evidence supporting
these numerous factual allegations.

      Interrogatory No. 12: Describe specifically, and in detail, the factual basis of

your allegation that there exist “less discriminatory alternatives” with respect to

RPS’s offering of the CrimSAFE product, as alleged in the Complaint.

       Answer:

        Defendant has available to it the less discriminatory alternative of evaluating
each criminal record on an individualized basis to determine the actual risk to
safety before reporting to a housing provider that the applicant is disqualified.
Such individualized review may include consideration of such factors as the type of
crime and its relevance (if any) to rental housing, the outcome or disposition of the
case, the amount of time since the criminal activity occurred, the age of the
applicant at the time of the offense, mitigating circumstance surrounding the
criminal activity, evidence of rehabilitation or changed circumstances, or any other
information outside the record which may tend to show whether the criminal record
is, or is not, predictive of the applicant’s likely performance in a future residential
tenancy. Upon information and belief, Defendant is capable of undertaking this
individualized assessment.

                                              15
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       Defendant has available to it the less discriminatory alternative of supplying
the underlying information about the criminal record to the housing provider rather
than making or reporting the disqualification decision itself so that the housing
provider can do an individualized assessment on its own and make a case-by-case
assessment of the actual risk to safety or property presented by each applicant.
Defendant is capable of providing this information to housing providers as
demonstrated by the fact that it provides it to housing providers in connection with
other tenant screening products it offers.

      Either alternative would achieve the goal of screening applicants whose
criminal records demonstrate a realistic threat to other residents or property but
would be less discriminatory because it would deny housing to fewer Latino and
African-American applicants when they do not represent a realistic risk to safety or
property.

       As discovery pertaining to RPS’s CrimSafe is not yet complete and
Defendant has not disclosed any substantial and legitimate business interest
related to CrimSafe, the Plaintiff reserves the right to supplement its response.

      Interrogatory No. 13: Describe specifically, and in detail, the factual basis of

your allegation that there exist “less discriminatory alternatives” with respect to

RPS’s File Disclosure practices, as alleged in the Complaint.

       Answer:

       Defendant has available to it the less discriminatory alternative of providing
consumer files at the request of a court-appointed conservator or guardian without
requiring the conserved consumer to designate this individual as their attorney in
fact. Doing so would be less discriminatory because it would enable disabled
individuals subject to a conservatorship or guardianship who lack the capacity to
execute a power of attorney to receive their consumer file and learn the basis of
Defendant’s tenant screening decisions on an equal footing with other consumers,
while simultaneously protecting the Defendant’s interest in ensuring that an
individual is authorized to request or receive a consumer file.

       Defendant is capable of accepting documentation of a conservatorship or
guardianship in connection with a consumer file request. This is demonstrated by
the Defendant’s policy of accepting and determining the validity of powers of
attorney in connection with consumer file requests. Powers of attorney are
similarly subject to varying legal requirements state-by-state, showing that
Defendant is capable of making a determination as to the validity of a
conservatorship or guardianship, which, in actuality, is likely to be far easier for
Defendant. This is because powers of attorney are far more susceptible to fraud in
that they are executed without judicial oversight, may easily be forged or obtained

                                            16
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                            PLAINTIFF'S CERTIFICATION

      I, Erin Kemple, hereby certify that I have reviewed the above Interrogatories
and responses thereto and they are true and accurate to the best of my
knowledge and belief.

Executed on January 31, 2019.

                                                    //(ii'Vt
                                                Eri   emple
                                                Executive Director
                                                Connecticut Fair Housing Center



Sworn to and subscribed based on personal knowledge before me this 31st day of
Jan


--Netary-lau-131-le-trr Commissioner of the Superior Court
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                           CERTIFICATE OF SERVICE

      I hereby certify that on January 31, 2019 a copy of the foregoing was sent
via email and first-class mail to:

Daniel Cohen
Troutman Sanders LLP
875 Third Avenue
New York, NY 10022
dan.cohen@troutman.com


Timothy J. St. George
David Anthony
Troutman Sanders LLP
1001 Haxall Point
Richmond, VA 23219
timothy.st.george@troutman.com
david.anthony@troutman.com



            _______/s/__________________
            Sarah White




                                           30
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                 EXHIBIT G
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             A                  B                   C                     D                 E               F
 1   Summary of all diversion costs
 2
 3
 4
 5   Staff member       Rate/hour            No. of hours        Total               check from workbooks
 6
 7   Dresser, B         $            10.00                 0.2   $            2.00   $           2.00
 8   Aleman, C          $           150.00                 4.2   $          630.00   $         630.00
 9   Lavery, D          $           200.00                 1.7   $          340.00   $         340.00
10   Kemple, E          $           400.00               74.03   $       29,612.00   $      29,612.00
11   Darby-Hudgens, F   $           175.00                30.5   $        5,337.50   $       5,337.50
12   Kirschner, G       $           350.00                 1.3   $          455.00   $         455.00
13   Dresser, J         $           150.00                 7.3   $        1,095.00   $       1,095.00
14   Labrencis, J       $           250.00                 8.1   $        2,025.00   $       2,025.00
15   Ortiz, L           $           100.00                 2.5   $          250.00   $         250.00
16   Cuerda, M          $           150.00                95.3   $       14,295.00   $      14,295.00
17   Heller, P          $           250.00                 2.1   $          525.00   $         525.00
18   Kazerounian, S     $           200.00               111.8   $       22,360.00   $      22,360.00
19   Houston, S         $           175.00               16.95   $        2,966.25   $       2,966.25
20   White, S           $           200.00                   0   $             -     $            -
21   Gentes, J          $           325.00                 0.5   $          162.50   $         162.50
22
23                                                      356.48 $         80,055.25 $        80,055.25
24
25
26                                           Hour Totals         Cost Totals
27   CoreLogic Investigation                              42.4    $     9,447.50
28   Education and Outreach                             185.63    $    43,444.50
29   Testing                                              48.1    $     8,165.00
30   Testing stipends                                             $     2,584.68
31   Client work                                          45.7    $     7,737.00
32   Grant writing                                       34.65    $    11,261.25
33
34
35
36
37   Total Diversion                                    356.48 $         82,639.93
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       A                  B                  C                              D                           E          F              G
1 Date           Employee                 Activity          Description                               Time             Intake #
  11/28/2016     Cuerda, Maria   Case Work: Client intake   REDACTED - SEE PRIVILEGE LOG                      1           2428
2                                interview
  11/28/2016     Cuerda, Maria   Case Work: Work on         REDACTED - SEE PRIVILEGE LOG                     1.3          2428
3                                Client case
  11/28/2016     Cuerda, Maria   Case Work: Requested       sent letter to Winn and cc'd to                  0.1          2428
                                 reasonable                 Deanna.
4                                accommodation
     11/30/2016 Cuerda, Maria    Consultation with: CFHC    REDACTED - SEE PRIVILEGE LOG                     0.2          2428
5                                Staff
     11/30/2016 Cuerda, Maria    Case Work: Requested       wrote new RA and emailed to                      0.6          2428
                                 reasonable                 Michael Cunningham.
6                                accommodation
     12/5/2016   Cuerda, Maria   Case Work:                 email from M. Cunningham of Winn                 0.4          2428
                                 Correspondence             Properties. He wants to speak with
                                                            me but he needs a release. Call to
                                                            Deanna R and then to Carmen, the
                                                            client's mother and guardian. LM.
7
     12/6/2016   Cuerda, Maria   Case Work: Work on         REDACTED - SEE PRIVILEGE LOG                     1.5          2428
8                                Client case
     12/7/2016   Cuerda, Maria   Case Work: Work on         called MD's office and asked for                 1.2          2428
                                 Client case                letter. Emailed them info on how to
9                                                           write it.
     12/9/2016   Cuerda, Maria   Case Work: Work on         email from doctor's office. I sent               0.3          2428
                                 Client case                them some language for a letter for
10                                                          Mr. Arroyo.
     12/12/2016 Cuerda, Maria    Case Work:                 email to dr's office asking if they can          0.1          2428
11                               Correspondence             get us a letter... again.
     12/12/2016 Cuerda, Maria    Case Work: Requested       Requested 3rd RA.                                1.3          2428
                                 reasonable
                                 accommodation
12
     12/13/2016 Cuerda, Maria    Case Work: Work on         REDACTED - SEE PRIVILEGE LOG                     0.2          2428
13                               Client case
     12/13/2016 Cuerda, Maria    Case Work: Work on         client sent retainer                             0.1
14                               Client case
     12/14/2016 Cuerda, Maria    Case Work:                 email back from Michael C of Winn                 1           2428
                                 Correspondence             saying that they cannot respond to
                                                            our RA request without the info from
                                                            the screening which they don't have.
                                                            Talked with EK and SK about this.
                                                            Called CoreLogic and LM for Lisa
                                                            Marie - 619-938-6876. arghhh;
15
     12/15/2016 Cuerda, Maria    Case Work: Work on         REDACTED - SEE PRIVILEGE LOG                     0.6          2428
16                               Client case
     12/19/2016 Cuerda, Maria    Consultation with: CFHC    REDACTED - SEE PRIVILEGE LOG                     0.2          2428
17                               Staff
     12/19/2016 Cuerda, Maria    Case Work: Work on         REDACTED - SEE PRIVILEGE LOG                     1.1          2428
18                               Client case
     12/19/2016 Cuerda, Maria    Consultation with: CFHC    REDACTED - SEE PRIVILEGE LOG                     0.5          2428
19                               Staff
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          A              B                   C                                  D                       E         F          G
     12/20/2016 Cuerda, Maria    Case Work: Work on         REDACTED - SEE PRIVILEGE LOG I                   1        2428
                                 Client case                called Core Logic and spoke with Tina
                                                            Marie. She said she will mail me the
                                                            disclosure form. I sent her my
                                                            address. I asked her to write on the
                                                            form that we need to get a POA in
                                                            order to get this information. She
                                                            said she would ask her supervisor. I
                                                            suggested that she do this ASAP. I
                                                            passed this along to SK.
20
     1/9/2017    Cuerda, Maria   Case Work: Work on         REDACTED - SEE PRIVILEGE LOG                    0.4       2428
21                               Client case
     1/9/2017    Cuerda, Maria   Case Work: Work on         REDACTED - SEE PRIVILEGE LOG                    1.3       2428
22                               Client case
     1/9/2017    Cuerda, Maria   Case Work: Work on         investigate client housing denial as            1.3       2428
23                               Client case                the result of CoreLogic info
     1/10/2017   Cuerda, Maria   Case Work: Work on         REDACTED - SEE PRIVILEGE LOG                    0.7       2428
24                               Client case
     1/19/2017   Cuerda, Maria   Case Work: Phone call on   REDACTED - SEE PRIVILEGE LOG                    0.3       2428
25                               behalf of client
     1/25/2017   Cuerda, Maria   Case Work: Work on         REDACTED - SEE PRIVILEGE LOG                    0.2       2428
26                               Client case
     1/25/2017   Cuerda, Maria   Case Work: Work on         talk with deanna who called saying              0.6       2428
                                 Client case                that she told Carmen that she should
                                                            just bring Mikhail to live with her. It's
                                                            possible that his RAP will expire on
                                                            Feb 3. Also, Deanna is getting a lot of
                                                            pressure from the nursing home to
                                                            get Mikhail out of there.
27
     2/2/2017    Cuerda, Maria   Case Work: Work on         REDACTED - SEE PRIVILEGE LOG                    0.2       2428
28                               Client case
     2/8/2017    Cuerda, Maria   Case Work: Phone call to   REDACTED - SEE PRIVILEGE LOG                    0.1       2428
29                               client
     2/15/2017   Cuerda, Maria   Case Work: Work on         talk with Deanna about Mikhail. An              0.6       2428
                                 Client case                employee of Artspace told Carmen
                                                            that M could not live there b/c he's
                                                            violent. Deanna wanted to know why
                                                            he can't just move in with her. Also,
                                                            no one at artspace is returning
                                                            Deanna's emails. I passed this along
                                                            to SK. I got back to Deanna.
30
     2/21/2017   Cuerda, Maria   Case Work: Work on         forwarding emails to SK                         0.4       2428
31                               Client case
     3/2/2017    Cuerda, Maria   Administrative             updating correct info in client file            0.2       2428
32
     4/19/2017   Cuerda, Maria   Case Work: Work on         looking for emails for SK and looking           0.3       2428
33                               Client case                through notes.
     4/30/2018   Cuerda, Maria   Case Work: Work on         saving fax of retainer in file and              0.2       2428
34                               Client case                letting SK know
     9/28/2018   Cuerda, Maria   Case Work: Work on         REDACTED - SEE PRIVILEGE LOG                    0.6       2705
35                               Client case
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          A               B                        C                                D                      E          F            G
     12/4/2018   Cuerda, Maria         Case Work: Work on         copying emails into folder                   0.3         2705
36                                     Client case
     1/23/2019   Cuerda, Maria         Case Work: Work on         work on discovery for SK                     0.4         2705
37                                     Client case
     8/31/2018   Gentes, Jeff          Case Work: Legal           research CUTPA re: CoreLogic                 0.3         2705
38                                     Research
     9/4/2018    Gentes, Jeff          Case Work: Legal           review prior pleadings; discuss with         0.1         2705
39                                     Research                   SK
     9/28/2018   Gentes, Jeff          Case Work: Pleadings       pulled MTD opp language for use in           0.1         2705
40                                     and motions                CoreLogic case
     6/6/2018    Houston, Shannon      Outreach: Writing press    Discuss press release with SK                0.6   no intake #
41                                     release
     6/20/2018   Houston, Shannon      Consultation with: CFHC    discussion media outreach                    0.4   no intake #
42                                     Staff
     6/20/2018   Houston, Shannon      Administrative: Internet   research reporters                           0.4   no intake #
43                                     Research
     6/26/2018   Houston, Shannon      Administrative: Internet   research best practices re: press            0.6   no intake #
44                                     Research                   release
     6/27/2018   Houston, Shannon      Consultation with: CFHC    Discuss media strategy with SK               0.4   no intake #
45                                     Staff
     6/29/2018   Houston, Shannon      Outreach: Preparing for    REDACTED - SEE PRIVILEGE LOG                  1    no intake #
46                                     outreach
     7/13/2018   Houston, Shannon      Outreach: Preparing for    Discuss media updates w/SK and EK            0.2   no intake #
                                       outreach                   (CoreLogic update, EK interview
47                                                                w/author)
     8/22/2018   Houston, Shannon      Outreach: Writing press    Write press release on CoreLogic             1.3   no intake #
                                       release                    case & send to SK and GK for review
48
     8/23/2018   Houston, Shannon      Outreach: Preparing for    Research reporters for CoreLogic             0.5   no intake #
49                                     outreach                   press release.
     5/10/2018   Kazerounian, Salmun   Consultation with:         REDACTED - SEE PRIVILEGE LOG                 0.6         2705
50                                     outside colleague
     5/16/2018   Kazerounian, Salmun   Consultation with:         REDACTED - SEE PRIVILEGE LOG                 0.7         2705
51                                     outside colleague
     5/17/2018   Kazerounian, Salmun   Consultation with:         REDACTED - SEE PRIVILEGE LOG                 0.8         2705
52                                     outside colleague
     7/26/2017   Kazerounian, Salmun   Case Work: Phone call on   call with Diane Carter to discuss            0.5         2705
53                                     behalf of client           Chesson's proposed changes
     8/25/2017   Kazerounian, Salmun   Case Work: Client          Discuss closing eviction case with            1          2705
54                                     meeting                    client
     11/30/2016 Kemple, Erin           Consultation with: CFHC    discussion with Greg re: case of             0.3   no intake #
                                       Staff                      someone who was denied based on
55                                                                corelogic info
     12/14/2016 Kemple, Erin           Consultation with: CFHC    REDACTED - SEE PRIVILEGE LOG;                0.3   no intake #
                                       Staff                      discussion with Maria re: case
56                                                                involving CoreLogic
     4/12/2017   Kemple, Erin          Consultation with: CFHC    discussion with GK and SK re:                0.3   no intake #
57                                     Staff                      CoreLogic
     5/11/2017   Kemple, Erin          Consultation with: CFHC    discussion with SK re: CoreLogic and         0.6   no intake #
58                                     Staff                      eviction case
     7/26/2017   Kemple, Erin          Consultation with: CFHC    discussion with SK re: CoreLogic case;       0.3   no intake #
                                       Staff                      eviction records case; discussion re:
59                                                                expert
     4/24/2018   Kemple, Erin          Consultation with: CFHC    REDACTED - SEE PRIVILEGE LOG                 0.2   no intake #
60                                     Staff
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          A               B                     C                             D                             E           F            G
     4/25/2018   Kemple, Erin       Consultation with: CFHC REDACTED - SEE PRIVILEGE LOG                         0.2   no intake #
61                                  Staff
     5/23/2018   Kemple, Erin       Consultation with: CFHC REDACTED - SEE PRIVILEGE LOG                         0.2   no intake #
62                                  Staff
     9/26/2018   Kemple, Erin       Administrative: Research work on diversion log                               1.2         2705
63
     9/27/2018   Kemple, Erin       Administrative: Research work on diversion log for damages                    3          2705
64
     7/11/2019   Kemple, Erin       Administrative: Research work on diversion log for damages                   3.8         2705
65
     3/16/2018   Lavery, David      Administrative            Discussion w- SK Re: server update;                0.4   no intake #
                                                              corelogic case; Emails & listservs;
66                                                            advance decisions
     3/16/2018   Lavery, David      Administrative            Corelogic arrests data; other arrest               1.3   no intake #
                                                              data; ECOA; emails with SW and SK
67                                                            re same
68                                                                                                              42.4
69
70
71                                  Rate per hour             Hours                                   Total Cost
72               Dresser, B         $                    10                                     0.0   $           -
73               Aleman, C           $                 150                                      0.0    $        -
74               Lavery, D           $               200.00                                     1.7    $     340.00
75               Kemple, E           $                 400                                     10.4    $ 4,160.00
76               Darby-Hudgens, F    $                 175                                      0.0    $        -
77               Kirschner, G        $                 350                                      0.0    $        -
78               Dresser, J          $                 150                                      0.0    $        -
79               Labrencis, J        $                 250                                      0.0    $        -
80               Ortiz, L            $                 100                                      0.0    $        -
81               Cuerda, M           $                 150                                     20.8    $ 3,120.00
82               Heller, P           $                 250                                      0.0    $        -
83               Kazerounian, S      $                 200                                      3.6    $     720.00
84               Houston, S          $                 175                                      5.4    $     945.00
85               White, S            $                 200                                        0    $        -
86               Gentes, J           $                 325                                      0.5            162.5
87
88               Total Cost                                                                    42.4 $     9,447.50
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        A                   B                        C                              D                    E
1 Date                   Employee                 Activity            Description                      Time
2
  6/7/2017        Aleman, Cesar        Education: Setting up          Setting up intern lunch- will           0.1
                                       education/outreach             do a general overview of
                                                                      outreach/education and tie
                                                                      in topics discussed in
                                                                      previous trainings (criminal
                                                                      records, immigration, etc.)

3
     8/2/2017     Aleman, Cesar        Outreach: Organizing coalition Met with Barry Williams                 1.3
                                                                      from Save Our Sons Inc
                                                                      about partnering for their
                                                                      SOS Fest and looking at long
                                                                      term partnerships- they work
                                                                      on reentry issues with clients
                                                                      from across the state. Check
                                                                      in with EK about this and
                                                                      follow up accordingly.
4
     8/18/2017    Aleman, Cesar        Outreach: Mailing Materials    Mailing guides to CT                    0.3
                                                                      Collaborative on Reentry and
5                                                                     also requests-
     8/18/2017    Aleman, Cesar        Outreach: Organizing coalition Sending emails to CCR (CT               0.2
                                                                      Collaborative on Reentry)
                                                                      about distributing copies of
                                                                      our renters' guide and also
                                                                      the possibility of doing
                                                                      trainings.
6
     1/10/2017    Cuerda, Maria        Outreach: Preparing for        setting up outreach to                  0.2
                                       outreach                       people with criminal records
7                                                                     in March.
     3/1/2017     Cuerda, Maria        Outreach: Preparing for        logistics re outreach to                0.3
                                       outreach                       people with criminal records.
                                                                      talking to pam, talking to
                                                                      tracy miller, etc.
8
     8/2/2017     Cuerda, Maria        Administrative: Respond to     setting up time to talk about           0.2
                                       inquiries                      criminal records testing with
9                                                                     colleague
     8/3/2017     Cuerda, Maria        Education: preparing for       prep for call on criminal               0.2
10                                     training                       records testing
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           A                 B                        C                              D                E
     9/19/2017    Cuerda, Maria        Education: Setting up          invitation to GHREC meeting         0.5
                                       education/outreach             to discuss criminal records
                                                                      and housing. conversation
                                                                      about what she'd like to me
                                                                      to talk about.
11
     10/4/2017    Cuerda, Maria        Education: preparing for       finishing presentation on           1.5
                                       training                       criminal records issues for
12                                                                    talk tomorrow
     10/5/2017    Cuerda, Maria        Education: Training for agency Training on criminal records        2.3
                                       personnel                      issues for Greater Hartford
                                                                      Re-entry Coalition
13
     4/23/2018    Cuerda, Maria        Administrative: Respond to     email about criminal records        0.2
                                       inquiries                      issues from MFP advocate.
14                                                                    emailed back.
     7/6/2018     Cuerda, Maria        Administrative: Respond to     setting up outreach to              0.4
                                       inquiries                      waterbury reentry meeting
15
     7/10/2018    Cuerda, Maria        Education: Provider training   outreach - presentation on          3.4
                                                                      finding housing with a
                                                                      criminal record at Waterbury
                                                                      Reentry coalition
16
     7/20/2018    Cuerda, Maria        Administrative: Respond to     call from Earl Bloodworth           0.4
                                       inquiries                      from a re-entry program in
                                                                      New haven about working
                                                                      with them on reentry stuff. I
                                                                      told him what we are doing
                                                                      and he will be in touch with
                                                                      me about me coming down
                                                                      to do some outreach there.

17
     8/24/2018    Cuerda, Maria        Administrative                 sending fdh info on ghrec           0.2
                                                                      event opening their reentry
18                                                                    center in hartford
     12/6/2018    Cuerda, Maria        Administrative: Respond to                                         0.3
                                       inquiries                      call from housing advocate I
                                                                      met yesterday at the training
                                                                      saying that she has a client
                                                                      denied a place b/c of her
19                                                                    criminal record.
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           A                  B                            C                                D                 E
     3/8/2018      Darby-Hudgens, Fionnuala Administrative                   Spoke with MC RE: clients            0.5
                                                                             with criminal records;
                                                                             Coordinated efforts for third
20                                                                           outreach event
     5/1/2018      Darby-Hudgens, Fionnuala Education: preparing for         CRT Reentry Training                  1
21                                          training
     5/1/2018      Darby-Hudgens, Fionnuala Education: Training for agency Reentry program... 16 clients           2
                                            personnel                      facing housing discrimination
                                                                           as a result of criminal history
22
     9/5/2018      Darby-Hudgens, Fionnuala Administrative: Legislative      CEO Reentry work group               2.5
23                                          Advocacy
     9/17/2018     Darby-Hudgens, Fionnuala Administrative: Legislative      CEO - Re-Entry Committee             0.4
                                            Advocacy                         review of notes
24
     9/28/2018     Darby-Hudgens, Fionnuala Administrative: Internet         Re-entry Center in Hartford          0.6
25                                          Research
     11/9/2018     Darby-Hudgens, Fionnuala Administrative: Legislative      CEO re-entry work                    0.5
26                                          Advocacy
     11/13/2018    Darby-Hudgens, Fionnuala Education: Training for agency   CEO Conference at Eastern -           6
                                            personnel                        Participation in panel about
                                                                             barriers to housing for re-
                                                                             entry pop. 150 in attendance
27
     11/15/2018    Darby-Hudgens, Fionnuala Administrative: Legislative      Call with Soto and CEO to set        0.5
                                            Advocacy                         up listening tour for Re-Entry
28
     12/3/2018     Darby-Hudgens, Fionnuala Education: General prep          Organization of listening tour        4
                                                                             and recruiting participants
29
     12/4/2018     Darby-Hudgens, Fionnuala Education: General prep          Emails with confirmed                0.5
30                                                                           speakers
     12/6/2018     Darby-Hudgens, Fionnuala Education: General prep          Finalized agenda for CEO             0.8
                                                                             event on Wednesday for Re-
                                                                             Entry listening tour. Email to
                                                                             agenda speakers explaining
                                                                             everything I have done.
31
     12/10/2018    Darby-Hudgens, Fionnuala Education: General prep          CEO Re-Entry Event - back             1
                                                                             and forth on agenda, press
32                                                                           release, food etc.
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           A                  B                          C                               D                  E
     12/12/2018    Darby-Hudgens, Fionnuala Outreach: Networking           CEO Re-Entry listening tour;          4
                                                                           The re-entry population isn't
                                                                           recognizing housing
                                                                           discrimination. I will need to
                                                                           do some outreach.

33
     12/13/2018    Darby-Hudgens, Fionnuala Outreach: Preparing for        Re-Entry Listening Tour              1.4
34                                          outreach                       Coordination Efforts
     1/16/2019     Darby-Hudgens, Fionnuala Administrative: Legislative    Review of bills about re-entry       0.1
35                                          Advocacy
     12/7/2017     Dresser, James           Administrative: Respond to     Danbury HA is interested in          0.2
                                            inquiries                      learning about requirements
                                                                           for criminal records and HCV
                                                                           under the HUD guidance.
36
     12/21/2017    Dresser, James            Administrative: Planning      I worked on my Power Point            1
                                                                           for FH and Reentry After
37                                                                         Incarceration.
     3/7/2017      Heller, Pamela            Outreach: Preparing for       Review materials regarding           0.3
                                             outreach                      criminal records, etc. Discuss
                                                                           with JL.
38
     12/13/2017    Heller, Pamela            Consultation with: outside    Receive call from Marissa            1.5
                                             colleague                     Holm at CCA. She wanted to
                                                                           talk about juvenile justice
                                                                           issues related to reentry and
                                                                           housing. Do additional
                                                                           research and send it to her.
39
     11/19/2018    Kazerounian, Salmun       Administrative: Legislative   Re-entry working group                2
40                                           Advocacy                      subcommittee meeting
     11/20/2018    Kazerounian, Salmun       Administrative: Conference    Legislative & Advocacy                2
                                             call                          subcommittee of Re-entry
                                                                           working group (conference
41                                                                         call)
     12/5/2018     Kazerounian, Salmun       Administrative: Legislative   Attend Re-entry task force           2.5
42                                           Advocacy                      meeting
     7/24/2018     Kemple, Erin              Education: preparing for      prep for New Neighborhoods           0.4
                                             training                      training; research New
                                                                           Neighborhoods; need to test
                                                                           based on residency
                                                                           preference, source of
                                                                           income, familial status,
                                                                           criminal records
43
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           A                      B                        C                                D                 E
     8/1/2018      Kemple, Erin              Consultation with: CFHC Staff   discussion with FDH re:              0.2
44                                                                           reentry task force
     3/7/2017      Labrencis, Jessica        Consultation with: CFHC Staff   Discuss HUD guidance on              0.1
                                                                             criminal records w/ PH and
                                                                             email her powerpoint
                                                                             presentation used in panel
                                                                             presentation last year.
45
     6/16/2017     Labrencis, Jessica        Education: preparing for        Prep for presentation on             1.5
                                             training                        criminal records; review old
                                                                             powerpoint; prepare
                                                                             materials to pass out;
                                                                             research re: criminal records
                                                                             and reasonable
46                                                                           accommodations.
     6/19/2017     Labrencis, Jessica        Administrative: Staff Meeting   Presentation on criminal             1.8
47                                                                           records and fair housing.
     9/19/2017     Labrencis, Jessica        Consultation with: CFHC Staff   Discuss criminal records             0.2
                                                                             presentation w/ MC; provide
                                                                             her w/ copy of powerpoint.
48
     10/24/2017    Labrencis, Jessica        Administrative: Staff Meeting   Attend meeting re: criminal           1
                                                                             records and eviction records.
49
     5/17/2019     Darby-Hudgens, Fionnuala Education: General prep          Updated FH training to               0.8
                                                                             include more informaiton on
50                                                                           criminal records
     1/16/2019     Darby-Hudgens, Fionnuala Administrative: Legislative      Discussion re: SB 54 on              0.3
51                                          Advocacy                         criminal records
     2/4/2019      Darby-Hudgens, Fionnuala Administrative: Legislative      Assist in writing testimony on       1.6
                                            Advocacy                         SB 54 and HB 5713 re:
                                                                             criminal records
52
     2/25/2019     Darby-Hudgens, Fionnuala Administrative: Legislative      Assist with client testimony          2
                                            Advocacy                         re: HB 5713, SB 54
53
     4/3/2019      Kazerounian, Salmun       Education: Provider training    Prep and present at panel            4.3
                                                                             discussion re: criminal
54                                                                           records at LOB
     6/16/2019     Kazerounian, Salmun       Education: preparing for        Prep for panel discussion re:        3.5
                                             training                        criminal records at Shriver
55                                                                           Center convening
     6/17/2019     Kazerounian, Salmun       Administrative: Attend          Prep for panel discussion re:         8
                                             Training                        criminal records at Shriver
56                                                                           Center convening
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           A                  B                        C                              D                 E
     6/18/2019    Kazerounian, Salmun   Administrative: Attend         Present at panel discussion           11
                                        Training                       re: criminal records at
                                                                       Shriver Center convening
57
     6/19/2019    Kazerounian, Salmun   Administrative: Attend         Present at panel discussion           12
                                        Training                       re: criminal records at
                                                                       Shriver Center convening
58
     4/3/2019     Kazerounian, Salmun   Education: Provider training   Prep and present at panel             4.3
                                                                       discussion re: criminal
59                                                                     records at LOB
     6/16/2019    Kazerounian, Salmun   Education: preparing for       Prep for panel discussion re:         3.5
                                        training                       criminal records at Shriver
60                                                                     Center convening
     6/17/2019    Kazerounian, Salmun   Administrative: Attend         Prep for panel discussion re:          8
                                        Training                       criminal records at Shriver
61                                                                     Center convening
     6/18/2019    Kazerounian, Salmun   Administrative: Attend         Present at panel discussion           11
                                        Training                       re: criminal records at
                                                                       Shriver Center convening
62
     6/19/2019    Kazerounian, Salmun   Administrative: Attend         Present at panel discussion           12
                                        Training                       re: criminal records at
                                                                       Shriver Center convening
63
     1/23/2019    Kazerounian, Salmun   Administrative: Legislative    Analyze criminal records bills         1
64                                      Advocacy
     1/25/2019    Kazerounian, Salmun   Administrative: Legislative    Working with colleagues on            5.5
65                                      Advocacy                       criminal records bills
     2/26/2019    Kazerounian, Salmun   Administrative: Legislative    Assist with client testimony          0.5
                                        Advocacy                       on HB 5713, SB 54
66
     3/11/2019    Kazerounian, Salmun   Administrative: Legislative    Analyze criminal records bills        1.6
67                                      Advocacy
     3/14/2019    Kazerounian, Salmun   Administrative: Legislative    Prep for meeting re: criminal         1.2
68                                      Advocacy                       records bills
     3/19/2019    Kazerounian, Salmun   Administrative: Legislative    Meeting re: criminal records           2
69                                      Advocacy                       bills
     4/1/2019     Kazerounian, Salmun   Administrative: Legislative    Analyze criminal records bills        0.8
70                                      Advocacy
     4/22/2019    Kemple, Erin          Administrative: Research       Review Tenant Selection              0.10
                                                                       Policies for Fairfield County
71
     5/8/2019     Kemple, Erin          Administrative: Research       Review Tenant Selection              0.43
                                                                       Policies for Fairfield County
72
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           A                     B                    C                          D                E
     5/29/2019    Kemple, Erin         Administrative: Research   Review Tenant Selection             0.53
                                                                  Policies for Fairfield County
73
     6/6/2019     Kemple, Erin         Administrative: Research   Review Tenant Selection             0.99
                                                                  Policies for Fairfield County
74
     6/7/2019     Kemple, Erin         Administrative: Research   Review Tenant Selection             0.26
                                                                  Policies for Fairfield County
75
     6/11/2019    Kemple, Erin         Administrative: Research   Review Tenant Selection             0.40
                                                                  Policies for Fairfield County
76
     6/12/2019    Kemple, Erin         Administrative: Research   Review Tenant Selection             0.43
                                                                  Policies for Fairfield County
77
     6/13/2019    Kemple, Erin         Administrative: Research   Review Tenant Selection             1.22
                                                                  Policies for Fairfield County
78
     6/14/2019    Kemple, Erin         Administrative: Research   Review Tenant Selection             0.43
                                                                  Policies for Fairfield County
79
     6/17/2019    Kemple, Erin         Administrative: Research   Review Tenant Selection             0.20
                                                                  Policies for Fairfield County
80
     6/17/2019    Kemple, Erin         Administrative: Research   Review Tenant Selection             0.50
                                                                  Policies for Fairfield County
81
     7/9/2019     Kemple, Erin         Administrative: Research   Review Tenant Selection             0.13
                                                                  Policies for Fairfield County
82
     7/10/2019    Kemple, Erin         Administrative: Research   Review Tenant Selection             1.32
                                                                  Policies for Fairfield County
83
     1/4/2019     Kemple, Erin         Education: preparing for   Prep for training for               0.76
                                       training                   Bridgeport HA re: RA and
84                                                                criminal records
     1/9/2019     Kemple, Erin         Education: preparing for   Prep for training for               0.10
                                       training                   Bridgeport HA re: RA and
85                                                                criminal records
     1/28/2019    Kemple, Erin         Education: preparing for   Prep for training for               0.43
                                       training                   Bridgeport HA re: RA and
86                                                                criminal records
     1/31/2019    Kemple, Erin         Education: preparing for   Prep for training for               0.40
                                       training                   Bridgeport HA re: RA and
87                                                                criminal records
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            A                     B                   C                                 D                E
      2/4/2019     Kemple, Erin         Education: preparing for         Prep for training for               0.83
                                        training                         Bridgeport HA re: RA and
88                                                                       criminal records
      2/19/2019    Kemple, Erin         Education: preparing for         FHA training for new landlord       0.10
89                                      training
      2/20/2019    Kemple, Erin         Education: Provider training     FHA training for new landlord       2.15
90
      2/25/2019    Kemple, Erin         Education: preparing for       Prep for presentation on              0.50
                                        training                       how CFHC uses data in fair
91                                                                     housing work
      2/26/2019    Kemple, Erin         Education: preparing for       Prep for presentation on              0.59
                                        training                       how CFHC uses data in fair
92                                                                     housing work
      3/1/2019     Kemple, Erin         Education: Training for agency Prep for presentation on              0.83
                                        personnel                      how CFHC uses data in fair
93                                                                     housing work
      3/18/2019    Kemple, Erin         Education: preparing for       Prep for training for                 0.13
                                        training                       Bridgeport HA re: RA and
94                                                                     criminal records
      3/20/2019    Kemple, Erin         Education: Provider training   Training for Bridgeport HA            1.98
                                                                       re: RA and criminal records
95
      3/26/2019    Kemple, Erin         Education: preparing for         Prep for training for               0.10
                                        training                         Bridgeport HA re: RA and
96                                                                       criminal records
      3/27/2019    Kemple, Erin         Education: Provider training     Training for Bridgeport HA          1.91
                                                                         re: RA and criminal records
97
      4/22/2019    Kemple, Erin         Education: preparing for         Prep for training for Danbury       1.42
                                        training                         fair housing office
98
      4/23/2019    Kemple, Erin         Education: preparing for         Prep for training for Danbury       1.65
                                        training                         fair housing office
99
      4/24/2019    Kemple, Erin         Education: preparing for         Prep for training for Danbury       0.26
                                        training                         fair housing office
100
      4/24/2019    Kemple, Erin         Education: Training for agency   Training for Danbury fair           1.98
101                                     personnel                        housing office
      5/7/2019     Kemple, Erin         Education: preparing for         Prep for FH training for            0.40
102                                     training                         Willimantic
      5/7/2019     Kemple, Erin         Education: preparing for         Prep for FH training for            0.36
103                                     training                         Willimantic
      5/8/2019     Kemple, Erin         Education: Provider training     FH training for Willimantic         1.49
104
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            A                     B                   C                                    D                      E
      5/14/2019    Kemple, Erin         Education: preparing for            Prep for training for BNT on              0.56
105                                     training                            new FH issues
      5/14/2019    Kemple, Erin         Education: preparing for            Prep for training for BNT on              0.33
106                                     training                            new FH issues
      5/15/2019    Kemple, Erin         Education: Provider training        Training for BNT on new FH                1.72
107                                                                         issues
      5/16/2019    Kemple, Erin         Education: Provider training        Training for CHP on new FH                1.65
108                                                                         issues
      6/6/2019     Kemple, Erin         Education: preparing for            Prep for training for                     0.33
                                        training                            Millenium Realty on new FH
109                                                                         issues
      6/7/2019     Kemple, Erin         Education: Provider training        Training for Millenium Realty             1.25
110                                                                         on new FH issues
      6/24/2019    Kemple, Erin         Education: preparing for            Prep for training for COC on              0.33
111                                     training                            new FH issues
      6/25/2019    Kemple, Erin         Education: Provider training        Training for COC on new FH                1.98
112                                                                         issues
      2/5/2019     Kemple, Erin         Administrative: Legislative         Analyze criminal records bills             1.5
113                                     Advocacy
      2/25/2019    Kemple, Erin         Administrative: Legislative         Work on testimony re: HB                   0.6
114                                     Advocacy                            5713, SB 54
      2/25/2019    Kemple, Erin         Administrative: Legislative         Redo testimony money re:                   0.4
115                                     Advocacy                            criminal records bills
      2/25/2019    Kirschner, Greg      Administrative: Legislative         Assist staff in preparing                  0.8
                                        Advocacy                            testimony on criminal
116                                                                         records bills
      2/5/2019     Labrencis, Jessica   Administrative: Legislative         Review and edit testimony                  1.5
                                        Advocacy                            on HB 5713, SB 54
117
118
119 Total                                                                                                         185.63
120
121
122                Staff member         Rate per hour                       Hours                            Total Cost
123                Dresser, B           $                              10                               0    $          -
124                Aleman, C             $                            150                             1.9     $ 285.00
125                Lavery, D             $                            -                                 0     $       -
126                Kemple, E             $                            400                           36.53     $ 14,612.00
127                Darby-Hudgens, F      $                            175                            30.5     $ 5,337.50
128                Kirschner, G          $                            350                               0     $       -
129                Dresser, J            $                            150                             1.2     $ 180.00
130                Labrencis, J          $                            250                             6.9     $ 1,725.00
131                Ortiz, L              $                            100                               0     $       -
132                Cuerda, M             $                            150                            10.1     $ 1,515.00
133                Heller, P             $                            250                             1.8     $ 450.00
134                Kazerounian, S        $                            200                            96.7     $ 19,340.00
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      A                 B                  C                     D                 E
135        Houston, S           $                  175                      0 $        -
136
137        Total Cost                                                   185.63 $   43,445
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            A              B                 C                              D                         E          F   G
1 Date                 Employee           Activity         Description                              Time
   1/20/2017       Cuerda, Maria   Testing: Work on test   REDACTED - SEE PRIVILEGE LOG                    0.7
2                                  assignments
   1/23/2017       Cuerda, Maria   Testing: Test           REDACTED - SEE PRIVILEGE LOG                    0.2
3                                  coordination
   1/24/2017       Cuerda, Maria   Testing: Test           going over audits - criminal                    0.3
4                                  coordination            records/race.
   1/24/2017       Cuerda, Maria   Testing: Debriefing     REDACTED - SEE PRIVILEGE LOG                    0.4
5
   1/30/2017       Cuerda, Maria   Testing: Test analysis paying tester, analyzing test. criminal          0.4
6                                                         records test
   1/31/2017       Cuerda, Maria   Testing: Test          criminal records tests.                          0.3
7                                  coordination
   2/1/2017        Cuerda, Maria   Testing: Test analysis REDACTED - SEE PRIVILEGE LOG                     0.3
8
   2/1/2017        Cuerda, Maria   Testing: Test           REDACTED - SEE PRIVILEGE LOG                    0.4
9                                  coordination
   2/2/2017        Cuerda, Maria   Testing: Test           REDACTED - SEE PRIVILEGE LOG                    0.2
10                                 coordination
   2/6/2017        Cuerda, Maria   Testing: Test           researching and making up new test              0.8
                                   coordination            for criminal records/race testing.
11
     3/31/2017     Aleman, Cesar   Testing                 Spoke to SK about test coordinating             0.2
                                                           assignments- set up meeting with MC
                                                           to talk about Criminal Records Testing
                                                           and discuss next steps-
12
     3/31/2017     Kazerounian,    Testing                Discuss criminal records testing with             1
13                 Salmun                                 MC and CA
     4/6/2017      Aleman, Cesar   Testing: Test analysis reviewing the tests that have been               1.1
14                                                        done (criminal records)
     4/7/2017      Aleman, Cesar   Testing: Test          REDACTED - SEE PRIVILEGE LOG                     0.5
15                                 coordination
     4/18/2017     Cuerda, Maria   Testing: Debriefing DB'd test - audit/criminal records                  0.4
16
     5/8/2017      Kemple, Erin    Consultation with:    discussion with MC re: paying tester;             0.2
17                                 CFHC Staff            criminal records testing
     5/9/2017      Kazerounian,    Testing               Meet with MC,CD,EK to discuss                     1.5
18                 Salmun                                criminal records testing
     5/10/2017     Kemple, Erin    Administrative: Staff meeting re: criminal records testing              0.8
19                                 Meeting
     5/11/2017     Cuerda, Maria   Testing: Work on test new test assignment for criminal                  0.5
20                                 assignments           records tests.
     5/12/2017     Cuerda, Maria   Testing: Assign test REDACTED - SEE PRIVILEGE LOG                       0.7
21
     5/19/2017     Cuerda, Maria   Testing: Assign test    finished test and assigned to tester -          0.3
22                                                         criminal records
     6/9/2017      Aleman, Cesar   Testing: Debriefing     REDACTED - SEE PRIVILEGE LOG                    0.2
23
     6/13/2017     Aleman, Cesar   Testing: Test          Updating tests for Race/Criminal                 0.4
24                                 coordination           Records- (unassigned)
     7/27/2017     Aleman, Cesar   Testing: Test analysis Finished test analysis for all the               1.2
25                                                        race/criminal records audits
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             A              B                  C                             D                                  E            F          G
     3/20/2018     Dresser, James   Testing: Test           REDACTED - SEE PRIVILEGE LOG                            1.5
26                                  coordination
27 3/22/2018       Dresser, James   Testing                 REDACTED - SEE PRIVILEGE LOG                              1
   7/2/2018        Dresser, James   Administrative: Staff   REDACTED - SEE PRIVILEGE LOG                              2
28                                  Meeting
   7/19/2018       Dresser, James   Administrative: Staff   REDACTED - SEE PRIVILEGE LOG                            1.5
29                                  Meeting
   7/24/2018       Kemple, Erin     Consultation with:      REDACTED - SEE PRIVILEGE LOG                            0.2
30                                  CFHC Staff
   8/3/2018        Dresser, James   Testing: Training       REDACTED - SEE PRIVILEGE LOG                            1.5
31                                  testers
   10/1/2018       Cuerda, Maria    Testing: Work on test   working on audit tests                                    3
32                                  assignments
   10/3/2018       Cuerda, Maria    Testing: Test           reviewing audits done to be sure all info in DB         0.4
33                                  coordination
   10/3/2018       Cuerda, Maria    Testing: Test           working on audit test. email to tester asking her to contact
                                                                                                                      0.5HP using a form on the webs
34                                  coordination
   10/4/2018       Cuerda, Maria    Testing: Assign test    assigned new audit test to tester                       0.2
35
   10/10/2018      Cuerda, Maria    Testing: Test           working on audit test with tester                       0.4
36                                  coordination
37 10/12/2018      Cuerda, Maria    Testing                 finishing up audit test                                1.1
38 10/15/2018      Cuerda, Maria    Testing                 working on audit test. new message and email/text to tester
                                                                                                                   0.2 on how to respond
   10/16/2018      Cuerda, Maria    Testing: Test           REDACTED - SEE PRIVILEGE LOG                             1
39                                  coordination                                                                                            1
   10/17/2018      Cuerda, Maria    Testing: Work on test   finished new audit test. sent to tester                 0.2
40                                  assignments
   10/17/2018      Cuerda, Maria    Testing: Test           talking with sk about what to do with audit test.       0.3
41                                  coordination
42 10/18/2018      Cuerda, Maria    Testing                 talking with sk about audit tests and how to proceed. working
                                                                                                                      1 on tests. response to ema
   10/24/2018      Cuerda, Maria    Testing: Test           working on audit tests                                  0.5
43                                  coordination
   10/24/2018      Cuerda, Maria    Testing: Work on test   working on audit tests                                    2
44                                  assignments
   10/25/2018      Cuerda, Maria    Testing: Test           working on audit tests                                    3
45                                  coordination
   10/25/2018      Cuerda, Maria    Testing: Debriefing     two audit tests                                         0.3
46
   10/26/2018      Cuerda, Maria    Testing: Test analysis working on audit tests.                                  1.5
47
   10/29/2018      Cuerda, Maria    Testing: Test           REDACTED - SEE PRIVILEGE LOG                            0.2
48                                  coordination
   10/30/2018      Cuerda, Maria    Testing: Test           working on two audit tests. Email to sk                 0.7
49                                  coordination            with question
   10/31/2018      Cuerda, Maria    Testing: Work on test   trying to get answer on audit test from                 0.2
50                                  assignments             ek. Emails
51 10/31/2018      Cuerda, Maria    Testing                 REDACTED - SEE PRIVILEGE LOG                            1.3
   11/6/2018       Cuerda, Maria    Testing                 working on audit tests, paying testers,                   1
                                                            organizing files, figuring out what tests
52                                                          need to go out
   11/6/2018       Cuerda, Maria    Testing: Test           REDACTED - SEE PRIVILEGE LOG                              1
53                                  coordination
54 11/8/2018       Cuerda, Maria    Testing                 REDACTED - SEE PRIVILEGE LOG                            0.8
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             A              B                    C                                D                                   E            F   G
     11/13/2018     Cuerda, Maria      Testing: Test            working on audit tests                                       1.5
55                                     coordination
     11/15/2018     Cuerda, Maria      Testing: Test            talking about audit test and testing in                      0.5
                                       coordination             general. updating test results in DB
56
     11/19/2018     Cuerda, Maria      Testing                  db'd one tester and sent instructions                        0.4
                                                                to antoher tester. audits.
57
58 11/20/2018       Cuerda, Maria      Testing                  working on audits with tester                                0.4
   11/21/2018       Cuerda, Maria      Testing: Test            audit                                                        0.2
59                                     coordination
   11/27/2018       Cuerda, Maria      Testing: Test            working on audit tests. emails with                          0.5
60                                     coordination             tester.
   11/28/2018       Cuerda, Maria      Testing: Test            working on audit test with tester.                           0.3
61                                     coordination
   11/30/2018       Cuerda, Maria      Testing: Test            finishing up test and paying tester.                         0.4
62                                     coordination             Audit
   12/3/2018        Cuerda, Maria      Testing: Test            audits                                                       0.2
63                                     coordination
   12/7/2018        Cuerda, Maria      Testing: Test            REDACTED - SEE PRIVILEGE LOG                                 0.2
64                                     coordination
   12/10/2018       Cuerda, Maria      Testing: Debriefing      REDACTED - SEE PRIVILEGE LOG                                 0.3
65
66 12/17/2018       Cuerda, Maria      Testing                finishing up audit tests.                                      1.5
   12/19/2018       Cuerda, Maria      Testing: Test analysis talking to sk about test result. finishing                     0.2
67                                                            audit test
68                                                                                                                          48.1

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70
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78 Total
79
80                                     Rate per hour            Hours                                        Total Cost
81                  Dresser, B         $                   10                                            0   $                 -
82                  Aleman, C           $                150                                           2.3    $           345.00
83                  Lavery, D           $                -                                               0    $              -
84                  Kemple, E           $                400                                           3.2    $         1,280.00
85                  Darby-Hudgens, F    $                175                                             0    $              -
86                  Kirschner, G        $                350                                             0    $              -
87                  Dresser, J          $                150                                           3.6    $           540.00
88                  Labrencis, J        $                250                                             0    $              -
89                  Ortiz, L            $                100                                             0    $              -
90                  Cuerda, M           $                150                                            36    $         5,400.00
91                  Heller, P           $                250                                             0    $              -
92                  Kazerounian, S      $                200                                             3    $           600.00
93                  Houston, S          $                175                                             0    $              -
94
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     A              B         C                  D                  E           F   G
95         Total Cost                                      48.1 $       8,165
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        A                B                C            D              E
1
2
   Test Group     Test Part Number    Test Type     Test Date   Amt. Pd to
 3 Number                                           (MM/YY)     Tester
   1015                1710          Rental-Audit    01/2017     $       42.35
 4                                   (Race/Black)
   1016                1711          Rental-Audit   02/2017     $         40.47
 5                                   (Race/Black)
   1019                1715          Rental-Audit   02/2017     $         77.88
 6                                   (Race/Black)
   1020                1779          Rental-Audit   02/2017     $         40.00
 7                                   (Race/Black)
   1021                1778          Rental-Audit   02/2017     $         40.00
 8                                   (Race/Black)
   1033                1768          Rental-Audit   04/2017     $      145.31
 9                                   (Race/Black)
   1034                1728          Rental-Audit   04/2017     $      126.84
10                                   (Race/Black)
   1052                1759          Rental-Audit   04/2017     $         40.00
11                                   (Race/Black)
   1053                1760          Rental-Audit   04/2017     $         40.94
12                                   (Race/Black)
   1058                1761          Rental-Audit   04/2017     $         40.00
13                                   (Race/Black)
   1058                1767          Rental-Audit   04/2017     $         40.47
14                                   (Race/Black)
   1071                1781          Rental-Audit   05/2017     $         40.00
15                                   (Race/Black)
   1071                1788          Rental-Audit   05/2017     $         91.10
16                                   (Race/Black)
   1078                1787          Rental-Audit   05/2017
17                                   (Race/Black)
   1078                1810          Rental-Audit   06/2017
18                                   (Race/Black)
   1079                2046          Rental-Audit   06/2017
19                                   (Race/Black)
   1079                2047          Rental-Audit   06/2017     $         81.90
20                                   (Race/Black)
   1095                1823          Rental-Audit   06/2017     $      150.93
21                                   (Race/Black)
   1095                1811          Rental-Audit   06/2017     $      153.84
22                                   (Race/Black)
   1104                1820          Rental-Audit   06/2017     $      157.41
23                                   (Race/Black)
   1192                1957          Rental-Audit   07/2018     $         56.71
24                                   (Race/Black)
                Case 3:18-cv-00705-VLB Document 112-7 Filed 11/11/19 Page 100 of 155


            A           B                C              D            E
     1202              1973         Rental-Audit     10/2018    $        75.47
25                                  (Race/Black)
     1202              2030         Rental-Audit     10/2018    $        75.47
26                                  (Race/Black)
     1203              1980         Rental-Audit     10/2018    $        75.47
27                                  (Race/Black)
     1203              1964         Rental-Audit     10/2018    $        75.00
28                                  (Race/Black)
     1206              1977         Rental-Audit     10/2018    $        75.47
29                                  (Race/Black)
     1206              1974         Rental-Audit     10/2018    $        75.71
30                                  (Race/Black)
     1207              1983         Rental-Audit     10/2018    $        75.47
31                                  (Race/Black)
     1207              1982         Rental-Audit     10/2018    $        75.00
32                                  (Race/Black)
     1208              2024         Rental-Audit     10/2018    $        75.00
33                                  (Race/Black)
     1208              2025         Rental-Audit     12/2018    $        75.00
34                                  (Race/Black)
     1214              1981         Rental-Audit     06/4862    $        75.00
35                                  (Race/Black)
     1214              2026         Rental-Audit     12/2018    $        75.00
36                                  (Race/Black)
     1216              1985         Rental-Audit     10/2018    $        75.00
37                                  (Race/Black)
     1216              2023         Rental-Audit     11/2018    $        75.00
38                                  (Race/Black)
     1219              1993         Rental-Audit     10/2018    $        50.47
39                                  (Race/Black)
     1219              1994         Rental-Audit     11/2018    $        75.00
40                                  (Race/Black)
41                                                              $   2,584.68
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          A                  B                    C                     D                     E                  F
1 Date           Employee              Activity                Client           Description                    Time
2
  12/6/2016      Kazerounian, Salmun   Case Work: Phone call REDACTED - SEE     REDACTED - SEE PRIVILEGE LOG           1
                                       on behalf of client   PRIVILEGE LOG
3
     5/22/2017   Cuerda, Maria         Case Work: Client       REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.7
4                                      intake interview        PRIVILEGE LOG
     2/16/2018   Cuerda, Maria         Case Work: Work on      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG           1
5                                      Client case             PRIVILEGE LOG
     3/8/2018    Cuerda, Maria         Case Work: Review       REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          1.2
6                                      case                    PRIVILEGE LOG
     10/23/2018 Cuerda, Maria          Case Work: Analyze      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.4
                                       client file for legal   PRIVILEGE LOG
7                                      claims
     10/25/2018 Cuerda, Maria          Case Work: Analyze      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.5
                                       client file for legal   PRIVILEGE LOG
8                                      claims
     10/26/2018 Cuerda, Maria          Case Work: Work on      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.2
9                                      Client case             PRIVILEGE LOG
     10/26/2018 Cuerda, Maria          Case Work: Phone call   REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG           1
10                                     to client               PRIVILEGE LOG
     11/8/2018   Cuerda, Maria         Case Work: Work on      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.4
11                                     Client case             PRIVILEGE LOG
     11/9/2018   Cuerda, Maria         Case Work: Work on      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          1.6
12                                     Client case             PRIVILEGE LOG
     11/15/2018 Cuerda, Maria          Case Work: Work on      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG           1
13                                     Client case             PRIVILEGE LOG
     11/16/2018 Cuerda, Maria          Case Work: Work on      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.5
14                                     Client case             PRIVILEGE LOG
     11/20/2018 Cuerda, Maria          Case Work: Phone call   REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.2
                                       on behalf of client     PRIVILEGE LOG
15
     11/26/2018 Cuerda, Maria          Consultation with:      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.4
16                                     CFHC Staff              PRIVILEGE LOG
     11/26/2018 Cuerda, Maria          Case Work: Work on      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.6
17                                     Client case             PRIVILEGE LOG
     11/29/2018 Cuerda, Maria          Case Work: Phone call   REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.1
18                                     to client               PRIVILEGE LOG
     11/30/2018 Cuerda, Maria          Case Work: Phone call   REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.1
19                                     to client               PRIVILEGE LOG
     12/4/2018   Cuerda, Maria         Case Work: Work on      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.3
20                                     Client case             PRIVILEGE LOG
     11/27/2018 Cuerda, Maria          Case Work: Client       REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          1.3
21                                     intake interview        PRIVILEGE LOG
     11/27/2018 Cuerda, Maria          Testing                 REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.2
22                                                             PRIVILEGE LOG
     11/28/2018 Cuerda, Maria          Testing: Work on test   REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG           1
23                                     assignments             PRIVILEGE LOG
     11/29/2018 Cuerda, Maria          Testing: Test           REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.2
24                                     coordination            PRIVILEGE LOG
     11/29/2018 Cuerda, Maria          Testing                 REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG          0.2
25                                                             PRIVILEGE LOG
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          A                  B                    C                    D                     E                F
     11/29/2018 Cuerda, Maria          Testing: Debriefing    REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.3
26                                                            PRIVILEGE LOG
     11/30/2018 Cuerda, Maria          Testing: Debriefing    REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.3
27                                                            PRIVILEGE LOG
     11/30/2018 Cuerda, Maria          Testing                REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.1
28                                                            PRIVILEGE LOG
     12/3/2018   Cuerda, Maria         Testing: Test          REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.1
29                                     coordination           PRIVILEGE LOG
     12/6/2018   Cuerda, Maria         Testing                REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.2
30                                                            PRIVILEGE LOG
     12/7/2018   Cuerda, Maria         Testing                REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG        1
31                                                            PRIVILEGE LOG
     12/7/2018   Cuerda, Maria         Testing                REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.1
32                                                            PRIVILEGE LOG
     12/7/2018   Cuerda, Maria         Testing: Debriefing    REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.2
33                                                            PRIVILEGE LOG
     12/13/2018 Cuerda, Maria          Testing: Test analysis REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.7
34                                                            PRIVILEGE LOG
     12/6/2018   Cuerda, Maria         Case Work: Client      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       1.6
35                                     intake interview       PRIVILEGE LOG
     12/6/2018   Cuerda, Maria         Testing: Work on test REDACTED - SEE    REDACTED - SEE PRIVILEGE LOG       0.4
36                                     assignments            PRIVILEGE LOG
     12/6/2018   Cuerda, Maria         Case Work: Work on     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG        1
37                                     Client case            PRIVILEGE LOG
     12/7/2018   Cuerda, Maria         Case Work: Work on     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.6
38                                     Client case            PRIVILEGE LOG
     12/7/2018   Cuerda, Maria         Testing                REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.4
39                                                            PRIVILEGE LOG
     12/7/2018   Cuerda, Maria         Case Work: Work on     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.4
40                                     Client case            PRIVILEGE LOG
     12/10/2018 Cuerda, Maria          Case Work: Work on     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.2
41                                     Client case            PRIVILEGE LOG
     12/10/2018 Cuerda, Maria          Testing                REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.4
42                                                            PRIVILEGE LOG
     12/17/2018 Cuerda, Maria          Case Work: Work on     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.3
43                                     Client case            PRIVILEGE LOG
     12/18/2018 Cuerda, Maria          Case Work: Work on     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.4
44                                     Client case            PRIVILEGE LOG
     12/27/2018 Cuerda, Maria          Case Work: Work on     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.7
45                                     Client case            PRIVILEGE LOG
     8/14/2018   Dresser, Bea          Case Work: Intake      REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.2
46                                                            PRIVILEGE LOG
     9/22/2017   Dresser, James        Case Work: Work on     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG        1
47                                     Client case            PRIVILEGE LOG
     11/28/2017 Dresser, James         Case Work: Work on     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       1.5
48                                     Client case            PRIVILEGE LOG
     8/16/2018   Heller, Pamela        Case Work: Phone call REDACTED - SEE    REDACTED - SEE PRIVILEGE LOG       0.3
49                                     to client              PRIVILEGE LOG
     12/6/2016   Kazerounian, Salmun   Consultation with:     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.5
50                                     CFHC Staff             PRIVILEGE LOG
     2/16/2018   Kazerounian, Salmun   Case Work: Work on     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG        3
51                                     Client case            PRIVILEGE LOG
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          A                  B                     C                  D                     E                F
     10/25/2018 Kazerounian, Salmun    Case Work: Work on    REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       2.2
52                                     Client case           PRIVILEGE LOG
     9/18/2017   Kemple, Erin          Case Work: Review     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.8
53                                     case                  PRIVILEGE LOG
     4/19/2017   Kirschner, Greg       Case Work: Case       REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.2
54                                     supervision           PRIVILEGE LOG
     1/12/2018   Kirschner, Greg       Case Work: Review     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.4
55                                     case                  PRIVILEGE LOG
     3/8/2018    Kirschner, Greg       Case Work: Work on    REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.5
56                                     Client case           PRIVILEGE LOG
     6/18/2018   Kirschner, Greg       Case Work: Review     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.2
57                                     case                  PRIVILEGE LOG
     3/20/2018   Labrencis, Jessica    Consultation with:    REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.1
58                                     CFHC Staff            PRIVILEGE LOG
     3/6/2018    Ortiz, Letty          Case Work: Intake     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.3
59                                                           PRIVILEGE LOG
     9/11/2018   Ortiz, Letty          Case Work: Intake     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.3
60                                                           PRIVILEGE LOG
     2/8/2019    Cuerda, Maria         Case Work: Work on    REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.3
61                                     Client case           PRIVILEGE LOG
     3/26/2019   Cuerda, Maria         Case Work: Client     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG        1
62                                     intake interview      PRIVILEGE LOG
     4/30/2019   Cuerda, Maria         Case Work: Review     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.5
63                                     case                  PRIVILEGE LOG
     5/3/2019    Cuerda, Maria         Case Work: Client     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG        1
64                                     intake interview      PRIVILEGE LOG
     5/7/2019    Cuerda, Maria         Case Work: Work on    REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.6
65                                     Client case           PRIVILEGE LOG
     5/8/2019    Cuerda, Maria         Testing               REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.3
66                                                           PRIVILEGE LOG
     6/6/2019    Cuerda, Maria         Case Work: Client     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       1.3
67                                     intake interview      PRIVILEGE LOG
     6/7/2019    Cuerda, Maria         Case Work: Work on    REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.2
68                                     Client case           PRIVILEGE LOG
     6/21/2019   Cuerda, Maria         Administrative:       REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.2
69                                     Respond to emails     PRIVILEGE LOG
     6/27/2019   Cuerda, Maria         Case Work: Phone call REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.3
70                                     to client             PRIVILEGE LOG
     7/11/2019   Cuerda, Maria         Case Work: Work on    REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.2
71                                     Client case           PRIVILEGE LOG
     3/11/2019   Labrencis, Jessica    Case Work: Phone call REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.3
72                                     to client             PRIVILEGE LOG
     4/15/2019   Labrencis, Jessica    Case Work: Phone call REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.6
73                                     to client             PRIVILEGE LOG
     5/13/2019   Labrencis, Jessica    Case Work: Review     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.2
74                                     case                  PRIVILEGE LOG
     4/4/2019    Kazerounian, Salmun   Administrative:       REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       1.2
75                                     Internet Research     PRIVILEGE LOG
     5/9/2019    Kazerounian, Salmun   Testing               REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.6
76                                                           PRIVILEGE LOG
      2/14/2019 Ortiz, Letty           Case Work: Intake     REDACTED - SEE   REDACTED - SEE PRIVILEGE LOG       0.3
77                                                           PRIVILEGE LOG
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          A                     B             C                        D                            E                F
      3/13/2019 Ortiz, Letty        Case Work: Intake         REDACTED - SEE          REDACTED - SEE PRIVILEGE LOG         0.3
78                                                            PRIVILEGE LOG
      3/20/2019 Ortiz, Letty        Case Work: Intake         REDACTED - SEE          REDACTED - SEE PRIVILEGE LOG         0.3
79                                                            PRIVILEGE LOG
      3/20/2019 Ortiz, Letty        Case Work: Intake         REDACTED - SEE          REDACTED - SEE PRIVILEGE LOG         0.2
80                                                            PRIVILEGE LOG
      4/30/2019 Ortiz, Letty        Case Work: Intake         REDACTED - SEE          REDACTED - SEE PRIVILEGE LOG         0.2
81                                                            PRIVILEGE LOG
      5/3/2019   Ortiz, Letty       Case Work: Intake         REDACTED - SEE          REDACTED - SEE PRIVILEGE LOG         0.3
82                                                            PRIVILEGE LOG
      5/9/2019   Ortiz, Letty       Case Work: Intake         REDACTED - SEE          REDACTED - SEE PRIVILEGE LOG         0.3
 83                                                           PRIVILEGE LOG
 84
 85
 86
 87
 88                                                                                   Total hours                        45.70
 89
 90
 91
 92                                 Rate per hour             Hours                   Total Cost
 93              Dresser, B         $                    10                     0.2   $                      2.00
 94              Aleman, C           $                  150                       0   $                         -
 95              Lavery, D           $                  -                         0   $                         -
 96              Kemple, E           $                  400                     0.8   $                    320.00
 97              Darby-Hudgens, F    $                  175                       0   $                         -
 98              Kirschner, G        $                  350                     1.3    $                   455.00
 99              Dresser, J          $                  150                     2.5    $                   375.00
100              Labrencis, J        $                  250                     1.2    $                   300.00
101              Ortiz, L            $                  100                     2.5    $                   250.00
102              Cuerda, M           $                  150                    28.4    $                 4,260.00
103              Heller, P           $                  250                     0.3    $                    75.00
104              Kazerounian, S      $                  200                     8.5    $                 1,700.00
105              Houston, S          $                  175                       0    $                      -
106
107
108
109
110
111              Total Cost                                                    45.7 $                    7,737.00
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         A                 B                   C                          D                     E          F   G   H   I   J   K
1 Date           Employee                   Activity        Description                       Time
  4/5/2017       Houston, Shannon   Administrative: Grant   Emails w/EK and CA re:                   0.7
                                    writing                 HFPG plans; review HFPG
                                                            guidelines on website;
                                                            emails w/Erika Frank at
                                                            HFPG about timing of our
                                                            app and scheduling call to
2                                                           discuss.
     4/6/2017    Houston, Shannon   Administrative: Grant   Emails w/Erika Frank of                  0.2
                                    writing                 HFPG re: scheduling call to
                                                            discuss next grant
3                                                           application.
     4/19/2017   Houston, Shannon   Administrative: Grant   Review EK plans for new                  0.8
                                    writing                 HFPG grant & make notes;
                                                            meet w/EK to discuss.
4
     4/19/2017   Houston, Shannon   Administrative: Grant   Call w/HFPG re: ideas &                   1
                                    reporting               process for next grant
                                                            application + send
                                                            confirmation email before
                                                            call + follow up email after
5                                                           call.
     4/19/2017   Kemple, Erin       Administrative: Grant   work on suggestions for new              1.5
                                    writing                 HFPG grant; met with SH re:
                                                            meeting with HFPG;
                                                            discussion with SK and SW;
                                                            email to foreclosure folks;
                                                            review information
6
     4/20/2017   Kemple, Erin       Administrative: Grant   email to staff re: HFPG grant            0.3
7                                   writing
     4/26/2017   Kemple, Erin       Administrative: Grant   work on HFPG pre app;                    0.8
8                                   writing                 emailing re: BOA grant
     4/28/2017   Kemple, Erin       Administrative: Grant   work on HFPG pre app                     0.4
9                                   writing
     5/2/2017    Kemple, Erin       Administrative: Grant   work on BOA and HFPG                     1.7
                                    writing                 grant; emails with staff re
                                                            adding criminal records into
10                                                          the grants
     5/3/2017    Kemple, Erin       Administrative: Grant   work on BOA application                  1.5
11                                  writing
     5/4/2017    Kemple, Erin       Administrative: Grant   work on BOA grant                        1.2
12                                  writing                 application
     5/8/2017    Kemple, Erin       Administrative: Grant   prep for HFPG meeting on                 0.3
13                                  writing                 5/10
     5/8/2017    Kemple, Erin       Administrative: Grant   review emails from GK and                0.2
14                                  writing                 SW re: BOA grant
     5/9/2017    Houston, Shannon   Administrative: Grant   Review notes on HFPG                     0.3
                                    writing                 proposal; prep for
15                                                          Wednesday meeting
     5/9/2017    Kemple, Erin       Administrative: Grant   work on HFPG grant; prep                 1.3
                                    writing                 for meeting with HFPG
16                                                          tomorrow
     5/10/2017   Houston, Shannon   Administrative: Grant   Meet with EK and program                 1.3
                                    writing                 officer from HFPG re: next
                                                            grant application; + prep
                                                            notes before meeting +
                                                            debrief w/EK after meeting.
17
     5/10/2017   Kemple, Erin       Administrative: Grant   prep for HFPG meeting                    0.2
18                                  writing
     5/10/2017   Kemple, Erin       Administrative: Grant   meeting with HFPG Pete                    1
19                                  writing                 Rosa; debrief with SH
     5/16/2017   Kemple, Erin       Administrative: Grant   BOA grant                                 3
20                                  writing
     5/17/2017   Kemple, Erin       Administrative: Grant   work on BOA grant                        1.5
21                                  writing
     5/18/2017   Kemple, Erin       Administrative: Grant   finish BOA grant; email to               1.4
                                    writing                 GK, JG, SW, SK, SH for review
22
     5/22/2017   Houston, Shannon   Administrative: Grant
23                                  writing                 Continue reviewing BOA/CBF grant app     0.5
                   Case 3:18-cv-00705-VLB Document 112-7 Filed 11/11/19 Page 106 of 155
            A               B                  C                          D                  E         F   G   H   I   J   K
     5/24/2017   Kemple, Erin       Administrative: Grant   work on response to                   1
                                    writing                 questions from Hartford
24                                                          Foundation
     5/25/2017   Houston, Shannon   Administrative: Grant   Review & edit responses to            1
                                    writing                 questions from HFPG;
25                                                          discuss w/EK
     5/30/2017   Kemple, Erin       Administrative: Grant   incorporating comments                1
                                    writing                 from SH, JG, and GK re: BOA
                                                            application into current draft
26
     6/5/2017    Houston, Shannon   Administrative: Grant   Review latest HFPG grant             0.7
                                    writing                 details & budget put
27                                                          together by EK
     6/6/2017    Houston, Shannon   Administrative: Grant   Talk w/EK re: HFPG                   0.4
28                                  writing                 questions & budget
     6/6/2017    Kemple, Erin       Administrative: Grant   work on budget narrative for          2
29                                  writing                 HFPG grant
     6/6/2017    Kemple, Erin       Administrative: Grant   discussion with Pete Rosa--if        0.4
                                    writing                 budget is $250,000 it won't
                                                            have to go before the full
                                                            Board; will get an answer
                                                            sooner; will be reviewed by
                                                            3 people. next full Board
                                                            meeting is in October; won't
                                                            make the meeting in July b/c
                                                            application not done; explain
                                                            why all these people are
                                                            needed on the grant;
                                                            overhead looks really high


30
     6/7/2017    Houston, Shannon   Administrative: Grant   Look up details of recent            1.5
                                    writing                 HFPG grants over past 2
                                                            years, look up info on
                                                            organizations' budgets and
                                                            other info; compile into
                                                            spreadsheet & send to EK for
                                                            comparison to our HFPG
31                                                          proposal.
     6/7/2017    Kemple, Erin       Administrative: Grant   working on HFPG budget;              4.8
                                    writing                 discussion with SH re:
                                                            cutting grant request to
32                                                          $250,000;
     6/8/2017    Houston, Shannon   Administrative: Grant   Review revised budget &              0.8
                                    writing                 budget narrative for HFPG &
                                                            talk w/EK about it, & send
                                                            her my edits/thoughts.
33
     6/8/2017    Kemple, Erin       Administrative: Grant   finish up HFPG budget and            0.4
34                                  writing                 budget narrative
     6/8/2017    Kemple, Erin       Administrative: Grant   work on budget for BOA               0.5
35                                  writing                 grant
     6/12/2017   Kemple, Erin       Administrative: Grant   work on BOA application;             1.5
                                    writing                 review budget; send to SW
36                                                          and SK
     6/15/2017   Kemple, Erin       Administrative: Grant   editing BOA grant                    0.5
37                                  writing
     6/19/2017   Kemple, Erin       Administrative: Grant   call from Pete Rosa from the         0.5
                                    writing                 Hartford Foundation; we
                                                            have been approved to
                                                            move on to the next phase--
                                                            grant application; sent him
                                                            an email with strategic plan,
38                                                          etc.
     6/19/2017   Kemple, Erin       Administrative: Grant   work on BOA application               1
                                    writing                 including updating BOD list
39
     6/20/2017   Houston, Shannon   Administrative: Grant   Review HFPG full                     0.7
                                    writing                 application, download
                                                            templates/forms to S drive.
                                                            Review final BOA grant app
                                                            & send feedback to EK.
40
                   Case 3:18-cv-00705-VLB Document 112-7 Filed 11/11/19 Page 107 of 155
            A              B                   C                         D                  E         F   G   H   I   J   K
     6/20/2017   Houston, Shannon   Administrative: Grant                                       0.7
                                    writing                 Review HFPG full
                                                            application, download
                                                            templates/forms to S drive.
                                                            Review final BOA grant app
41                                                          & send feedback to EK.
     6/20/2017   Kemple, Erin       Administrative: Grant   sign into HFPG system and           0.2
42                                  writing                 review info
     6/20/2017   Kemple, Erin       Administrative: Grant   made small changes to BOA           0.6
                                    writing                 grant and send to Shannon;
                                                            finalize and email to CBF
43
     6/27/2017   Houston, Shannon   Administrative: Grant   Meet briefly w/ EK to review        0.8
                                    writing                 plans for working on
                                                            upcoming grants especially
                                                            HFPG. Review HFPG
                                                            application questions and
                                                            notes/plans for grant.
44
     6/27/2017   Kemple, Erin       Administrative: Grant   review of materials for HFPG        0.5
                                    writing                 grant; discussion with SH to
                                                            divide up responsibilities
45
     6/28/2017   Houston, Shannon   Administrative: Grant   Start intro questions for            2
46                                  writing                 HFPG grant.
     6/29/2017   Houston, Shannon   Administrative: Grant   Work on HFPG grant app               2
47                                  writing
     7/3/2017    Houston, Shannon   Administrative: Grant   Work on HFPG grant                   1
48                                  writing                 questions
     7/6/2017    Houston, Shannon   Administrative: Grant   Work on HFPG app                     1
49                                  writing                 questions.
     7/7/2017    Houston, Shannon   Administrative: Grant   Work on HFPG grant                  0.5
50                                  writing                 questions
     7/10/2017   Houston, Shannon   Administrative: Grant   Work on HFPG questions.              2
                                    writing                 Send draft responses to EK.
51
     7/14/2017   Kemple, Erin       Administrative: Grant    work on Hartford                   0.5
52                                  writing                 Foundation grant
     7/17/2017   Kemple, Erin       Administrative: Grant   work on HFPG grant                   1
53                                  writing
     7/18/2017   Houston, Shannon   Administrative: Grant   Start reviewing HFPG grant          0.7
54                                  writing                 draft
     7/18/2017   Kemple, Erin       Administrative: Grant   research of reverse                 4.5
                                    writing                 mortgages for HFPG grant;
                                                            work on grant writingreview
                                                            PPT from SW; writing
                                                            answers to questions;
                                                            editing, etc.; filling on
                                                            requred papaerwork
55
     7/19/2017   Houston, Shannon   Administrative: Grant                                       0.9
56                                  writing
     7/20/2017   Houston, Shannon   Administrative: Grant   Edits to HFPG grant narrative        3
57                                  writing                 & send to EK
     7/23/2017   Kemple, Erin       Administrative: Grant   work on HFPG grant                  0.8
58                                  writing
     7/24/2017   Kemple, Erin       Administrative: Grant   work on HFPG application;            1
                                    writing                 do workplan; review
                                                            demographics; review what
                                                            needs to be done to finish
59
     7/25/2017   Kemple, Erin       Administrative: Grant   work on HFPG grant; update           1
                                    writing                 proposal narrative; send
                                                            cover page to Christian for
                                                            signing; update peripherals

60
     7/27/2017   Kemple, Erin       Administrative: Grant   finalizing HFPG grant;              0.8
                                    writing                 comparing application with
                                                            workplan; checking other
                                                            info to ensure everything
61                                                          matches;
     8/9/2017    Kemple, Erin       Administrative: Grant   work on HFPG grant                   1
62                                  writing
                   Case 3:18-cv-00705-VLB Document 112-7 Filed 11/11/19 Page 108 of 155
            A               B                  C                           D                    E               F        G          H          I          J          K
     8/14/2017   Kemple, Erin       Administrative: Grant    review grant writing                         1.5
                                    writing                  schedule; review HFPG
                                                             grant; upload all documents;
                                                             waiting on signed cover
                                                             sheet; writing purpose of
                                                             grant piece
63
     8/15/2017   Kemple, Erin       Administrative: Grant    review and rework HFPG                       0.5
64                                  writing                  grant; submit
     9/12/2017   Kemple, Erin       Administrative: Grant    response to questions asked                  0.4
                                    writing                  by Pete Rosa re: HFPG
65                                                           application
     9/13/2017   Kemple, Erin       Administrative: Grant    respond to questions from                    0.2
66                                  writing                  HFPG;
     9/14/2017   Kemple, Erin       Administrative: Grant    emails re: HFPG funding and                  0.2
                                    writing                  request for additional
67                                                           information
   10/4/2017     Kemple, Erin       Administrative: Grant    signing various grant                        0.2
68                                  writing                  documents for HFPG
69
70
71
72
73 Total                                                                                            69.30
74                                                                                                  34.65 divided in half b/c grants dealt with more than criminal records
75
76
77               Dresser, B         $                   10                              0 $               -
78               Aleman, C          $                  150                              0 $           -
79               Lavery, D          $                  200
80               Kemple, E          $                  400                          23.1    $    9,240.00
81               Darby-Hudgens, F   $                  175                             0    $         -
82               Kirschner, G       $                  350                             0    $         -
83               Dresser, J         $                  150                             0    $         -
84               Labrencis, J       $                  250                             0    $         -
85               Ortiz, L           $                  100                             0    $         -
86               Cuerda, M          $                  150                             0    $         -
87               Heller, P          $                  250                             0    $         -
88               Kazerounian, S     $                  200                             0    $         -
89               Houston, S         $                  175                         11.55    $    2,021.25
90
91                                                                                 34.65 $      11,261.25
92               Total
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                  EXHIBIT H
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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

CONNECTICUT FAIR HOUSING CENTER              Case No. 3:18-cv-00705-VLB

and

CARMEN ARROYO, individually and
as next friend for Mikhail Arroyo

             Plaintiffs,
       v.

CORELOGIC RENTAL PROPERTY
SOLUTIONS, LLC.

       Defendant.                            July 11, 2019


                 PLAINTIFFS’ AMENDED DAMAGES ANALYSIS

      The Plaintiffs, Connecticut Fair Housing Center (“CFHC”) and Carmen

Arroyo, individually and on behalf of Mikhail Arroyo, make the following amended

disclosure regarding damages for which they seek relief in this action. As

discovery is ongoing, Plaintiffs reserve the right to amend this damages analysis

as they become aware of additional facts.

                                      CFHC

Compensatory Damages:

      CFHC has suffered damages as a direct result of CoreLogic’s
      discriminatory policies and practices in the form of diversion of resources
      and frustration of mission.

      Diversion of Resources: Specifically, CFHC diverted financial reserves and
      staff time to counteract Defendant’s discrimination in tenant screening
      based on national origin, race, and disability in the housing marketplace
      and open advertisement to housing providers that they can improve their
      fair housing compliance by not giving individualized consideration to
      applicants with criminal records, which Defendant has consistently
      engaged in from 2005 until the present. Such diversion includes staff time
      to investigate Defendant’s conduct and assist individuals who have been
                                        1
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 denied housing as a result of its actions, including Mr. Arroyo; creating
 publications and performing education and outreach directed at people of
 color and people with disabilities to educate them about the use of criminal
 records to screen applicants; testing to determine how landlords were
 using criminal records to screen tenants; and writing grants to address the
 issues raised by the improper use of criminal records. As a result of the
 time diverted to investigate and counteract Defendant’s conduct, CFHC
 was unable to promote the creation of affordable housing in areas with few
 people of color, monitor applications for affordable housing that were
 denied for illegal discriminatory reasons, and advocate with state and local
 governments to expand the supply of affordable housing and promote
 integration. In all, CHFC has diverted more than 356 hours of its staff time
 at a cost of more than $82,639.93

 Frustration of Mission: Defendant’s national origin, race, and disability
 discrimination in the marketplace frustrates and undermines CFHC’s
 mission to eliminate illegal housing discrimination in Connecticut. As
 discovery is ongoing, CFHC is not fully knowledgeable of the extent and
 effect of the defendant’s conduct but believes it to be significant.

 For example, since at least 2005 and continuing through the present,
 Defendant has openly advertised in Connecticut that housing providers
 can improve their fair housing compliance by not giving individualized
 consideration to applicants with criminal records. Since at least 2005 up
 through the present, Defendant has offered a tenant screening product to
 Connecticut housing providers that predictably results in race and national
 origin discrimination because it facilitates “blanket bans” on housing
 applicants with criminal records, denies housing based on non-conviction
 data or old convictions, and denies housing without considering mitigating
 circumstances. Since at least 2009 up through the present, Defendant’s
 automated criminal records screening product has been used by multiple,
 large Connecticut landlords and has resulted in race, national origin, and
 disability discrimination. In 2018, Defendant’s automated criminal records
 screening product was used at 146 rental housing complexes in
 Connecticut and disqualified 1,941 applications to these complexes.
 Defendant’s file disclosure policies have additionally prevented people with
 disabilities from challenging housing denials caused by all of Defendant’s
 tenant screening products, thereby compounding the persistence of race,
 national origin, and disability discrimination in the state.

 CFHC has in the past devoted much time and many resources to
 combatting discrimination based on national origin and race related to
 landlords’ criminal records screening policies and educating landlords and
 tenants as to the rights of disabled tenants to request reasonable
 accommodations of criminal records screening policies. Because
 Defendant’s conduct has promoted discrimination on these bases, CFHC

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      believes the following remedial plan will be necessary to address the
      effects of Defendant’s discrimination:

         a. A statewide advertising campaign to inform landlords, tenants and
            tenant screening providers that: criminal records screening policies
            that impose blanket bans are illegal; housing providers must make
            individualized assessment of criminal records; and disabled tenants
            may be able to request a reasonable accommodation of a landlord’s
            criminal records screening policy. A comprehensive four-week
            advertising campaign would cost an estimated $250,000 to $300,000.

         b. A three-year testing program to gauge the level of discrimination
            occurring and to determine whether CFHC’s efforts to combat this
            discrimination are effective. The cost of the testing program over
            three years would be $30,000.

         c. A two-year outreach plan to educate landlords through seminars and
            trainings to counteract the effect of the defendant’s discrimination.
            Conducting three trainings per year for two years will cost
            approximately $20,000.

CFHC reserves the right to amend and update these estimates based on
information about the extent of Defendant’s discrimination that may be revealed
through discovery.

                                  Mikhail Arroyo

Compensatory Damages:

      Economic Damages: As a consequence of Defendant’s discriminatory
      policies and practices, Mikhail Arroyo incurred increased medical
      expenses resulting from his prolonged stay in the nursing home from
      approximately May 2016 until June 2017. The nursing home expenses were
      at least $2,460; Plaintiffs are awaiting additional billing records and reserve
      the right to amend this estimate.

      Emotional Distress: As a consequence of Defendant’s discriminatory
      policies and practices, Mikhail Arroyo suffered significant emotional
      distress. For 13 months, Mr. Arroyo was stuck in a nursing home, unable
      to move into his mother’s apartment. During that time, he suffered anxiety
      and sadness that was proximately caused by Defendant’s discriminatory
      role in the denial of his housing application and compounded by
      Defendant’s discriminatory refusal to produce his consumer file to his
      conservator and mother. Mr. Arroyo also suffered a fall in the nursing
      home that resulted in a week-long hospitalization and significant additional
      pain and suffering.


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     In this District, Courts have indicated that emotional distress coupled with
     physical suffering that can be corroborated with medical documentation
     warrant damages over $100,000. Based on the circumstances Mikhail
     Arroyo endured, Plaintiffs believe an award well over that baseline would
     be warranted.

     Deprivation of Rights and Housing Opportunity: Defendants’ conduct
     deprived Plaintiffs of their civil rights as well as full and equal enjoyment of
     their home.


                                 Carmen Arroyo

Compensatory Damages:

     Economic Damages: As a result of Defendant’s discriminatory conduct,
     Carmen Arroyo increased travel, medical, and other losses and expenses
     resulting from Mr. Arroyo’s prolonged stay in the nursing home from
     approximately May 2016 until June 2017. The nursing home expenses were
     at least $2,460, which Ms. Arroyo paid out of pocket; Plaintiffs are awaiting
     additional billing records and reserve the right to amend this estimate.

     Ms. Arroyo traveled round-trip daily between her home in Windham, CT and
     the nursing home in East Hartford, CT to visit her son during the time he
     was unable to move in with her because of Defendant’s conduct. Plaintiffs
     estimate the travel costs associated with driving 54 miles per day for 13
     months to be roughly $11,000.

     Ms. Arroyo also incurred increased rent for a two-bedroom apartment
     ($1050 / mo.) compared to her previous one-bedroom apartment ($900 /
     mo.) at ArtSpace Windham from approximately November 19, 2016 until
     June 2017, totaling approximately $995. Mr. Arroyo moved into her
     apartment with a Rental Assistance Program (RAP) voucher from the State
     of Connecticut, which limits the household’s rent obligation to 30% of the
     total household income. She lost the benefit of that voucher between the
     May 2016, when Mikhail Arroyo would have moved in but for Defendant’s
     conduct, and June 2017, when he finally moved in. Plaintiffs are awaiting
     records relating to the value of the voucher during that time period and
     reserve the right to amend this as necessary.

     Emotional Distress: As a consequence of Defendant’s discriminatory
     policies and practices, Carmen Arroyo suffered significant emotional
     distress. Ms. Arroyo experienced significant fear, anxiety, and sadness
     while her son was confined to a nursing home. She visited him daily, but
     left heartbroken and distressed every time because she couldn’t bring him
     home to take care of him. Ms. Arroyo’s emotional distress was caused by
     Defendant’s discriminatory role in the denial of Mikhail Arroyo’s housing

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      application and compounded by Defendant’s discriminatory refusal to
      produce his consumer file to her as his conservator.

      Courts in this Circuit typically award damages in the range of $25,000 to
      $125,000 for garden variety emotional distress. Based on the
      circumstances Carmen Arroyo endured, Plaintiffs believe an award at the
      high end of that range will be warranted.

      Deprivation of Rights and Housing Opportunity: Defendants’ conduct
      deprived Plaintiffs of their civil rights as well as full and equal enjoyment of
      their home.


                                    All Plaintiffs

Punitive Damages: The Fair Housing Act, 42 U.S.C. § 3613(c), the Connecticut
Unfair Trade Practices Act, § 42-110g(a), and the Fair Credit Reporting Act, 15
U.S.C. § 1681n(a)(2), provide for punitive damages. Plaintiffs believe punitive
damages are warranted as Defendant’s violations of these laws were knowing
and willful, and Defendant has persisted in its unlawful conduct even after being
notified of its potential liability for its violations. As Plaintiffs have yet to
complete discovery on this issue, Plaintiffs have not yet been able to quantify
appropriate punitive damages and reserve the right to supplement this analysis.


By counsel: /s/ Sarah White                          /s/ Eric Dunn
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                            CERTIFICATE OF SERVICE

      I hereby certify that on July 11, 2019 a copy of the foregoing was sent via
email to:

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            _______/s/__________________
            Sarah White




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                   EXHIBIT I
    -United States-             Case 3:18-cv-00705-VLB Document 112-7 Filed 11/11/19 Page 117 of 155
   Census     Bunnu



 QuickFacts
 Willimantic CDP, Connecticut; New Haven city, Connecticut; Hartford city, Connecticut; Bridgeport city, Connecticut; Connecticut
 QuickFacts provides statistics for all states and counties, and for cities and towns with a population of 5,000 or more.



Table
                                                                                    Willimantic CDP,              New Haven city,             Hartford city,                Bridgeport city,
               All Topics                                                                                                                                                                                Connecticut
                                                                                    Connecticut                   Connecticut                 Connecticut                   Connecticut

             Population estimates, July 1, 2018, (V2018)                                                     X                   130,418                       122,587                      144,900                3,572,665

                       PEOPLE

              Population
              Population estimates, July 1, 2018, (V2018)                                                    X                   130,418                       122,587                      144,900                3,572,665
              Population estimates base, April 1, 2010, (V2018)                                              X                   129,884                       124,770                      144,239                3,574,147
              Population, percent change - April 1, 2010 (estimates base) to
                                                                                                             X                        0.4%                         -1.7%                         0.5%
              July 1,2018, (V2018)
              Population, Census, April 1, 2010                                                          17,737                  129,779                       124,775                      144,229                3,574,097

              Age and Sex
              Persons under 5 years, percent                                                         •    5.4%                   •    6.2%                     •    6.6%                    •    6.8%                  •     5.1%
              Persons under 18 years, percent                                                    •       18.5%               •       22.1%                •        24.4%                •       23.7%              •        20.6%
              Persons 65 years and over, percent                                                     •    8.9%               •       10.5%                •        10.3%                •       10.7%              •        17.2%
              Female persons, percent                                                            •       53.3%               •       52.7%                •        52.0%                •       51.1%              •        51.2%

              Race and Hispanic Origin
              White alone, percent                                                               •       65.1%               •       43.0%                •        33.1%                •       40.4%              •        80.0%
               Black or African American alone, percent (a)                                          •    6.6%               •       33.0%                •        37.9%                •       35.3%              •        12.0%
              American Indian and Alaska Native alone, percent (a)                                   •    3.4%                   •    0.3%                     •    0.3%                    •    0.6%                  •     0.6%
              Asian alone, percent (a)                                                               •    2.8%                   •    4.7%                     •    3.0%                    •    3.1%                  •     4.9%
               Native Hawaiian and Other Pacific Islander alone, percent (a)                         •    0.0%                   •    0.0%                     •    0.0%                    •    0.0%                  •     0.1%
              Two or More Races, percent                                                             •    6.6%                   •    3.9%                     •    6.1%                    •    4.6%                  •     2.4%
              Hispanic or Latino, percent (b)                                                    •       43.5%               •       30.4%                •        44.3%                •       39.2%              •        16.5%
              White alone, not Hispanic or Latino, percent                                       •       47.0%               •       30.3%                •        14.8%                •       21.4%                       66.5%




                                                                                                                                                                                                                   •
              Population Characteristics
              Veterans, 2013-2017                                                                          497                        3,518                         2,489                        4,142                     180,111
              Foreign born persons, percent, 2013-2017                                                   14.0%                       16.4%                         21.8%                        29.6%                       14.2%

              Housing
              Housing units, July 1, 2018, (V2018)                                                           X                           X                             X                            X              1,521,117
              Owner-occupied housing unit rate, 2013-2017                                                33.9%                       27.8%                         23.8%                        42.0%                       66.6%
               Median value of owner-occupied housing units, 2013-2017                           $140,400                    $189,400                      $162,300                     $170,300                       $270,100
               Median selected monthly owner costs -with a mortgage, 2013-
                                                                                                         $1,590                      $1,864                        $1,588                       $1,972                     $2,065
               2017
               Median selected monthly owner costs -without a mortgage,
                                                                                                          $711                        $835                          $696                         $863                        $851
               2013-2017

               Median gross rent, 2013-2017                                                               $815                       $1,137                         $935                        $1,142                     $1,123
               Building permits, 2018                                                                        X                           X                             X                            X                       4,815

              Families & Living Arrangements

              Households, 2013-2017                                                                       5,644                      49,987                        45,822                       50,341             1,361,755
              Persons per household, 2013-2017                                                             2.53                        2.43                          2.54                         2.84                        2.55
              Living in same house 1 year ago, percent of persons age 1
                                                                                                         79.8%                       80.6%                         79.0%                        82.0%                       87.9%
              year+, 2013-2017
              Language other than English spoken at home, percent of
                                                                                                         42.0%                       34.9%                         44.3%                        47.5%                       22.1%
              persons age 5 years+, 2013-2017

              Computer and Internet Use
              Households with a computer, percent 2013-2017                                              84.3%                       80.2%                         77.8%                        83.4%                       88.2%
              Households with a broadband Internet subscription, percent,
                                                                                                         72.0%                       71.1%                         64.0%                        74.6%                       82.1%
              2013-2017

              Education
              High school graduate or higher, percent of persons age 25
                                                                                                         78.4%                       84.6%                         72.7%                        75.6%                       90.2%
              years+, 2013-2017
               Bachelor's degree or higher, percent of persons age 25 years+,
                                                                                                         17.7%                       33.9%                         16.6%                        18.1%                       38.4%
               2013-2017

              Health
              With a disability, under age 65 years, percent, 2013-2017                                  11.4%                        7.7%                         11.4%                         9.7%                        7.3%
              Persons without health insurance, under age 65 years, percent                          •    9.0%               •       11.4%                •        12.2%                •       17.7%                  •     6.2%

              Economy
              In civilian labor force, total, percent of population age 16
                                                                                                         64.3%                       63.6%                         61.5%                        67.8%                       66.5%
              years+, 2013-2017
              In civilian labor force, female, percent of population age 16
                                                                                                         60.4%                       62.9%                         59.9%                        64.6%                       62.2%
              years+, 2013-2017
              Total accommodation and food services sales, 2012 ($1,000)                                     0                   284,434                       297,188                      148,380                9,542,068
                 (c)
                  Case 3:18-cv-00705-VLB Document 112-72,797,865
                                                             Filed 11/11/19
Total health care and social assistance receipts/revenue, 2012
($1,000) (c)
                                              0                        3,284,296 Page 118    of 155
                                                                                       1,689,954                           29,573,119

Total manufacturers shipments, 2012 ($1,000) (c)                          0        510,508       207,614   1,063,279       55,160,095
Total merchant wholesaler sales, 2012 ($1,000) (c)                        0             D    1,317,678               D    161,962,244
Total retail sales, 2012 ($1,000) (c)                                     0        835,591   1,813,725         900,700     51,632,467
Total retail sales per capita, 2012 (c)                                  NA         $6,391       $14,522        $6,151          $14,381

Transportation
Mean travel time to work (minutes), workers age 16 years+,
                                                                        18.7          22.9          23.0          28.4              26.0
2013-2017

Income & Poverty
Median household income (in 2017 dollars), 2013-2017                 $33,564       $39,191       $33,841       $44,841          $73,781
Per capita income in past 12 months (in 2017 dollars), 2013-
                                                                     $16,372       $24,688       $19,220       $22,806          $41,365
2017
Persons in poverty, percent                                      •    29.9%    •    25.6%    •    30.5%    •     20.8%      •     10.4%

      BUSINESSES

Businesses
Total employer establishments, 2016                                       X             X             X              X          89,4161
Total employment, 2016                                                    X             X             X              X     1,533,8791
Total annual payroll, 2016 ($1,000)                                       X             X             X              X    94,658,6471
Total employment, percent change, 2015-2016                               X             X             X              X            2.0%1
Total nonemployer establishments, 2017                                    X             X             X              X          281,453
All firms, 2012                                                           F          8,976         7,841        10,452          326,693
Men-owned firms, 2012                                                     F          4,614         3,619         5,149          187,845
Women-owned firms, 2012                                                   F          3,261         3,224         4,352          106,678
Minority-owned firms, 2012                                                F          3,343         4,376         5,505           56,113
Nonminority-owned firms, 2012                                             F          5,060         2,795         4,349          259,614
Veteran-owned firms, 2012                                                 F           791            521           692           31,056
Nonveteran-owned firms, 2012                                              F          7,589         6,557         9,152          281,182

      GEOGRAPHY

Geography
Populafion per square mile, 2010                                     4,033.0       6,947.9       7,178.8        9,029.0           738.1
Land area in square miles, 2010                                         4.40         18.68         17.38         15.97          4,842.36
FIPS Code                                                            0985810       0952000       0937000       0908000               09
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About datasets used in this table

Value Notes
          1. Includes data not distributed by county.

6   Estimates are not comparable to other geographic levels due to methodology differences that may exist between different data sources.

Some estimates presented here come from sample data, and thus have sampling errors that may render some apparent differences between geographies statistically indistinguishable. Click the Quick Info 0 icon to the left of each
row in TABLE view to learn about sampling error.

The vintage year (e.g., V2018) refers to the final year of the series (2010 thru 2018). Different vintage years of estimates are not comparable.

Fact Notes
             (a)   Includes persons reporting only one race
             (b)   Hispanics may be of any race, so also am induded in applicable race categories
             (c)   Economic Census - Puerto Rico data am not comparable to U.S. Economic Census data

Value Flags
           -    Either no or too few sample observations were available to compute an estimate, or a ratio of medians cannot be calculated because one or both of the median estimates falls in the lowest or upper interval of an
           open ended distribution.
           D    Suppressed to avoid disclosure of confidential information
           F    Fewer than 25 firms
           FN Footnote on this item in place of data
           NA Not available
           S    Suppressed; does not meet publication standards
           X    Not applicable
           Z    Value greater than zero but less than half unit of measure shown

QuickFacts data are derived from: Population Estimates, American Community Survey, Census of Population and Housing, Current Population Survey, Small Area Health Insurance Estimates, Small Area Income and Poverty
Estimates, State and County Housing Unit Estimates, County Business Patterns, Nonemployer Statistics, Economic Census, Survey of Business Owners, Building Permits.




                            ABOUT US                       FIND DATA                          BUSINESS & INDUSTRY                PEOPLE & HOUSEHOLDS                SPECIAL TOPICS                NEWSROOM
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                                                                                                                                                                    Statistics in Schools
                            Directors Corner               2010 Census                        Economic Census                    American Community                                               Facts for Features
                                                                                                                                 Survey                             Tribal Resources (AIAN)
                            Regional Offices               Economic Census                    E-Stats                                                                                             Stets for Stories
                                                                                                                                 Income                             Emergency Preparedness
                            History                        Interactive Maps                   International Trade                                                                                 Slogs
                                                           Training & Workshops                                                  Poverty                            Statistical Abstract
                            Research                                                          Export Codes
                                                                                                                                 Population Estimates               Spada! Census Program
                            Scientific integrity           Data Tools                         NAICS
                                                                                                                                 Population Projections             Data Linkage Infrastructure
                            Census Careers                 Developers                         Governments
                            Diversity @ Census             Catalogs                           Longitudinal Employer-             Health Insurance                   Fraudulent Activity & Scams

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                            Congressional and
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U.S. Department of Justice
Office of Justice Programs
Bureau of Justice Statistics

MAY 2018
                                              Special Report                                                                 NCJ 250975


       2018 Update on Prisoner Recidivism:
      A 9-Year Follow-up Period (2005-2014)
Mariel Alper, Ph.D., and Matthew R. Durose, BJS Statisticians
Joshua Markman, former BJS Statistician




F
      ive in 6 (83%) state prisoners released in 2005         FIGURE 1
      across 30 states were arrested at least once during     Annual arrest percentage of prisoners released in
      the 9 years following their release. Te remaining       30 states in 2005
17% were not arrested afer release during the 9-year
                                                              Percent of released prisoners
follow-up period.                                             50
About 4 in 9 (44%) prisoners released in 2005 were
arrested at least once during their frst year afer release    40
(fgure 1). About 1 in 3 (34%) were arrested during
their third year afer release, and nearly 1 in 4 (24%)        30
were arrested during their ninth year.

Tis report examines the post-release ofending                 20
patterns of former prisoners and their involvement
in criminal activity both within and outside of the           10
state where they were imprisoned. Te Bureau of
Justice Statistics analyzed the ofending patterns of           0
67,966 prisoners who were randomly sampled to                        1st   2nd     3rd    4th 5th 6th             7th     8th    9th
                                                                                          Year after release
represent the 401,288 state prisoners released in 2005
                                                              Note: The denominator for annual percent is 401,288 (total state
in 30 states. Tis sample is representative of the 30          prisoners released in 30 states in 2005). See table 5 for estimates and
states, both individually and collectively, included in       appendix table 7 standard errors.
the study (see Methodology). In 2005, these 30 states         Source: Bureau of Justice Statistics, Recidivism of State Prisoners
                                                              Released in 2005 data collection, 2005–2014.


                                                       HIGHLIGHTS
     The 401,288 state prisoners released in 2005 had an         Forty-four percent of released prisoners were arrested
      estimated 1,994,000 arrests during the 9-year period,        during the frst year following release, while 24% were
      an average of 5 arrests per released prisoner. Sixty         arrested during year-9.
      percent of these arrests occurred during years 4            Eighty-two percent of prisoners arrested during the
      through 9.                                                   9-year period were arrested within the frst 3 years.
     An estimated 68% of released prisoners were arrested        Five percent of prisoners were arrested during the frst
      within 3 years, 79% within 6 years, and 83% within           year after release and not arrested again during the
      9 years.                                                     9-year follow-up period.
     Almost half (47%) of prisoners who did not have an          During each year and cumulatively in the 9-year
      arrest within 3 years of release were arrested during        follow-up period, released property ofenders were more
      years 4 through 9.                                           likely to be arrested than released violent ofenders.
     More than three-quarters (77%) of released drug             Eight percent of prisoners arrested during the frst
      ofenders were arrested for a non-drug crime within           year after release were arrested outside the state that
      9 years.                                                     released them, compared to 14% of prisoners arrested
                                                                   during year-9.



                                                                                                           ARROYO001396     BIS
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were responsible for 77% of all persons released from
                                                                        TABLE 1
state prisons nationwide. Te fndings are based on
                                                                        Characteristics of prisoners released in 30 states
prisoner records obtained from the state departments                    in 2005
of corrections through BJS’s National Corrections
                                                                        Characteristic                                            Percent
Reporting Program and criminal history records                           All released prisoners                                    100%
obtained through requests to the FBI’s Interstate                       Sex
Identifcation Index and state repositories via the                       Male                                                      89.3%
International Justice and Public Safety Network (Nlets).                 Female                                                    10.7
                                                                        Race/Hispanic origina
BJS frst collected the criminal history records of this                  White                                                     39.7%
same sample of prisoners to analyze their recidivism                     Black/African American                                    40.1
patterns for 5 years following release.1 In 2015, BJS                    Hispanic/Latino                                           17.7
                                                                         Otherb                                                     2.4
re-collected the criminal history records on the same                      America Indian or Alaska Native                          1.2
sample of prisoners to extend the original 5-year                          Asian, Native Hawaiian, or Other Pacifc Islander         0.8
follow-up period to 9 years. Tis report presents the                    Age at release
ofending patterns for the full 9-year period. Both                       24 or younger                                             17.7%
studies excluded prisoners who died during the                           25–29                                                     19.4
respective follow-up periods. Because additional                         30–34                                                     16.0
                                                                         35–39                                                     15.7
individuals in the sample died during the 9-year                         40 or older                                               31.2
follow-up period, the overall universe of released                      Most serious commitment ofense
prisoners declined from 404,638 during the 5-year                        Violent                                                   25.7%
follow-up study to 401,288 during the 9-year follow-up                   Property                                                  29.7
study. Since those 3,350 prisoners were not included                     Drug                                                      31.9
in this longer study, recidivism estimates on the frst                   Public orderc                                             12.7
5 years following release in this report may difer                      Number of released prisoners                             401,288
                                                                        Note: Data on prisoners’ sex and age at release were known for 100% of
slightly from previously published estimates on the                     cases and race and Hispanic origin for nearly 100%. Detail may not sum
2005 release cohort.                                                    to total due to rounding. See appendix table 2 for standard errors.
                                                                        aExcludes persons of Hispanic or Latino origin, unless specifed.
                                                                        bIncludes persons of two or more races or other unspecifed races.
About 1 in 4 state prisoners released in the 30 states
                                                                        cIncludes 0.8% of cases in which the prisoner’s most serious ofense was
in 2005 were in prison for a violent ofense
                                                                        unspecifed.
                                                                        Source: Bureau of Justice Statistics, Recidivism of State Prisoners
Among the 401,288 prisoners released in 30 states in                    Released in 2005 data collection, 2005–2014.
2005, an estimated 9 in 10 (89%) were male (table 1).
Eighteen percent were age 24 or younger at time of
release, 51% were ages 25 to 39, and 31% were age 40
or older. Te percentage of non-Hispanic black and
non-Hispanic white prisoners were similar (40% each).
Tirty-two percent of released prisoners were in prison
for a drug ofense, compared to 30% who were in
prison for a property ofense, 26% for a violent ofense,
and 13% for a public order ofense.
1SeeRecidivism of Prisoners Released in 30 States in 2005: Patterns
from 2005 to 2010, NCJ 244205, BJS web, April 2014.




2018 UPDATE ON PRISONER RECIDIVISM: A 9-YEAR FOLLOW-UP PERIOD (2005-2014) | MAY 2018                                ARROYO001397             2
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  Measuring recidivism
  Recidivism measures require three characteristics:                          period. The denominator for each percentage
  1.   a starting event, such as a release from prison                        from years 1 through 9 is the total number of
                                                                              prisoners released in the 30 states during 2005. The
  2.   a measure of failure following the starting event,                     numerators are the number of prisoners arrested
       such as a subsequent arrest, conviction, or return to                  during the particular year, regardless of whether
       prison                                                                 they had been arrested during a prior year.
  3.   an observation or follow-up period that generally                 4.   Annual volume of arrests is the total number of
       extends from the date of the starting event to                         arrests of released prisoners during a particular
       a predefned end date (e.g., 6 months, 1 year,                          year in the follow-up period. The total volume of
       3 years, 5 years, or 9 years).                                         arrests is the sum of each annual volume of arrests
  This study used four outcome measures to examine the                        during the entire follow-up period. A prisoner may
  recidivism patterns of former state prisoners. Arrest data                  have had multiple arrests during a year or in the
  were used because they provided the ofense details                          follow-up period, and a single arrest may have
  needed to produce these four measures for prisoners                         involved charges for more than one crime.
  from all 30 states in the study.
  1.   Cumulative arrest percentage is the percentage of
                                                                         Measuring desistance
       prisoners who had been arrested at least once at                  Desistance is measured as the percentage of prisoners
       various points in the follow-up period. For example,              who, after a particular year, had no subsequent arrests
       the cumulative arrest percentage for year-5 is                    during the remainder of the 9-year follow-up period.
       the percentage of all released prisoners who had                  For example, if a prisoner was arrested during year-3
       at least one arrest during the 5-year period. BJS                 but was not arrested during years 4 through 9, the
       previously examined the cumulative percentage                     prisoner would be classifed as having desisted during
       of prisoners who had a subsequent conviction                      year-3. While recidivism is a measure of arrest at any
       or returned to prison within 5 years following                    point during the follow-up period, desistance is a
       release.2 The return-to-prison analysis for the 5-year            measure of the absence of arrest between a particular
       follow-up study was limited to 23 of the study’s 30               point within the follow-up period and the end of the
       states with the data needed to identify returns to                follow-up period.
       prison during the entire observation period.

  2.   Annual percentage of frst arrests is the percentage               Importance of recidivism and
       of prisoners who had their frst arrest following                  desistance measures
       release during a specifc year in the follow-up
       period. The denominator for each annual frst-arrest               Measures of recidivism and desistance provide
       percentage from years 1 through 9 is the total                    information relevant to a deeper understanding of
       number of prisoners released in the 30 states                     criminal behavior and the administration of justice
       during 2005. The numerators are the number of                     in a wide range of policy areas. For example, law
       prisoners arrested for the frst time during each of               enforcement ofcials interested in the amount of
       those years (i.e., they had not been arrested during              crime committed by released prisoners can turn to
       a prior year in the follow-up period). The sum of the             statistics on the annual volume of arrests. Parole and
       annual frst-arrest percentages during a follow-up                 probation agencies interested in the involvement of
       period equals the cumulative arrest percentage for                various types of former prisoners in criminal activities
       the same period.                                                  after release may focus on variations in cumulative
                                                                         arrest percentages. Treatment providers looking for
  3.   Annual arrest percentage of released prisoners                    measures of program efectiveness will be interested
       includes those who were arrested at least once                    in desistance patterns. Additionally, task forces and
       during a particular year within the follow-up                     policymakers examining the movement of criminals
                                                                         across state borders will be interested in the types of
  2See Recidivism of Prisoners Released in 30 States in 2005: Patterns
                                                                         released prisoners most likely to commit new crimes
  from 2005 to 2010, NCJ 244205, BJS web, April 2014.                    (i.e., recidivate) in other states.




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Extending the follow-up period from
                                                                               FIGURE 2
3 to 9 years increased recidivism of prisoners
                                                                               Percent of prisoners released in 30 states in 2005 who
by 15 percentage points                                                        were arrested since release, by year after release
Te cumulative arrest percentage among released                                 Percent of released prisoners
prisoners increased 15 percentage points when the                              100
follow-up period was extended from 3 years to 9 years.
Sixty-eight percent of prisoners had been arrested                              80
for a new crime 3 years afer release, while 79% of
prisoners were arrested afer 6 years following release
                                                                                60
(table 2). At the end of the 9-year follow-up period, the
percentage of prisoners arrested afer release increased
to 83% (fgure 2).                                                               40

Te cumulative out-of-state arrest percentage among
                                                                                20
released prisoners doubled when the follow-up period
was extended from 3 years to 9 years. Tree years afer
release, 7.7% of prisoners had been arrested outside                             0
                                                                                      1st    2nd      3rd      4th 5th 6th            7th   8th   9th
the state of release. At the end of the 9-year follow-up                                                         Year after release
period, the percentage of prisoners arrested outside of
the state of release increased to 15.4%.                                       Note: See table 2 for estimates and appendix table 3 for standard errors.
                                                                               Source: Bureau of Justice Statistics, Recidivism of State Prisoners
                                                                               Released in 2005 data collection, 2005–2014.


TABLE 2
Cumulative percent of prisoners released in 30 states in 2005 who were arrested within or outside the state of
release, by year after release
                                        Within or outside the state of release                                 Outside the state of release*
Year after release              Total        Percent arrested Percent not arrested                 Total        Percent arrested Percent not arrested
1                               100%               43.9%                 56.1%                     100%                 3.3%                 96.7%
2                               100%               60.1                  39.9                      100%                 5.7                  94.3
3                               100%               68.4                  31.6                      100%                 7.7                  92.3
4                               100%               73.5                  26.5                      100%                 9.3                  90.7
5                               100%               77.0                  23.0                      100%               10.9                   89.1
6                               100%               79.4                  20.6                      100%               12.2                   87.8
7                               100%               81.1                  18.9                      100%               13.4                   86.6
8                               100%               82.4                  17.6                      100%               14.4                   85.6
9                               100%               83.4                  16.6                      100%               15.4                   84.6
Note: Detail may not sum to total due to rounding. See appendix table 3 for standard errors.
*Prisoners arrested outside the state of release could have also been arrested within the state of release.
Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.




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Forty-four percent of prisoners released in 2005                           Longer follow-up periods show substantial
were arrested during the frst year following release                       declines in apparent desistance
(fgure 3). Sixteen percent of released prisoners were
arrested for the frst time during the second year afer                     Tis study examined the extent to which released
release, and 8% were arrested for the frst time during                     prisoners appeared to have desisted from criminal
the third year. Fifeen percent of released prisoners                       activity using various follow-up periods. Tirty-two
were arrested for the frst time during years 4 through                     percent of released prisoners had not been arrested
9, including 11% arrested for the frst time during years                   within 3 years, compared to 21% within 6 years
4 through 6 and 4% arrested for the frst time during                       (fgure 4). Within 9 years following release in 2005, the
years 7 through 9.                                                         percentage of prisoners without a new arrest following
                                                                           release declined to 17%. Tat is, almost half (47%) of
Of the released prisoners who were arrested for a new                      prisoners with no arrest within 3 years of release had
crime during the 9-year follow-up period, the majority                     an arrest during years 4 through 9.
of the prisoners’ frst post-release arrests occurred
during the frst 3 years of the follow-up period. More                      FIGURE 4
than half (53%) of all prisoners released in the 30 states                 Percent of prisoners released in 30 states in 2005 who
in 2005 who were arrested during the 9-year follow-up                      were not arrested since release, by year following release
period were arrested for the frst time during the frst                     Percent of released prisoners
year (not shown). Among all released prisoners arrested                    60
within 9 years, about 5 in 6 prisoners (82%) were
arrested within the 3-year follow-up period (not shown).                   50

FIGURE 3                                                                   40
Percent of prisoners released in 30 states in 2005 who
were arrested after release, by year of frst arrest                        30
Percent of released prisoners
                                                                           20
50
                                                                           10
40
                                                                            0
30                                                                              1st    2nd     3rd     4th 5th 6th           7th    8th     9th
                                                                                                       Year after release
                                                                           Note: See table 2 for estimates and appendix table 3 for standard errors.
20
                                                                           Source: Bureau of Justice Statistics, Recidivism of State Prisoners
                                                                           Released in 2005 data collection, 2005–2014.
10

 0
     1st     2nd
                   I • . - _
                     3rd     4th 5th 6th            7th     8th    9th
                              Year of ÿrst arrest
Note: The denominator for the annual percentage was 401,288 (total
state prisoners released in 30 states in 2005). See appendix table 4 for
estimates and standard errors.
Source: Bureau of Justice Statistics, Recidivism of State Prisoners
Released in 2005 data collection, 2005–2014.




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After year-1 the annual percentages of males and
                                                                              FIGURE 5
females arrested for the frst time were similar                               Percent of prisoners released in 30 states in 2005 who
Te diference in the percentage of male and female                             were arrested following release, by sex of prisoner and
                                                                              year of frst arrest
prisoners who were arrested for the frst time each
year following release narrowed afer the frst year.                           Percent of released prisoners
In the frst year afer release, 45% of male prisoners                          50
were arrested, compared to 35% of female prisoners
(fgure 5). However, during each of the following years,                       40
the percentages of males and females arrested for the                                        Male
frst time following release were similar. During the
                                                                              30
9-year follow-up period, 84% of male prisoners were
arrested and 77% of female prisoners were arrested.
                                                                              20
A smaller percentage of white prisoners than black                                      Female
or Hispanic prisoners recidivated during the frst
                                                                              10
year afer release. During the frst year afer release,
40% of white prisoners were arrested for the frst
time, compared to 47% of Hispanic and 46% of                                   0
                                                                                      1st     2nd    3rd      4th 5th 6th             7th         8th   9th
black prisoners (table 3). During year-2 afer release,                                                         Year of ÿrst arrest
16% of white prisoners were arrested for the frst
                                                                              Note: See table 3 for estimates and appendix table 5 for standard errors.
time, compared to 17% of black and 14% of Hispanic                            Source: Bureau of Justice Statistics, Recidivism of State Prisoners
prisoners. During the ninth year afer release, about                          Released in 2005 data collection, 2005–2014.
1% of each sex, race, Hispanic origin, and age group
were arrested for the frst time. During the 9-year
follow-up period, 87% of black prisoners and 81% of
white and Hispanic prisoners were arrested.

TABLE 3
Percent of prisoners released in 30 states in 2005 who were arrested after release, by prisoner characteristics and
year of frst arrest
                                    Total arrested
Characteristic                      within 9 years     Year 1     Year 2     Year 3         Year 4   Year 5       Year 6     Year 7         Year 8      Year 9
 All released prisoners                83.4%           43.9%      16.2%       8.3%           5.1%     3.5%         2.3%       1.7%           1.3%       1.0%
Sex
 Male                                  84.2%           44.9%      16.3%       8.3%           5.1%     3.4%         2.3%        1.7%         1.3%        0.9%
 Female                                76.8            35.1       15.7        8.5            5.5      4.2          2.5         2.2          1.7         1.4
Age at release
 24 or younger                         90.1%           51.8%      17.0%       7.7%           4.8%     3.4%         2.0%        1.7%         1.0%        0.7%
 25–39                                 85.3            44.9       16.7        8.6            5.2      3.6          2.3         1.7          1.4         0.9
   25–29                               87.0            45.9       16.8        8.8            5.5      3.8          2.5         1.5          1.3         0.9
   30–34                               84.3            43.9       16.5        8.2            5.3      3.5          2.3         1.9          1.7         1.0
   35–39                               84.3            44.6       16.8        8.7            4.9      3.4          2.2         1.7          1.2         0.9
 40 or older                           76.5            37.8       15.1        8.1            5.1      3.5          2.5         1.9          1.4         1.2
Race/Hispanic origina
 White                                 80.9%           40.2%      15.8%       8.4%           5.2%     3.8%         2.6%        2.2%         1.5%        1.2%
 Black/African American                86.9            46.0       17.4        8.6            5.5      3.4          2.3         1.6          1.2         0.9
 Hispanic/Latino                       81.3            47.3       14.3        7.2            4.2      3.1          2.2         0.9          1.3         0.7
 Otherb                                82.4            44.1       16.4        8.8            4.5      3.0          1.3         2.1          1.3         1.1
   American Indian or Alaska Native    85.0            43.5       16.3        9.5            4.8      3.6          1.6         2.7          1.6         1.4
   Asian, Native Hawaiian, or Other
     Pacifc Islander                   79.4            45.0       16.0        8.3            4.0      1.3          1.3         1.3          1.2         1.0
Note: Data on prisoners’ sex and age at release were known for 100% of cases and race and Hispanic origin for nearly 100%. Detail may not sum to total
due to rounding. See appendix table 5 for standard errors.
aExcludes persons of Hispanic or Latino origin, unless specifed.
bIncludes persons of two or more races or other unspecifed races.

Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.




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Te diference in the percentage of prisoners in each                         Prisoners released in 30 states in 2005 were
age group who were arrested for the frst time each year                     arrested nearly 2 million times during the 9 years
following release narrowed afer the frst year. During                       following release
the frst year afer release, 52% of prisoners age 24 or
younger at time of release were arrested, compared to                       Te 401,288 state prisoners released in 2005 had an
38% of prisoners age 40 or older (fgure 6). During                          estimated 1,994,000 arrests during the 9-year period,
the second year, an estimated 17% of prisoners age 24                       an average of 5 arrests per released prisoner (table 4).
or younger were arrested for the frst time following                        Extending the follow-up period to 9 years captured
release, compared to 15% of prisoners age 40 or older.                      more than double the number of post-release arrests
During the 9-year follow-up period, 90% of prisoners                        observed in a 3-year follow-up period and increased
age 24 or younger at release were arrested, 77% of                          the number of arrests observed during a 5-year
prisoners age 40 or older at release were arrested,                         follow-up period by 38%. Six in 10 (60%) of the
and 43% (not shown) of prisoners age 60 or older                            1,994,000 arrests during the 9-year period occurred
were arrested.                                                              from years 4 through 9.
                                                                            An estimated 23% of released prisoners were
FIGURE 6                                                                    responsible for half of the nearly 1,994,000 arrests
Percent of prisoners released in 30 states in 2005 who                      that occurred during the 9-year follow-up period
were arrested after release, by age at release and year
                                                                            (not shown). A similar percentage of prisoners were
of frst arrest
                                                                            responsible for half of the arrests during the 3-year
Percent of released prisoners                                               follow-up period (also 23%) (not shown).
60

50                                                                          TABLE 4
             24 or younger                                                  Post-release arrests of prisoners released in 30 states in
40
                                                                            2005, by year after arrest
              25–39                                                                                                      Cumulative      Cumulative
                                                                                         Number of      Percent of       number of all   percent of all
30                                                                          Year after   arrests during arrests during   arrests since   arrests since
                                                                            arrest       year/period year/period         release         release
20                                                                           Total        1,994,000         100%                  ~             ~
                                                                            Years 1–3       804,000        40.3%                  ~             ~
     40 or older
10                                                                           1              306,000        15.4            306,000           15.4
                                                                             2              260,000        13.0            567,000           28.4
 0                                                                 F-        3              238,000        11.9            804,000           40.3
      1st     2nd     3rd    4th 5th 6th             7th   8th    9th       Years 4–6       620,000        31.1%                  ~             ~
                               Year of ÿrst arrest                           4              219,000        11.0          1,024,000           51.3
Note: See table 3 for estimates and appendix table 5 for standard errors.    5              210,000        10.6          1,234,000           61.9
Source: Bureau of Justice Statistics, Recidivism of State Prisoners          6              190,000          9.6         1,425,000           71.4
Released in 2005 data collection, 2005–2014.                                Years 7–9       570,000        28.6%                  ~             ~
                                                                             7              196,000          9.8         1,620,000           81.2
                                                                             8              194,000          9.7         1,814,000           91.0
                                                                             9              180,000          9.0         1,994,000            100
                                                                            Note: Number of post-release arrests was rounded to the nearest 1,000.
                                                                            Detail may not sum to total due to rounding. See appendix table 6 for
                                                                            standard errors.
                                                                            ~Not applicable.
                                                                            Source: Bureau of Justice Statistics, Recidivism of State Prisoners
                                                                            Released in 2005 data collection, 2005–2014.




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Male and younger prisoners were more likely to be
                                                                               FIGURE 7
arrested each year than female and older prisoners                             Annual arrest percentage of prisoners released in
Patterns of the annual arrest percentages difer from                           30 states in 2005, by sex of prisoner
patterns of the year of frst arrest. Tirty-four percent                        Percent of released prisoners
of all released prisoners were arrested during their                           50
third year afer release, compared to 24% during
their ninth year (table 5). Nearly a quarter (24%)                             40
of the released prisoners who were arrested during
year-3 had not previously been arrested following                                                                       Male
release (not shown). Four percent of the released                              30
prisoners who were arrested during year-9 had not                                                               Female
previously been arrested following release (not shown).                        20

Forty-fve percent of male prisoners were arrested
                                                                               10
during the frst year afer release, compared to
35% of female prisoners (fgure 7). During year-9, the
diference between males and females narrowed with                                0
                                                                                     1st      2nd      3rd   4th 5th 6th                7th      8th   9th
24% of male prisoners arrested compared to 21% of                                                              Year after release
female prisoners. While the diference in percentage
                                                                               Note: See table 5 for estimates and appendix table 7 for standard errors.
                                                                               Source: Bureau of Justice Statistics, Recidivism of State Prisoners
                                                                               Released in 2005 data collection, 2005–2014.


TABLE 5
Annual arrest percentage of prisoners released in 30 states in 2005, by prisoner characteristics
Characteristic                                  Year 1      Year 2      Year 3       Year 4         Year 5     Year 6          Year 7     Year 8       Year 9
 All released prisoners                         43.9%       37.7%       34.3%        31.9%          30.1%      28.0%           27.4%      25.9%        24.0%
Sex
 Male                                           44.9%       38.2%       34.7%        32.3%          30.5%      28.4%           27.8%      26.4%        24.3%
 Female                                         35.1        33.2        30.7         28.0           26.6       24.3            23.8       21.9         21.3
Age at release
 24 or younger                                  51.8%       42.3%       36.7%        34.4%          34.3%      31.3%           31.9%      30.3%        27.6%
 25–39                                          44.9        38.9        35.7         33.4           31.1       29.3            28.9       27.5         25.6
   25–29                                        45.9        39.2        36.3         33.2           31.7       30.3            29.3       28.3         26.4
   30–34                                        43.9        38.1        34.4         32.8           30.3       28.2            28.1       27.2         24.1
   35–39                                        44.6        39.3        36.3         34.1           31.3       29.3            29.4       27.1         26.1
 40 or older                                    37.8        33.1        30.5         28.1           25.9       23.8            22.2       20.7         19.4
Race/Hispanic origina
 White                                          40.2%       35.0%       32.2%        29.9%          28.7%      26.8%           26.2%      25.0%        22.9%
 Black/African American                         46.0        40.6        36.5         34.1           31.9       29.5            29.1       27.3         25.3
 Hispanic/Latino                                47.3        36.9        33.6         31.4           29.3       26.8            25.7       24.0         23.4
 Otherb                                         44.1        37.8        35.3         32.0           27.8       28.7            29.9       29.2         24.6
   American Indian or Alaska Native             43.5        37.8        38.8         32.3           29.9       31.3            34.7       31.0         26.0
   Asian, Native Hawaiian, or Other
     Pacifc Islander                            45.0        39.1        29.7         31.3           25.2       25.4            26.2       27.5         21.2
Note: Data on prisoners’ sex and age at release were known for 100% of cases, and race and Hispanic origin were known for nearly 100% of cases. See
appendix table 7 for standard errors.
aExcludes persons of Hispanic or Latino origin, unless specifed.
bIncludes persons of two or more races or other specifed races.

Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.




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points narrowed from 10% during year-1 to 3%                                During the 9 years after release, prisoners
during year-9, the diference between male and female                        released for a property ofense were most likely
prisoners decreased proportionally. During year-1,                          to be arrested
the percentage of female prisoners who were arrested
following release was 78% of that for male prisoners,                       During the frst year following release, the percentage
while during year-9 the percentage of female prisoners                      of prisoners released for a property ofense who were
was 87% of that for male prisoners (not shown).                             arrested for any type of ofense (including violent,
                                                                            property, drug, or public order ofenses) was higher
Younger prisoners (those age 24 or younger) were                            than the percentage of prisoners released for a drug or
more likely to be arrested than older prisoners                             violent ofense. Tis general pattern was maintained
(those age 40 or older) during each year following                          across the 9-year follow-up period. It should be noted
release. For example, 28% of prisoners released at age                      that persons could have been serving time in prison
24 or younger were arrested during year-9, compared                         for more than one ofense and were categorized for
to 19% of those age 40 or older (fgure 8).                                  this report by the most serious ofense for which they
                                                                            were imprisoned: a violent, property, drug, or public
                                                                            order crime.

FIGURE 8                                                                    FIGURE 9
Annual arrest percentage of prisoners released in                           Annual percentage of prisoners released in 30 states
30 states in 2005, by age of prisoner at release                            in 2005 who were arrested for any type of ofense, by
Percent of released prisoners
                                                                            most serious commitment ofense
60                                                                          Percent of released prisoners arrested*
                                                                            60
50
                                                                            50                                            Most serious o˜ense for
40                                                                                                                        which they were in prison
                                24 or younger                                              Property
                                                                            40
30                                                                                                      Drug
                            40 or older           25–39
                                                                            30
20                                                                                               Public order         Violent
                                                                            20
10
                                                                            10
 0
     1st    2nd     3rd     4th 5th 6th           7th     8th    9th
                              Year of arrest                                 0
                                                                                  1st    2nd    3rd     4th 5th 6th             7th     8th       9th
Note: See table 5 for estimates and appendix table 7 for standard errors.                                 Year of arrest
Source: Bureau of Justice Statistics, Recidivism of State Prisoners
Released in 2005 data collection, 2005–2014.                                Note: Public order includes 0.8% of cases in which prisoners’ most
                                                                            serious ofense was unspecifed. See table 6 for estimates and
                                                                            appendix table 8 for standard errors.
                                                                            *Persons could have been in prison for more than one ofense; the
                                                                            most serious one is reported in this fgure.
                                                                            Source: Bureau of Justice Statistics, Recidivism of State Prisoners
                                                                            Released in 2005 data collection, 2005–2014.




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Tirty-nine percent of prisoners released in 2005 who                           for a violent ofense and 28% for those released for
were serving time for a violent ofense were arrested                           a property ofense. However, similar to year-1, the
for any type of ofense during the frst year following                          percentage of prisoners released for a violent ofense
release, compared to 51% of those released afer serving                        who were arrested following release was about
time for a property ofense (table 6, fgure 9). By                              three-quarters of the percentage for those released for a
year-9 these percentages fell to 21% for those released                        property ofense.

TABLE 6
Annual arrest percentage of prisoners released in 30 states in 2005, by most serious commitment ofense and type
of post-release arrest ofense
Most serious commitment ofense                          Year 1     Year 2     Year 3    Year 4      Year 5      Year 6      Year 7     Year 8      Year 9
Any arrest after release
  All released prisoners                                43.9%       37.7%     34.3%      31.9%       30.1%      28.0%       27.4%       25.9%      24.0%
    Violent*                                            38.9        33.7      30.4       28.1        27.2       25.0        25.2        24.1       21.4
    Property                                            50.8 †      41.6 †    38.3 †     36.5 †      33.2 †     31.3 †      30.6 †      29.3 †     27.6 †
    Drug                                                42.8 †      38.5 †    34.9 †     31.8 †      30.2 †     27.6 †      26.7 †      25.0       23.4 †
    Public order                                        40.5        34.3      31.2       28.9        28.0       27.0 †      25.8        23.8       22.5
Violent arrest after release
  All released prisoners                                 9.0%        8.3%      7.6%       7.6%        7.2%       6.5%        6.6%        6.0%       5.2%
    Violent*                                            11.0        10.2       8.4        8.8         8.9        6.8         6.9         6.5        5.8
    Property                                             9.3 †       7.8 †     7.7        7.8 †       6.9 †      7.1         7.2         6.2        5.7
    Drug                                                 6.8 †       7.2 †     6.7 †      6.2 †       6.2 †      5.3 †       5.7 †       5.4 †      4.4 †
    Public order                                         9.7         8.6 †     8.3        8.1         7.3 †      7.2         6.6         6.4        5.3
Arrest after release for same type as most serious
  commitment ofensea
  All released prisoners                                21.0%       18.0%     15.6%      14.5%       13.7%      12.2%       11.8%       11.5%      10.6%
    Violent                                             11.0        10.2       8.4        8.8         8.9        6.8         6.9         6.5        5.8
    Property                                            25.0        20.6      17.6       16.9        15.6       14.2        14.1        13.9       12.6
    Drug                                                22.0        19.6      17.2       15.0        13.8       12.2        11.5        11.4       11.0
    Public order                                        29.2        23.8      21.1       19.2        18.4       18.2        17.0        16.0       14.5
Arrested after release for diferent type of ofense
  than most serious commitment ofenseb
  All released prisoners                                36.1%       30.9%     28.0%      26.3%       24.6%      23.1%       22.8%       21.5%      20.0%
    Violent                                             35.2        30.4      27.6       25.1        23.9       22.7        22.8        22.0       19.5
    Property                                            42.4        34.4      31.6       30.6        27.6       26.0        25.6        24.1       23.0
    Drug                                                34.8        31.3      27.9       26.0        24.6       22.7        22.2        20.7       19.1
    Public order                                        26.3        22.6      20.7       19.8        18.7       17.9        18.0        16.6       16.0
Note: Persons could have been in prison for more than one ofense; the most serious one is reported in this table. Each arrest may include more than
one type of ofense. ‘Type of ofense’ refers to the categories of violent, property, drug, and public order. Public order includes 0.8% of cases in which
prisoners’ most serious ofense was unspecifed. See appendix table 8 for standard errors.
*Comparison group.
†Diference with comparison group is signifcant at the 95% confdence level.
a,bPercentages in these two categories do not sum to the ‘any arrest after release’ category because categories overlap.

Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.




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At the end of the 9-year follow-up period, 79% of                              any type of crime than prisoners released for a property
prisoners released for a violent ofense had been arrested                      (88%) or drug (84%) ofense but were more likely to
for any type of crime (table 7). Prisoners released for a                      have been arrested for a violent ofense.
violent ofense were less likely to have been arrested for

TABLE 7
Cumulative percent of prisoners released in 30 states in 2005 who were arrested following release, by most serious
commitment ofense and type of post-release arrest ofense
Most serious commitment ofense                          Year 1     Year 2     Year 3    Year 4      Year 5      Year 6     Year 7      Year 8     Year 9
Any arrest after release
  All released prisoners                                43.9%      60.1%      68.4%      73.5%       77.0%      79.4%       81.1%       82.4%      83.4%
    Violent*                                            38.9       54.2       62.2       67.6        71.6       74.2        76.1        77.7       78.7
    Property                                            50.8 †     67.1 †     75.0 †     79.6 †      82.4 †     84.4 †      85.8 †      86.9 †     87.8 †
    Drug                                                42.8 †     59.9 †     68.6 †     73.9 †      77.5 †     79.8 †      81.5 †      82.7 †     83.8 †
    Public order                                        40.5       55.9       65.0 †     70.2 †      74.1 †     76.9 †      79.2 †      80.6 †     81.9 †
Violent arrest after release
  All released prisoners                                 9.0%      15.8%      20.9%      25.4%       29.3%      32.3%       35.0%       37.3%      39.1%
    Violent*                                            11.0       19.1       24.5       29.6        34.0       36.9        39.5        41.7       43.4
    Property                                             9.3 †     15.8 †     20.9 †     25.7 †      29.3 †     32.9 †      36.0 †      38.5 †     40.4 †
    Drug                                                 6.8 †     12.7 †     17.5 †     21.3 †      25.1 †     27.7 †      30.1 †      32.1 †     34.0 †
    Public order                                         9.7       16.4 †     21.8 †     26.6 †      30.0 †     32.9 †      35.7 †      38.1 †     39.8 †
Arrest after release for same type as most serious
  commitment ofensea
  All released prisoners                                21.0%      32.5%      39.6%      45.0%       49.1%      52.1%       54.5%       56.5%      58.2%
    Violent                                             11.0       19.1       24.5       29.6        34.0       36.9        39.5        41.7       43.4
    Property                                            25.0       37.5       45.0       50.4        54.6       57.6        60.0        61.9       63.5
    Drug                                                22.0       34.7       42.5       47.9        51.8       54.4        56.7        58.6       60.4
    Public order                                        29.2       42.4       50.4       56.1        60.3       63.8        66.6        68.6       70.3
Arrested after release for diferent type of ofense
  than most serious commitment ofenseb
  All released prisoners                                36.1%      51.0%      59.4%      65.0%       68.9%      71.7%       73.9%       75.6%      76.9%
    Violent                                             35.2       49.6       57.5       63.0        67.1       69.9        72.1        73.7       74.8
    Property                                            42.4       58.0       66.4       71.8        75.3       77.9        79.8        81.4       82.6
    Drug                                                34.8       50.2       58.8       64.6        68.6       71.4        73.6        75.3       76.7
    Public order                                        26.3       39.7       48.2       54.3        58.4       61.6        64.6        66.5       68.2
Note: Persons could have been in prison for more than one ofense; the most serious one is reported in this table. Each arrest may include more than
one type of ofense. ‘Type of ofense’ refers to the categories of violent, property, drug, and public order. Public order includes 0.8% of cases in which
prisoners’ most serious ofense was unspecifed. See appendix table 9 for standard errors.
*Comparison group.
†Diference with comparison group is signifcant at the 95% confdence level.
a,bPercentages in these two categories do not sum to the ‘any arrest after release’ category because categories overlap.

Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.




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By the sixth year after release, prisoners released for                        Among prisoners arrested following release, the
a violent or property crime were similarly likely to be                        percentage of arrests in another state increased
arrested for a violent crime                                                   each year after release
During the frst year of the follow-up period, a larger                         Te likelihood of former prisoners being arrested
percentage of prisoners released for a violent ofense                          outside the state where they were released increased
were arrested for a violent crime than those released for                      with a longer follow-up period. During each of the
a property or drug ofense. Eleven percent of prisoners                         9 years following release, fewer than 4% of prisoners
released for a violent ofense were arrested during year-1                      were arrested outside the state (table 8). However,
for a violent ofense, compared to 9% of those released                         among prisoners arrested within a given year following
for a property ofense and 7% of prisoners released for a                       release, the percentage of prisoners arrested in another
drug ofense (fgure 10). However, beginning in year-6,                          state increased as the length of time from release in
prisoners released for a violent ofense were similarly                         2005 increased. Eight percent of prisoners arrested
likely to be arrested for a violent crime as those released                    during year-1 were arrested outside of the state
for a property or public order ofense. Troughout                               from which they were released. Fourteen percent
the 9-year follow-up period, prisoners released for a                          of prisoners who were arrested during year-9 were
drug ofense were less likely to be arrested for a violent                      arrested outside of the state of release.
crime than prisoners released for a violent ofense.

FIGURE 10                                                                      TABLE 8
Annual percentage of prisoners released in 30 states                           Annual arrest percentage of prisoners released in 30
in 2005 who were arrested for a violent crime, by most                         states in 2005, by whether arrested within or outside
serious commitment ofense                                                      the state of release
Percent of released prisoners arrested*                                                                                         Among released
12                                                                                                  All released prisoners      prisoners arrested during
                                                                               Year after     Outside state Within or outside the year, percent arrested
                                                                               arrest         of release       state of release outside state of release
10                                               Most serious o˜ense for
                                                                               1                      3.3%            43.9%                7.5%
                                                 which they were in prison
                     Violent                                                   2                      3.4             37.7                 9.0
 8                                                                             3                      3.4             34.3                10.0
                                                          Public order
                       Property                                                4                      3.5             31.9                10.9
 6                                                                             5                      3.6             30.1                12.0
                                              Drug                             6                      3.5             28.0                12.6
 4                                                                             7                      3.6             27.4               13.3
                                                                               8                      3.5             25.9               13.6
 2                                                                             9                      3.4             24.0               14.2
                                                                                 Arrested
                                                                                 anytime in
 0                                                                               follow-up
     1st    2nd     3rd        4th 5th 6th            7th       8th      9th     period            15.4%           83.4%                    ~
                                 Year after arrest                             Note: Detail may not sum to total due to rounding. See appendix table 10
Note: Public order includes 0.8% of cases in which prisoners’ most             for standard errors.
serious ofense was unspecifed. See table 6 for estimates and appendix          ~Not applicable.
table 8 for standard errors.                                                   Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released
*Persons could have been in prison for more than one ofense; the most          in 2005 data collection, 2005–2014.
serious one is reported in this fgure.
Source: Bureau of Justice Statistics, Recidivism of State Prisoners
Released in 2005 data collection, 2005–2014.




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 Five percent of prisoners were arrested during                                     Forty-four percent of released prisoners were not
 year-1 following release and not arrested again                                    arrested after year-5
 during years 2 through 9
                                                                                    Twenty-two percent of released prisoners were not
 Tirty-nine percent of all released prisoners were                                  arrested afer year-1 of the follow-up period (fgure 12).
 arrested during the frst year afer release and were                                In other words, when measured by a new arrest, 22% of
 also subsequently arrested at least once during years                              prisoners appeared to desist by year-1 because they
 2 through 9 (fgure 11). Five percent of prisoners were                             were not arrested during years 2 through 9. Some
 arrested during the frst year afer release and were                                released prisoners may not have been arrested because
 not arrested again during years 2 though 9. Among                                  they were incarcerated at certain times during the
 prisoners arrested during the frst year following                                  follow-up period. Tirty-one percent of prisoners
 release, nearly 9 in 10 (89%) were arrested again during                           appeared to have desisted by year-3 and 44% by year-5.
 the next 8 years (not shown).                                                      Tis percentage eclipsed 52% in year-6, at which point
                                                                                    two-thirds of the observable years had elapsed.
 During the second year afer release, 38% of prisoners
 were arrested. A third (33%) of all released prisoners                             FIGURE 12
 were arrested during the second year and also arrested                             Prisoners released in 30 states in 2005 who were not
 again at least once during years 3 through 9. Te                                   arrested in the remainder of the follow-up period, by
 remaining 5% were not arrested again during the                                    year after release
 follow-up period.
                                                                                    Percent of released prisoners
 Te percentage who were not arrested during a                                       80
 subsequent year increased during the later years of the
                                                                                    70
 follow-up period. However, there are fewer observable
 years in which to capture a subsequent arrest during                               60
 later years of the follow-up period. (For example, in                              50
 year-8 there is only one subsequent year.)
                                                                                    40
FIGURE 11                                                                           30
Percent of prisoners released in 30 states in 2005 who
were arrested after release, by year after arrest and                               20
whether arrested during subsequent years                                            10
Percent of released prisoners                                                        0
50                                                                                         1st        2nd            3rd          4th    5th      6th
                                                                                                                    Year after release

40                                                                                  Note: Estimates after year-6 are not presented as 3 years of subsequent
                                       Arrested again during a subsequent year      arrests could not be measured. See appendix table 12 for estimates and
                                 T


                                                       II
                                            Not arrested during a subsequent year   standard errors.
30                                                                                  Source: Bureau of Justice Statistics, Recidivism of State Prisoners
                                                                                    Released in 2005 data collection, 2005–2014.
     38.9
20            33.0     29.1     26.0                                 12.2
                                          23.2     20.1     17.2

10
                                                                      13.7
                                           6.9      7.8      10.2
      4.9      4.7     5.2      5.9
 0
      1st     2nd      3rd      4th      5th       6th       7th      8th
                                  Year after arrest
Note: The denominator for the annual percentage was 401,288 (total
state prisoners released in 30 states in 2005). See appendix table 11 for
estimates and standard errors.
Source: Bureau of Justice Statistics, Recidivism of State Prisoners
Released in 2005 data collection, 2005–2014.




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  Longer follow-up periods provide additional data on the nature of criminal
  careers, but take time
  Research on the criminal activities of persons released               3-year follow-up period (and appeared to have desisted
  from prison has employed diferent follow-up periods.                  from criminal activity), but almost half of those (15%)
  A 3-year follow-up period has been common, but other                  were arrested during the subsequent 6 years, leaving
  time periods (e.g., 1-year, 5-year, and 9-year, as in this            17% who had no arrests during the 9-year follow-up
  report) have been used. Which follow-up period is                     period (see table 2). In addition, the study found that
  employed is often driven by the availability of data or               24% of released prisoners were still actively involved in
  the need to study a specifc cohort (e.g., those released              criminal activity and were arrested during year-9, which
  3 years ago). Independent of these constraints, deciding              could be viewed as inviting an even longer period of
  which follow-up period to use is closely linked to the                review. The longer period also enables researchers
  competing concerns of accuracy and immediacy.                         to understand more complex patterns of desistance.
  This study provides empirical evidence that may be                    For example, of the 44% of released prisoners who
  used to inform which follow-up period is preferred for                were arrested during their frst year after release, 1 in 9
  various research eforts and policy applications. For                  (5% of all released prisoners) had no additional arrests
  example, comparing the 3-year and 9-year follow-up                    during the 9-year follow-up period.
  periods showed that the basic recidivism percentage                   Counterbalancing the value of a longer follow-up
  (defned as the cumulative arrest percentage                           period is the need for up-to-date information.
  following release) was underestimated by an average                   Ofending patterns may change with time and the
  of 15 percentage points using the 3-year window.                      ofending patterns of prisoners released 10 years ago
  Similarly, the 9-year follow-up period showed that                    may be diferent than those of prisoners released in
  the percentage of released prisoners arrested in                      recent years. In addition, policymakers and practitioners
  states outside the state that released them was twice                 have a need for timely information and may not have
  as high as that observed in a study with a 3-year                     time for a recidivism study with a long observation
  follow-up period.                                                     period to be completed to assess the value of a
  With a follow-up period of 3 years, researchers and                   rehabilitation program for released prisoners or a policy
  policymakers would not have observed more than half                   change afecting sentencing.
  of the arrests of prisoners after their release. This study’s         There is no standard length for follow-up periods used
  9-year follow-up period showed that 60% of all arrests                in studies of the criminal careers of released prisoners
  of released prisoners occurred more than 3 years after                or any other cohort of ofenders. This study shows how
  their release.                                                        recidivism and desistance measures change when
  A longer follow-up period enables researchers and                     longer or shorter follow-up periods are used. With these
  policymakers to better explore the attributes of                      additional data, designers and users of recidivism and
  desistance. This study found that 32% of released                     desistance studies have more information to determine
  prisoners had no arrests following release during the                 which follow-up period is best for their needs.




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Methodology                                                             MAP 1
                                                                        States included in the BJS recidivism study of prisoners
Sampling                                                                released in 2005

Tis study estimates the recidivism patterns of persons                                       WA
released in 2005 from state prisons in 30 states. States                                OR
                                                                                                                 ND
                                                                                                                            MN
were included in this study if the state departments                                                             SD                                         NY
                                                                                                                                       MI
of corrections could provide the prisoner records                                            NV                  NE          IA                        PA
                                                                                                                                                                 NJ
                                                                                                                                            OH
and the FBI or state identifcation numbers on                                      CA
                                                                                                  UT
                                                                                                            CO                                   WV
                                                                                                                                                       VA        MD
                                                                                                                                 MO
persons released from prison during 2005. Te                                                                                                           NC
fngerprint-based identifcation numbers were required                                                                   OK         AR              SC
to obtain the criminal history records on released                                                                                LA
                                                                                                                                             GA
                                                                                                                  TX
prisoners. Te prisoner records—obtained from the                                        AK
                                                                                                                                                  FL

state departments of corrections through the Bureau of
Justice Statistics’ (BJS) National Corrections Reporting                                               HI

Program (NCRP)—also included each prisoner’s
sex, race, Hispanic origin, date of birth, confnement                   Source: Bureau of Justice Statistics, Recidivism of State Prisoners
ofenses, sentence length, type of prison release, and                   Released in 2005 data collection, 2005–2014.
date of release. Te 30 states whose departments of
corrections submitted the NCRP data on prisoners                        commitment ofense. Te within-state sampling
released in 2005 included Alaska, Arkansas, California,                 rate for female prisoners was double that of males
Colorado, Florida, Georgia, Hawaii, Iowa, Louisiana,                    to improve the precision of female recidivism and
Maryland, Michigan, Minnesota, Missouri, Nebraska,                      desistance estimates. Te combined number of persons
Nevada, New Jersey, New York, North Carolina, North                     in the 30 state samples totaled 70,878 individuals who
Dakota, Ohio, Oklahoma, Oregon, Pennsylvania,                           were representative of all state prisoners released in
South Carolina, South Dakota, Texas, Utah, Virginia,                    those states during 2005. (Tis number dropped to
Washington, and West Virginia (map 1).                                  67,966 afer accounting for those who died during the
                                                                        subsequent 9 years, lacked criminal history records,
Across the 30 states in 2005, a total of 412,731                        or had invalid release records.) Each prisoner in the
prisoners were released and were eligible for this study                sample was assigned a weight based on the probability
(see appendix table 1). Tat number excludes 131,997                     of selection within the state.
prisoners (for a total of 544,728) who were sentenced
to less than one year, transferred to the custody of
another authority, died in prison, were released on                     Collecting and processing criminal records for
bond, were released to seek or participate in an appeal                 recidivism research
of a case, or escaped from prison or were absent
                                                                        In 2008, BJS entered into a data-sharing agreement
without ofcial leave. Te frst release during 2005 was
                                                                        with the FBI’s Criminal Justice Information Services
used for those prisoners released multiple times during
                                                                        Division and the International Justice and Public Safety
the year.
                                                                        Network (Nlets) to allow BJS access to criminal history
From the universe of persons released from prison                       records through the FBI’s Interstate Identifcation
in the 30 states in 2005 in this study, all males and                   Index (III). Additionally, a data security agreement was
females who were in prison for homicide were selected                   executed between BJS, the FBI, and Nlets to defne the
with certainty into the study. Analyses were done to                    operational and technical practices used to protect the
determine the number of non-homicide prisoners                          confdentiality and integrity of the criminal history
that would be needed from each state’s universe                         data during data exchange, processing, and storage.
of released prisoners to yield a statistically sound
                                                                        Te FBI’s III is an automated pointer system that
estimate of that state’s recidivism and desistance rates.
                                                                        allows authorized agencies to determine whether any
As a result, states contributed diferent numbers of
                                                                        state repository has criminal history records on an
records to the fnal sample. To achieve the desired
                                                                        individual. Nlets is a computer-based network that is
state-level samples, lists of all males and females
                                                                        responsible for interstate transmissions of federal and
imprisoned for a non-homicide ofense were sorted
                                                                        state criminal history records. It allows authorized
separately by the county in which the sentence was
                                                                        users to query III and send requests to states holding
imposed, race, Hispanic origin, age, and most serious
                                                                        criminal history records on an individual. Te FBI also

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maintains criminal history records for which it has sole                warrant) and procedural (e.g., transferring a suspect to
responsibility for disseminating, such as information                   another jurisdiction) records embedded in the criminal
on federal arrests. Te identifcation bureaus that                       history data that did not refer to an actual arrest were
operate the central repositories in each state respond                  identifed and removed. Trafc ofenses (except for
automatically to requests over the Nlets network with                   vehicular manslaughter, driving while intoxicated, and
an individual’s criminal history record. Put together,                  hit-and-run) were also excluded because the reporting
these requests represent the individual’s national                      of these events in the criminal history records varied
criminal history record.                                                widely by state.

Once BJS received approval from the FBI’s Institutional
Review Board to conduct this recidivism study on                        Deaths during the follow-up period
prisoners released in 2005, Nlets transmitted the                       BJS documented that 2,173 of the 70,878 sampled
state and FBI identifcation numbers on the sampled                      prisoners died during the 9-year follow-up period,
prisoners to the FBI’s III system to collect the criminal               and BJS removed these cases from the recidivism and
history records on behalf of BJS. Te criminal history                   desistance analysis along with four additional cases
records include information from the state of release                   that were determined to be invalid release records. Te
and all other states in which the sampled prisoners                     fngerprint-verifed death notices obtained through
had been arrested both prior to the release in 2005                     the FBI’s III system were used to identify some of
and aferwards.                                                          the sampled prisoners who died within the 9 years
Nlets parsed the felds from individual criminal                         following release in 2005. Additional deaths were
history records into a relational database consisting                   identifed through the Social Security Administration’s
of state- and federal-specifc numeric codes and                         (SSA) public Death Master File (DMF). While the
text descriptions (e.g., criminal statutes and case                     public DMF provided a more complete source of death
outcome information) into a uniform record layout.                      information than the FBI’s III system, the public DMF
NORC at the University of Chicago assisted BJS                          provided death information only for the years 2005 to
with standardizing the content of the relational                        2011. Terefore, the identifcation of those who died
database into a uniform coding structure to support                     between 2012 and 2014 was limited to the FBI’s III
national-level recidivism research.                                     data, which included only fngerprint-verifed deaths.

BJS conducted a series of data-quality checks on                        Te number of released prisoners who were identifed
the criminal history records to assess the accuracy                     as dead between 2005 and 2011 in the public DMF
and completeness of the information, including                          is an undercount of the actual number of deaths
an examination of the response messages and the                         within the sample. Due to state disclosure laws, the
identifcation numbers that failed to match a record                     public DMF does not include information on certain
in III. To ensure that the correct records were received                protected state death records received via SSA’s
on the released prisoners using their fngerprint-based                  contracts with the states. Beginning in 2011, the SSA
identifcation numbers, BJS compared other individual                    removed more than 4 million state-reported death
identifers in the NCRP data to those reported in the                    records from the public DMF and began adding fewer
criminal history records. For 98% of cases, a released                  records to the public DMF. As a result, the public DMF
prisoner’s date of birth in the NCRP data exactly                       contains an undercount of annual deaths.
matched the prisoner’s birthdate in the criminal                        Te extent to which the public DMF undercounts
history records. Nearly 100% (99.9%) of the NCRP and                    the annual number of deaths is not exactly known.
criminal history records matched prisoner sex, race,                    Analyses of deaths in the public DMF compared to
and Hispanic origin.                                                    those reported by the Centers for Disease Control
BJS reviewed the criminal history records for                           and Prevention’s (CDC) mortality counts suggest that
diferences and inconsistencies in reporting practices                   the public DMF undercounted the overall number of
and noticed some variations across states. During                       deaths in the United States by about 10% in 2005. Te
data processing and analysis, steps were taken to                       undercount increased during succeeding years, and as
standardize the information and to minimize the                         of 2010, the public DMF contained less than half (45%)
impact these variations had on the overall recidivism                   of the deaths reported by the CDC. If the number
and desistance estimates. For example, administrative                   of released prisoners who died during the follow-up
(e.g., a criminal registration or the issuance of a


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period and were removed from the recidivism and                         All diferences discussed in this report are statistically
desistance analysis were adjusted to account for this                   signifcant at the 95% confdence interval level.
undercount, the estimated cumulative recidivism rate                    Standard errors were generated using Stata, a statistical
would likely increase by about one percentage point.                    sofware package that calculates sampling errors for
                                                                        data from complex sample surveys.
Missing criminal history records
                                                                        Ofense defnitions
Among the 68,701 sampled prisoners not identifed
as deceased during the follow-up period, BJS did not                    Violent ofenses include homicide, rape or sexual
receive criminal history records on 735 prisoners,                      assault, robbery, assault, and other miscellaneous or
either because the state departments of correction                      unspecifed violent ofenses.
were unable to provide their FBI or state identifcation
number or because the prisoner had an identifcation                     Property ofenses include burglary, fraud or forgery,
number that did not link to a criminal history record                   larceny, motor vehicle thef, and other miscellaneous or
either in the FBI or state record repositories. To                      unspecifed property ofenses.
account for the missing criminal history records and                    Drug ofenses include possession, trafcking, and
to ensure the recidivism and desistance statistics                      other miscellaneous or unspecifed drug ofenses.
were representative of all 68,701 prisoners in the
analysis, BJS developed weighting class adjustments to                  Public order ofenses include violations of the peace or
account for those prisoners without criminal history                    order of the community or threats to the public health
information to reduce nonresponse bias.                                 or safety through unacceptable conduct, interference
                                                                        with a governmental authority, or the violation of civil
To create the statistical adjustments, the 68,701                       rights or liberties. Tis category includes weapons
sampled prisoners were stratifed into groups by                         ofenses, driving under the infuence, probation and
crossing the two categories of sex (male or female),                    parole violation, obstruction of justice, commercialized
fve categories of age at release (24 or younger, 25 to                  vice, disorderly conduct, and other miscellaneous or
29, 30 to 34, 35 to 39, or 40 or older), four categories                unspecifed ofenses.
of race/Hispanic origin (non-Hispanic white,
non-Hispanic black, Hispanic, or other race), and four
categories of the most serious commitment ofense                        Arrests for probation and parole violations
(violent, property, drug, or public order). Within each
                                                                        In this report, arrests for probation and parole
of the subgroups, statistical weights were applied to
                                                                        violations were included as public order ofenses.
the data of the 67,966 prisoners with criminal history
                                                                        Excluding arrests for probation and parole violations
information to allow their data to represent the
                                                                        from the analysis would have had only a small impact
735 prisoners without criminal history information.
                                                                        on the recidivism rates. Excluding probation and
                                                                        parole violations from the annual arrest percentages,
Conducting tests of statistical signifcance                             39.5% of prisoners released in 30 states in 2005 were
                                                                        arrested in year-1, 34.3% were arrested in year-2, 31.5%
Tis study was based on a sample, not a complete                         in year-3, 29.7% in year-4, 28.2% in year-5, 25.9% in
enumeration, so the estimates are subject to sampling                   year-6, 25.9% in year-7, 24.6% in year-8, and 23.0%
error. One measure of the sampling error associated                     in year-9. Overall, excluding probation and parole
with an estimate is the standard error. Te standard                     violations, 82.4% of prisoners released in 30 states
error can vary from one estimate to the next. In                        in 2005 were arrested within 9 years. In other words,
general, an estimate with a smaller standard error                      99% of prisoners who were arrested during the 9-year
provides a more reliable approximation of the true                      follow-up period were arrested for an ofense other
value than an estimate with a larger standard error.                    than a probation or parole violation.
Estimates with relatively large standard errors should
be interpreted with caution. BJS conducted tests to
determine whether diferences in the estimates were
statistically signifcant once sampling error was taken
into account.




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APPENDIX TABLE 1
Number of prisoners released in 30 states in 2005
                                Number of               Number of    Released prisoners included in the studyb         Criminal history record collected
State                           released prisonersa     sample cases   Weighted total         Sample size                 Number            Percent
  All released prisoners             412,731              70,878          401,288               68,701                    67,966              98.9%
Alaska                                 1,827               1,158             1,707                1,082                    1,062              98.2
Arkansas                              10,844               2,785            10,426                2,675                    2,618              97.9
California                           107,633               4,604          105,392                 4,511                    4,510              100
Colorado                               8,277               2,351             7,942                2,254                    2,247              99.7
Florida                               31,537               3,350            30,636                3,253                    3,240              99.6
Georgia                               12,321               2,763            12,011                2,687                    2,592              96.5
Hawaii                                 1,041                 793             1,016                  774                      767              99.1
Iowa                                   4,607               1,897             4,406                1,816                    1,810              99.7
Louisiana                             12,876               2,806            12,422                2,712                    2,697              99.4
Maryland                              10,200               2,597             9,769                2,488                    2,468              99.2
Michigan                              12,177               2,603            11,633                2,490                    2,471              99.2
Minnesota                              4,619               1,897             4,570                1,877                    1,873              99.8
Missouri                              15,997               2,919            15,404                2,810                    2,805              99.8
Nebraska                               1,386                 966             1,364                  951                      951              100
Nevada                                 5,022               1,973             4,930                1,935                    1,787              92.4
New Jersey                            13,097               2,697            12,964                2,666                    2,622              98.3
New York                              23,963               3,532            23,226                3,433                    3,433              100
North Carolina                        11,743               2,748            11,229                2,626                    2,616              99.6
North Dakota                             884                 686               865                  671                      663              98.8
Ohio                                  15,832               3,070            15,555                3,015                    2,927              97.1
Oklahoma                               7,768               2,345             7,424                2,240                    2,169              96.8
Oregon                                 4,731               1,955             4,595                1,900                    1,898              99.9
Pennsylvania                          12,452               2,840            11,884                2,712                    2,685              99.0
South Carolina                        10,046               2,537             9,971                2,516                    2,500              99.4
South Dakota                           2,159               1,285             2,142                1,275                    1,268              99.5
Texas                                 43,532               3,779            42,770                3,713                    3,713              100
Utah                                   3,000               1,569             2,951                1,543                    1,534              99.4
Virginia                              12,776               2,719            12,148                2,585                    2,574              99.6
Washington                             8,439               2,443             8,093                2,343                    2,341              99.9
West Virginia                          1,945               1,211             1,842                1,148                    1,125              98.0
aExcludes released prisoners whose sentence was less than one year; releases to custody, detainer, or warrant; releases due to death; escapes or absent
without leave; transfers; administrative releases; and releases on appeal. The frst release was selected for persons released multiple times during 2005.
bExcludes 2,173 sampled prisoners (when weighted representing 11,443 individuals) who died during the follow-up period and four cases determined to
be invalid release records.
Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.




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APPENDIX TABLE 2                                                               APPENDIX TABLE 4
Standard errors for table 1: Characteristics of prisoners                      Standard errors for fgure 3: Percent of prisoners
released in 30 states in 2005                                                  released in 30 states in 2005 who were arrested after
Characteristic                                            Standard error       release, by year after release
Sex                                                                            Year of frst arrest           Estimate               Standard error
 Male                                                         0.003%           1                              43.9%                      0.29%
 Female                                                       0.003            2                              16.2                       0.21
Race/Hispanic origin                                                           3                                8.3                      0.15
 White                                                         0.28%           4                                5.1                      0.11
 Black/African American                                        0.27            5                                3.5                      0.09
 Hispanic/Latino                                               0.27            6                                2.3                      0.07
 Other                                                         0.09            7                                1.7                      0.06
  American Indian or Alaska Native                             0.05            8                                1.3                      0.05
  Asian, Native Hawaiian, or Other Pacifc Islander             0.06            9                                1.0                      0.05
Age at release                                                                 Source: Bureau of Justice Statistics, Recidivism of State Prisoners
 24 or younger                                                 0.22%           Released in 2005 data collection, 2005–2014.
 25–29                                                         0.24
 30–34                                                         0.22
 35–39                                                         0.22
 40 or older                                                   0.28
Most serious commitment ofense
 Violent                                                       0.26%
 Property                                                      0.28
 Drug                                                          0.28
 Public order                                                  0.18
Source: Bureau of Justice Statistics, Recidivism of State Prisoners
Released in 2005 data collection, 2005–2014.


APPENDIX TABLE 3
Standard errors for table 2, fgure 2, and fgure 4: Cumulative percent of prisoners released in 30 states in 2005
who were arrested within or outside the state of release, by year after release
                                     Within or outside the state of release                                Outside the state of release
Year after release              Percent arrested             Percent not arrested             Percent arrested                Percent not arrested
1                                   0.29%                          0.29%                             0.09%                          0.11%
2                                   0.27                           0.21                              0.11                           0.09
3                                   0.25                           0.15                              0.13                           0.09
4                                   0.23                           0.11                              0.15                           0.08
5                                   0.22                           0.09                              0.16                           0.08
6                                   0.21                           0.07                              0.17                           0.08
7                                   0.21                           0.06                              0.18                           0.07
8                                   0.20                           0.05                              0.19                           0.07
9                                   0.20                           0.05                              0.19                           0.07
Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.




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APPENDIX TABLE 5
Standard errors for table 3, fgure 5, and fgure 6: Percent of prisoners released in 30 states in 2005 who were
arrested after release, by prisoner characteristics and year of frst arrest
                           Total arrested
Characteristic             within 9 years      Year 1       Year 2      Year 3         Year 4    Year 5      Year 6   Year 7   Year 8   Year 9
 All released prisoners        0.20%           0.29%        0.21%       0.15%           0.11%    0.09%       0.07%    0.06%    0.05%    0.05%
Sex
 Male                          0.22%           0.32%        0.23%        0.16%         0.12%     0.10%       0.08%    0.07%    0.06%    0.05%
 Female                        0.39            0.49         0.37         0.26          0.22      0.19        0.14     0.13     0.11     0.12
Age at release
 24 or younger                 0.36%           0.68%        0.50%        0.32%         0.26%     0.23%       0.14%    0.15%    0.10%    0.07%
 25–39                         0.27            0.41         0.30         0.22          0.16      0.13        0.10     0.08     0.08     0.06
   25–29                       0.40            0.68         0.48         0.36          0.26      0.20        0.16     0.12     0.14     0.10
   30–34                       0.52            0.76         0.53         0.35          0.30      0.23        0.19     0.15     0.18     0.12
   35–39                       0.51            0.77         0.54         0.41          0.28      0.24        0.17     0.15     0.12     0.11
 40 or older                   0.42            0.54         0.38         0.27          0.21      0.18        0.15     0.11     0.09     0.12
Race/Hispanic origin
 White                         0.31%           0.44%        0.31%        0.23%         0.17%     0.14%       0.10%    0.11%    0.08%    0.08%
 Black/African American        0.25            0.42         0.31         0.21          0.18      0.14        0.11     0.09     0.07     0.07
 Hispanic/Latino               0.67            0.93         0.64         0.45          0.33      0.29        0.24     0.12     0.19     0.14
 Other                         1.37            1.98         1.55         1.00          0.55      0.48        0.16     0.33     0.20     0.20
   American Indian or
     Alaska Native             1.49            2.21         1.65         0.79          0.46      0.41        0.22     0.41     0.26     0.28
   Asian, Native Hawaiian,
     or Other Pacifc
     Islander                  2.58            3.77         2.99         2.09          0.70      0.22        0.34     0.54     0.33     0.39
Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.


APPENDIX TABLE 6
Standard errors for table 4: Post-release arrests of prisoners released in 30 states
in 2005, by year after arrest
                     Number of                            Cumulative number Cumulative percent
                     arrests during    Percent of arrests of all arrests since of all arrests since
Year after arrest    year/period       during year/period release              release
  Total                15,295                  ~                      ~                    ~
Years 1–3               6,173               0.22%                     ~                    ~
  1                     2,941               0.13                  2,941                 0.13
  2                     2,910               0.13                  4,675                 0.19
  3                     2,819               0.12                  6,173                 0.22
Years 4–6               6,223               0.19%                     ~                    ~
  4                     2,838               0.11                  7,704                 0.24
  5                     3,009               0.12                  9,317                 0.24
  6                     2,613               0.11                 10,530                 0.23
Years 7–9               7,295               0.23%                     ~                    ~
  7                     2,982               0.12                 12,006                 0.20
  8                     3,212               0.13                 13,570                 0.14
  9                     3,333               0.14                 15,295                    ~
~Not applicable.
Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005
data collection, 2005–2014.




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APPENDIX TABLE 7
Standard errors for table 5, fgure 1, fgure 7, and fgure 8: Annual arrest percentage of prisoners released
in 30 states in 2005, by prisoner characteristics
Characteristic                  Year 1        Year 2        Year 3        Year 4        Year 5        Year 6            Year 7          Year 8     Year 9
 All released prisoners         0.29%         0.29%         0.29%         0.29%         0.28%         0.28%             0.28%           0.27%      0.27%
Sex
 Male                           0.32%         0.32%         0.32%         0.32%         0.31%         0.31%             0.31%           0.30%      0.30%
 Female                         0.49          0.50          0.49          0.48          0.47          0.46              0.45            0.44       0.44
Age at release
 24 or younger                  0.68%         0.69%         0.68%         0.67%         0.68%         0.66%             0.67%           0.65%      0.64%
 25–39                          0.41          0.42          0.41          0.41          0.40          0.40              0.40            0.39       0.39
   25–29                        0.68          0.68          0.68          0.67          0.65          0.65              0.65            0.64       0.63
   30–34                        0.76          0.75          0.73          0.73          0.72          0.71              0.70            0.70       0.67
   35–39                        0.77          0.76          0.76          0.75          0.74          0.73              0.74            0.71       0.72
 40 or older                    0.54          0.53          0.52          0.52          0.51          0.49              0.48            0.47       0.47
Race/Hispanic origin
 White                          0.44%         0.44%         0.43%         0.43%         0.42%         0.41%             0.41%           0.40%      0.40%
 Black/African American         0.42          0.43          0.42          0.42          0.41          0.40              0.41            0.40       0.39
 Hispanic/Latino                0.93          0.92          0.91          0.90          0.88          0.86              0.85            0.83       0.83
 Other                          1.98          1.99          1.94          1.87          1.83          1.90              1.86            1.90       1.70
   American Indian or
     Alaska Native              2.21          2.22          2.22          2.01          2.06          2.18              2.21            2.13       1.83
   Asian, Native Hawaiian,
     or Other Pacifc Islander   3.77          3.86          3.50          3.64          3.49          3.58              3.50            3.66       3.14
Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.


APPENDIX TABLE 8
Standard errors for table 6, fgure 9, and fgure 10: Annual arrest percentage of prisoners released in 30 states in
2005, by most serious commitment ofense and type of post-release ofense
Most serious commitment
ofense                                                 Year 1 Year 2       Year 3     Year 4      Year 5       Year 6          Year 7     Year 8   Year 9
Any arrest after release
  All released prisoners                               0.29%    0.29%      0.29%       0.29%      0.28%        0.28%           0.28%      0.27%    0.27%
    Violent                                            0.60     0.59       0.58        0.56       0.56         0.54            0.55       0.55     0.53
    Property                                           0.55     0.56       0.56        0.56       0.55         0.54            0.54       0.53     0.52
    Drug                                               0.53     0.53       0.53        0.51       0.51         0.49            0.49       0.48     0.47
    Public order                                       0.78     0.77       0.74        0.73       0.73         0.72            0.71       0.69     0.69
Violent arrest after release
  All released prisoners                               0.18%    0.17%      0.17%       0.17%      0.16%        0.15%           0.16%      0.15%    0.14%
    Violent                                            0.39     0.37       0.34        0.36       0.37         0.30            0.31       0.31     0.29
    Property                                           0.34     0.29       0.30        0.32       0.30         0.31            0.32       0.28     0.28
    Drug                                               0.27     0.29       0.28        0.27       0.27         0.23            0.25       0.25     0.22
    Public order                                       0.49     0.45       0.44        0.46       0.43         0.42            0.40       0.40     0.36
Arrest after release for same type as most
 serious commitment ofense
  All released prisoners                               0.26%    0.24%      0.23%       0.22%      0.22%        0.21%           0.20%      0.20%    0.20%
    Violent                                            0.39     0.37       0.34        0.36       0.37         0.30            0.31       0.31     0.29
    Property                                           0.51     0.45       0.43        0.44       0.42         0.40            0.39       0.40     0.39
    Drug                                               0.48     0.45       0.43        0.41       0.39         0.38            0.36       0.36     0.37
    Public order                                       0.77     0.73       0.70        0.67       0.66         0.66            0.63       0.63     0.60
Arrested after release for diferent type of
 ofense than most serious commitment ofense
  All released prisoners                               0.29%    0.29%      0.28%       0.28%      0.27%        0.27%           0.27%      0.26%    0.26%
    Violent                                            0.60     0.58       0.57        0.55       0.54         0.53            0.54       0.54     0.52
    Property                                           0.56     0.55       0.55        0.55       0.53         0.52            0.52       0.51     0.51
    Drug                                               0.53     0.52       0.51        0.50       0.49         0.47            0.47       0.45     0.44
    Public order                                       0.72     0.67       0.64        0.64       0.65         0.62            0.63       0.61     0.62
Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.


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APPENDIX TABLE 9
Standard errors for table 7: Cumulative percent of prisoners released in 30 states in 2005 who were arrested
following release, by most serious commitment ofense and type of post-release arrest ofense
Most serious commitment
ofense                                                Year 1 Year 2       Year 3      Year 4     Year 5      Year 6      Year 7    Year 8     Year 9
Any arrest after release
  All released prisoners                              0.29%     0.27%      0.25%      0.23%       0.22%      0.21%       0.21%      0.20%     0.20%
    Violent                                           0.60      0.57       0.54       0.52        0.49       0.47        0.46       0.45      0.45
    Property                                          0.55      0.49       0.44       0.40        0.38       0.36        0.35       0.34      0.33
    Drug                                              0.53      0.49       0.45       0.42        0.40       0.38        0.37       0.36      0.35
    Public order                                      0.78      0.75       0.70       0.66        0.63       0.61        0.58       0.57      0.56
Violent arrest after release
  All released prisoners                              0.18%     0.22%      0.25%      0.27%       0.28%      0.28%       0.29%      0.29%     0.29%
    Violent                                           0.39      0.49       0.53       0.56        0.58       0.59        0.59       0.59      0.59
    Property                                          0.34      0.41       0.46       0.49        0.52       0.53        0.55       0.55      0.56
    Drug                                              0.27      0.36       0.42       0.45        0.47       0.48        0.49       0.50      0.51
    Public order                                      0.49      0.60       0.66       0.71        0.73       0.74        0.75       0.76      0.76
Arrest after release for same type as most
 serious commitment ofense
  All released prisoners                              0.26%     0.29%      0.30%      0.30%       0.30%      0.30%       0.29%      0.29%     0.29%
    Violent                                           0.39      0.49       0.53       0.56        0.58       0.59        0.59       0.59      0.59
    Property                                          0.50      0.55       0.56       0.56        0.56       0.55        0.55       0.54      0.54
    Drug                                              0.48      0.52       0.53       0.53        0.53       0.52        0.52       0.51      0.51
    Public order                                      0.77      0.78       0.76       0.74        0.72       0.70        0.68       0.67      0.65
Arrested after release for diferent type of
 ofense than most serious commitment ofense
  All released prisoners                              0.29%     0.28%      0.26%      0.25%       0.25%      0.24%       0.23%      0.23%     0.22%
    Violent                                           0.60      0.59       0.56       0.54        0.52       0.50        0.49       0.48      0.47
    Property                                          0.56      0.52       0.48       0.45        0.43       0.41        0.40       0.39      0.38
    Drug                                              0.53      0.52       0.49       0.46        0.45       0.43        0.42       0.41      0.41
    Public order                                      0.72      0.77       0.77       0.76        0.75       0.74        0.72       0.71      0.70
Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.


APPENDIX TABLE 10
Standard errors for table 8: Annual arrest percentage of prisoners released in 30 states in 2005, by whether arrested
within or outside the state of release
                                                                  All released prisoners                              Among released prisoners arrested
                                                                                                                      during the year, percent arrested
Year after release                            Outside state of release         Within or outside state of release     outside of state of release
1                                                       0.09%                               0.29%                                    0.20%
2                                                       0.09                                0.29                                     0.23
3                                                       0.09                                0.29                                     0.27
4                                                       0.09                                0.29                                     0.29
5                                                       0.09                                0.28                                     0.31
6                                                       0.10                                0.28                                     0.33
7                                                       0.10                                0.28                                     0.35
8                                                       0.09                                0.27                                     0.36
9                                                       0.10                                0.27                                     0.40
  Arrested anytime in follow-up period                  0.19%                               0.20%                                       ~
~Not applicable.
Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.




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APPENDIX TABLE 11
Estimates and standard errors for fgure 11: Percent of prisoners released in 30 states in 2005 who were arrested
after release, by year of arrest and whether arrested during subsequent years
                                        Total                    Arrested again during a subsequent year           Not arrested during a subsequent year
Year after release        Estimate          Standard error            Estimate          Standard error                  Estimate         Standard error
1                           43.9%               0.29%                   38.9%               0.29%                         4.9%               0.14%
2                           37.7                0.29                    33.0                0.29                          4.7                0.12
3                           34.3                0.29                    29.1                0.28                          5.2                0.13
4                           31.9                0.29                    26.0                0.28                          5.9                0.14
5                           30.1                0.28                    23.2                0.27                          6.9                0.15
6                           28.0                0.28                    20.1                0.26                          7.8                0.16
7                           27.4                0.28                    17.2                0.25                         10.2                0.18
8                           25.9                0.27                    12.2                0.22                         13.7                0.20
Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection, 2005–2014.


APPENDIX TABLE 12
Estimates and standard errors for fgure 12: Prisoners released in 30 states
in 2005 who were not arrested in the remainder of the follow-up period, by
year after release
                                        Number                                 Percent
Year after release           Estimate       Standard error          Estimate        Standard error
1                             86,000              927                 21.5%             0.23%
2                            105,000            1,000                 26.2              0.25
3                            126,000            1,069                 31.4              0.27
4                            150,000            1,129                 37.3              0.28
5                            178,000            1,173                 44.3              0.29
6                            209,000            1,193                 52.1              0.30
Source: Bureau of Justice Statistics, Recidivism of State Prisoners Released in 2005 data collection,
2005–2014.




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      Te Bureau of Justice Statistics of the U.S. Department of Justice is the
      principal federal agency responsible for measuring crime, criminal
      victimization, criminal ofenders, victims of crime, correlates of crime, and the
      operation of criminal and civil justice systems at the federal, state, tribal, and
      local levels. BJS collects, analyzes, and disseminates reliable and valid statistics
      on crime and justice systems in the United States, supports improvements
      to state and local criminal justice information systems, and participates with
      national and international organizations to develop and recommend national
      standards for justice statistics. Jefrey H. Anderson is director.
      Tis report was written by Mariel Alper, Joshua Markman, and Matthew R.
      Durose. Stephanie Mueller and Matthew R. Durose verifed the report.
      Brigitte Coulton and Jill Tomas edited the report. Steven Grudziecki
      produced the report.
      May 2018, NCJ 250975




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    HOUSINGSPOTLIGHT
    National Low Income Housing Coalition                                                                    Volume 2, Issue 2 | November 2012



WHO LIVES in
FEDERALLY ASSISTED HOUSING?
Characteristics of Households Assisted by HUD programs
Approximately 4.8 million households in the United States                           the Section 202 and Section 811 programs, programs that
receive housing assistance through programs of the U.S.                             serve people who are elderly and people with disabilities,
Department of Housing and Urban Development (HUD).                                  respectively.
Up-to-date data about who these tenants are have been hard
to come by for many years, helping to fuel misconceptions                 Unfortunately, the number of low income households who
and misinformation about who lives in federally assisted low              receive housing assistance from these HUD programs is far
income housing.                                                           fewer than those who need it and are eligible for it. Only 1 in
                                                                          4 households eligible for assistance are actually assisted.1 As of
Fortunately, HUD has made available                                                               2010, there were 9.8 million extremely
a new household-level Public Use                                                                  low income2 (ELI) renter households
Microdata Sample (PUMS) that                                                                      in the United States, and 7.4 million of
provides an in-depth look at the                              Our findings affirm that            these households faced a severe housing
characteristics of tenants participating
in major federally assisted housing
                                                            housing assistance                    cost burden, spending at least half of
                                                                                                  their income on the costs of rent and
programs. The new dataset                                   goes to those who                     utilities alone.3
complements HUD’s periodic report,
A Picture of Subsidized Households,                          need it the most:                                   In this issue of Housing Spotlight,
which was last published in 2009.
Picture provides the same type of data
                                                               EXTREMELY                                         NLIHC provides an overview of tenant
                                                                                                                 demographic characteristics, covering
reported here, aggregated to either                           LOW INCOME                                         race, gender, income and family type.
the property level or to a certain                                                                               In addition, we look at the poverty
geographic level. The new PUMS data                          HOUSEHOLDS,                                         level of the neighborhoods where
offer a closer look at households that                                                                           tenants reside. Our findings affirm that
received federal housing assistance in
                                                             many of which include                               housing assistance goes to those who
2009, based on a 5% randomly selected                      SENIORS, CHILDREN                                     need it the most: extremely low income
sample of all households participating                                                                           households, many of which include
in the Housing Choice Voucher, public                       and PEOPLE WITH                                      seniors, children and people with
housing, Project-Based Section 8,                                                                                disabilities.
Section 202 and Section 811 programs
                                                              DISABILITIES.
(See program definitions on page 4).                                                                       The vast majority of households living
                                                                                                           in subsidized housing earn less than
Approximately 4% of all households in the United States and                         $20,000 a year. This ranges from 86% of those who live in
12% of all U.S. renter households receive federal housing                           public housing to 96% and 98% of those receiving assistance
assistance. About 1.1 million households live in public                             from the Section 202 and Section 811 programs. Close to
housing, and 2.1 million households utilize housing vouchers.                       two-thirds (63%) of households living in Project-Based Section
An additional 1.3 million households live in apartments                             8 units and 51% of those in public housing are composed of
subsidized through the Project-Based Section 8 program,                             people who are elderly or have at least one member who has a
and 140,000 households live in units subsidized through                             disability.


1
 Steffan, B. et al. (2011). Worst case housing needs 2009: report to congress. Washington, D.C.: HUD.
                                                                                                                          ARROYO001424
2
  Extremely low income households are those with incomes at or below 30% of the area median income.
3
  National Low Income Housing Coalition tabulations of 2010 American Community Survey Public Use Microdata Sample (PUMS) Housing and Population files.
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HOUSEHOLD TYPE                                     table 1 | HOUSEHOLD TYPE BY HOUSING PROGRAM
Elderly households (those including a                                          Household                         Non-elderly,        Non-elderly,
household head or spouse who is at least                                          with            Elderly*       non-disabled,      non-disabled,
62) are a large part of the tenant population                                  disability*                       with children      without children
across all programs. Nearly a third (30%) of
public housing residents are elderly, as are       Project-Based Section 8        17%               46%               28%                 9%
nearly half (46%) of residents in Project-         Public Housing                 21%               30%               35%                13%
Based Section 8 housing. Households
including a member with disabilities are           Section 202                    1%                99%                0%                 0%
also a sizeable group, composing one-fifth         Section 811                    84%               15%                0%                 1%
(21%) of those living in public housing, and
over a quarter (28%) of voucher recipients         Vouchers                       28%               19%               43%                10%
(See Table 1). Both of these household types      *Elderly households and household with at least one member with a disability include some
are very likely to be living on a fixed income    households with children.
such as Supplemental Security Income or           Source: NLIHC tabulations of Public Use Microdata Sample. www.huduser.org/portal/pumd/
                                                  index.html.
Social Security and thus will need housing
assistance for most of the rest of their lives.

A little more than a third (35%) of public
housing households include children under
the age of 18, and 43% of households with
vouchers have children (See Table 1).

                                                   table 2 | HOUSEHOLDS WITH INCOMES BELOW $20,000
INCOME                                             BY HOUSING PROGRAM AND RACE*
On the whole, assisted housing tenants                                          Black        Hispanic        White          Other           All
are among the lowest income people in              Project-Based Section 8      93%           90%            95%            94%            93%
the U.S. Almost all (93%) tenants living
in Project-Based Section 8 units have              Public Housing               85%           84%            91%            86%            86%
incomes less than $20,000 a year, and              Section 202                  95%           98%            97%            98%            96%
87% of households with vouchers also
have incomes of less than $20,000. Public          Section 811                  98%           100%           98%            100%           98%
housing is no different, with 86% having           Vouchers                     84%           85%            92%            85%            87%
incomes under $20,000. This pattern does
not vary widely by race; most households          *These calculations exclude households for which data on race are not available.
                                                  Source: NLIHC tabulations of Public Use Microdata Sample. www.huduser.org/portal/pumd/
have extremely low incomes across racial          index.html.
groups. These data confirm that these
housing programs are serving households
who are most in need of affordable housing
(See Table 2).


GENDER
                                                   chart 1 | PERCENTAGE OF FEMALE-HEADED HOUSEHOLDS
Across all housing assistance programs,
female-headed households are                       BY HOUSING PROGRAM
disproportionately common. Female-
headed households include any household            Project-Based Section 8                                                              75%
where the primary applicant for housing
assistance was female.                                      Public Housing     INI                                                      75%

As shown in Chart 1, three-quarters of                           Section 202                                                          72%
households living in public housing and in
                                                                 Section 811                                         47%
Project-Based Section 8 housing are female-
headed, and over 83% of voucher-holding
                                                                    Vouchers                                                                   83%
households are headed by women. A large
proportion (72%) of Section 202 housing
                                                  Source: NLIHC tabulations of Public Use Microdata Sample. www.huduser.org/portal/pumd/
units are also home to female-headed              index.html.
households.

                                                                     2                                       ARROYO001425
RACE4
According to the 2010 American
Community Survey (ACS), non-Hispanic
whites make up 71% of all households in
the U.S, 56% of renters and 47% of ELI
renter households. While black households
                                                                          49%
                                                                           49%
                                                                                ■■ ■
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                                              chart 2 | HOUSEHOLDS BY RACE, ACROSS HOUSING PROGRAMS*

                                                                                  Black
                                                                                  Black     Hispanic
                                                                                            Hispanic


                                                                                            45%
                                                                                             45%
                                                                                                                 White
                                                                                                                 White      Othe
                                                                                                                            Other


                                                                                                                            45%
                                                                                                                             45%

compose 12% of all households, and 19%
of renters, they are overrepresented among
ELI renter households (26%). Hispanics                                                                                                    35%
                                                                                                                                           35%
compose another 12% of all households,                      33%
                                                             33%
                                                                                                          32%
                                                                                                           32%
18% of renters and 19% of ELI renters.

The distribution of residents living in
Project-Based Section 8 housing units is                                                           21%
                                                                                                    21%
similar to the racial composition of ELI
renters. About half (49%) of Project-Based                                                                                         16%
                                                                                                                                    16%

Section 8 residents are white, about a third                       13%
                                                                    13%
(33%) are black and 13% are Hispanic (See
Chart 2).

Across all public housing, about 45% of
residents are black while another third
(32%) are white and a little over 20% are
Hispanic. The residents utilizing housing
vouchers resemble those of public housing,
with a slightly higher proportion (35%)
                                                          I I
                                                            Project-Based
                                                                                  5%
                                                                                  5%




                                                                                Section 8
                                                               ProjectͲBasedSection8         Public  Housing
                                                                                                 PublicHousing
                                                                                                                  2%
                                                                                                                  2%



                                                                                                                                   Vouchers
                                                                                                                                     Vouchers

                                                          *These calculations exclude households for which data on race are not available.
                                                          Source: NLIHC tabulations of Public Use Microdata Sample. www.huduser.org/portal/pumd/
                                                          index.html.
                                                                                                                                                 3%
                                                                                                                                                 3%




of white tenants and a slightly lower




                                                           ■■ ■
proportion (16%) of Hispanic tenants.
Black households are 45% of voucher
holders (See Chart 2).                                     chart 3 | HOUSEHOLDS LIVING IN HIGH POVERTY NEIGHBORHOODS
                                                           (40% +) BY RACE, ACROSS HOUSING PROGRAMS*

                                                                                  Black
                                                                                  Black     Hispanic
                                                                                            Hispanic             White
                                                                                                                 White      Othe
                                                                                                                            Other
POVERTY RATES                                                                               41%
                                                                                             41%
BY CENSUS TRACT                                                                                    40%
                                                                                                    40%


Public housing tenants tend to be clustered
in census tracts with high poverty rates,
and black and Hispanic residents of public
housing are the most likely to live in census
tracts with poverty rates over 40%. Chart
                                                            29%
                                                             29%
3 shows that black and Hispanic public
housing residents are four times more
likely than white public housing residents                                                                       25%
                                                                                                                  25%

to live in high poverty neighborhoods,
and black and Hispanic voucher recipients                          21%
                                                                    21%

are about three times as likely as their
white counterparts to live in high poverty
neighborhoods. Census tracts with a
poverty rate of 40% or more fell into the
highest poverty concentration category                                           12%
                                                                                  12%                                       12%
                                                                                                                             12%
                                                                                                                                   11%
                                                                                                                                    11%
within the dataset. The 40% threshold is                                                                  10%
                                                                                                           10%




                                                                     I                               I
commonly used as a measure of extremely
high poverty.5                                                            7%
                                                                           7%


                                                                                                                                          4%
                                                                                                                                          4%
                                                                                                                                                 3%
                                                                                                                                                  3%
4
 All 2010 American Community Survey data in this
section are from National Low Income Housing Coalition
tabulations of Public Use Microdata Sample (PUMS)           Project-Based Section 8            Public Housing                      Vouchers
Housing and Population files.
5
 Kneebone, E., et al. (November 2011). The re-emergence   *These calculations exclude households for which data on race are not available.
of concentrated poverty. Washington, D.C.: Brookings      Source: NLIHC tabulations of Public Use Microdata Sample. www.huduser.org/portal/pumd/
Institution.                                              index.html.
                                                                             3                                     ARROYO001426
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Voucher recipients are not as likely as public housing residents to live              PROGRAM DEFINITIONS
in census tracts with the highest poverty rates, although this pattern
varies by race. As indicated in Table 3, a substantial proportion (28%)               PROJECT-BASED SECTION 8
of white voucher recipients live in the lowest poverty neighborhoods                  This housing is subsidized through long-term
(with poverty rates of 0-9%), while just 16% of black and 14% of
                                                                                      contacts between HUD and private property
Hispanic residents live in similarly low poverty communities. Both
black and Hispanic voucher recipients are less likely than their                      owners. The owner agrees to provide housing
counterparts in public housing to live in the highest poverty census                  to eligible tenants in exchange for a long-term
tracts.                                                                               subsidy from HUD. Project-based assistance
                                                                                      limits tenant contributions to 30% of a
                                                                                      household’s income. Assistance is attached to
                                                                                      the unit, and stays with the housing when the
 table 3 | CENSUS TRACT POVERTY RATES                                                 tenant moves.
 BY HOUSING PROGRAM AND RACE*
                                                                                      PUBLIC HOUSING
 Census Tract
 Poverty Rates*:   1   0 - 9%

 Project-Based Section 8
                                1 10 - 19%
                                             120 - 29%
                                                         1 30 - 39%
                                                                      1   40% +       Public housing is housing that is owned and
                                                                                      operated by local public housing agencies.
                                                                                      HUD provides federal funds to local housing
 Black                  6%          18%          25%         22%          29%         agencies that manage the properties and rent
 Hispanic               8%          25%          25%         21%          21%         units to eligible low income households. Rents
 White                 25%          37%          22%         10%           7%         are restricted to 30% of a household’s income.
 Other                 21%          28%          27%         12%          12%
                                                                                      SECTION 202
 Public Housing                                                                       This HUD program provides government loans
 Black                  4%          13%          21%         21%          41%         or grants to nonprofits to develop housing
 Hispanic               4%          13%          20%         24%          40%         for low income people who are elderly. The
 White                 15%          36%          27%         13%          10%         program provides both capital grants and
                                                                                      rental assistance contracts.
 Other                 11%          20%          23%         21%          25%
 Section 202                                                                          SECTION 811
 Black                 10%          23%          30%         19%          18%         This HUD program provides funding to
 Hispanic              16%          27%          26%         17%          13%         nonprofits to develop housing with supportive
 White                 37%          37%          19%          5%           2%         services for very low income adults with
 Other                 22%          39%          26%          6%           7%
                                                                                      disabilities. The program provides rent
 Section 811
 Black                 14%          25%          26%         20%
                                                                       am 15%
                                                                                      subsidies to the projects, making them
                                                                                      affordable.

 Hispanic              28%          33%          5%          13%          21%         VOUCHERS
 White                 35%          31%          21%          9%           4%         Administered by state and local housing
 Other                 59%          27%          15%          0%           0%         authorities, Housing Choice Vouchers are
 Vouchers
 Black                 16%          29%          27%         17%
                                                                      Ism 12%
                                                                                      allocated to households and provide a rental
                                                                                      subsidy, limiting the tenant’s contribution
                                                                                      to 30% of their income. Vouchers help low
 Hispanic              14%          31%          26%         17%          11%         income households find affordable housing in
 White                 28%          40%          21%          7%           4%         the private housing market by reimbursing
 Other                 25%          41%          23%          8%           3%         the landlord for the difference between the
                                                                                      household’s portion of the rent and the fair
*These calculations exclude households for which census tract poverty rate data and   market rent for that area as determined by
data on race were not available.                                                      HUD.
Source: NLIHC tabulations of Public Use Microdata Sample. www.huduser.org/portal/
pumd/index.html.




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CONCLUSION                                                            Document 112-7 Filed 11/11/19 Page 150 of 155
HUD’s new publicly accessible database helps residents,                                      Improvements to existing housing assistance programs
researchers and advocates understand the characteristics                                     can shift these consequences of federal housing policy.
of the households that rely on federal housing assistance                                    For example, the revitalization of public housing through
programs. The data reveal that households served by housing                                  current efforts like the Rental Assistance Demonstration and
assistance programs are extremely low income; many are                                       the Choice Neighborhoods Initiative should provide public
elderly or contain members with a disability, and many are                                   housing residents with more choices in their housing. As
led by women and include children. These demographic                                         neighborhoods and properties improve, residents may wish to
characteristics are not surprising. They closely parallel recent                             stay in or close to their communities. And some residents may
findings from the 2011 Current Population Survey Annual                                      wish to use a voucher to move to other neighborhoods. Both
Social and Economic Supplement.                                                              options should be provided to public housing residents.7

In 2011, the U.S. Census Bureau counted 46.2 million                                         Improvements to the voucher program itself can also help
Americans living in poverty in the United States, a poverty                                  increase renter choice. NLIHC supports HUD’s efforts to better
rate of 15% (U.S. Census Bureau, 2012).6 The poverty rate for                                match the value of rental assistance provided by a voucher with
2011 is much higher among women and children; nearly half                                    the actual rents in a particular neighborhood. This shifting
of children under age 18 living in a female-headed household                                 from a single, metropolitan-wide assistance value to rental
live in poverty. In all, demographic groups disproportionately                               assistance tied to the local cost of renting in a neighborhood,
affected by poverty are also more likely to be served by federal                             by ZIP code, will give voucher-assisted households greater
housing assistance programs.                                                                 opportunity to live in neighborhoods of their choosing.

The HUD microdata also provide important insight into the                                    NLIHC also supports more regional approaches to voucher
geographic distribution of housing assistance by race. The                                   administration and protection against housing discrimination
data suggest that receipt of housing assistance alone is not an                              based on income source.
indicator of the poverty level of the neighborhood in which
a household lives. However, race and, to a lesser extent, the                                However, these reforms will not end the shortage of housing
specific housing program, seem to play a role. Black households                              that the lowest income households in the U.S. can afford. That
living in public housing are four times more likely than their                               requires new investments in affordable housing such as the
white counterparts to live in census tracts where the poverty                                National Housing Trust Fund.
rate exceeds 40%. Among voucher holders, the story is
different: just 12% of black households live in high poverty                                 For more information on the National Housing Trust Fund,
census tracts compared to 4% of white households.                                            go to www.nhtf.org.




ABOUT THE DATA
The Public Use Microdata Sample is available to researchers upon request. Although public, prospective users must provide their
names, institutions and email addresses and certify that they will use the data for legitimate research purposes and will in no
way use the data to try to identify households. One of HUD’s primary concerns is the privacy of the tenants served by these
programs. HUD used strategies in the data to ensure that no personally identifiable information is revealed with this release.
HUD’s goal is to update this database annually.

To request access, please visit HUD’s website at www.huduser.org/portal/pumd/index.html.




6
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p60-243.pdf.
7
  Crowley, S. and Pelletiere, D. (2012). Affordable housing dilemma: the preservation vs. mobility debate. Washington, D.C.: National Low Income Housing Coalition. http://nlihc.
org/sites/default/files/Affordable_Housing_Dilemma_Report_May-2012.pdf.

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Housing Spotlight is a series of occasional research briefs from the
National Low Income Housing Coalition that use data from different
sources to highlight a variety of housing issues.

MEMBER BENEFITS
Housing Spotlight is among the valuable reports produced by
NLIHC. An increased supply of housing data in the past few years
means it can be difficult to know what data to use and when. One of
the benefits of being an NLIHC member is that our Research Team
is here to help you understand the data and identify the statistics
you really need to become a more effective advocate. This assistance
is provided at no additional charge.

To take advantage of this great membership benefit, contact NLIHC
Research Director Megan Bolton.

Join NLIHC and become eligible for research assistance and other
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FOR MORE INFORMATION
If you are interested in learning more about the datasets
mentioned in this edition of Housing Spotlight, have questions on
the methodology used, or have any other comments or questions,
please contact NLIHC’s Research Team.

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                  EXHIBIT L
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          Location

          About this Topic


          The National Crime Victimization Survey (NCVS) obtains information from a household sample about victim’s experiences and characteristics of the crime inci
          The survey measures the violent crimes of rape, sexual assault, robbery, aggravated and simple assault as well as personal theft (purse snatching and pocket
          picking). It includes the property crimes of household burglary, motor vehicle theft and property theft. Crimes that occur in commercial places such as stores
          banks, office buildings, parking garages and other locations are measured only if the victim(s) or household members in the survey experienced crimes at tho
          locations.

          Summary findings

                Between 2004 and 2008 --
                About 1 in 3 violent crimes occurred in or near the victim’s own home.
                During this time period almost 1 in 5 violent crimes took place in open areas such as yards, playgrounds, fields, on the street or in other similar locatio
                Almost two thirds of all property crimes took place in or near the home of the household members.
                More than 1 in 10 property crimes occurred in parking lots or garages.
                Purse snatchings and pocket pickings typically occur away from home. The most common places of occurrence were in commercial places such as
                restaurants, bars and other commercial buildings (39.1%) and open areas such as the street or on public transportation (28.2%). About 10% of perso
                thefts occurred in or near the victim’s home or the home of a friend or neighbor.

          School crime

                In 2007 --
                Students ages 12 to 18 were victims of about 1.5 million non-fatal crimes when they were at school compared to about 1.1 million non-fatal crimes wh
                they were away from school.
                About a third (32%) of public and private school students ages 12-18 reported that they have been bullied at school within the past six months.
                Among high school students in grades 9-12, about 12% said they got into a fight on school property.
                Ten percent of male students and 5% of female students reported experiencing a threat or injury with a weapon on school property.
                The percentage of students ages 12 to 18 victimized by violence and theft at school decreased between 1995 and 2005, and remained unchanged betw
                2005 and 2007. In 1995 about 10 percent of students were victims of violence or theft, compared to 4 percent in 2005 and 2007.

          Workplace violence

                Between 1993 and 1999--
                Of selected occupations examined, police officers were the most vulnerable to be victims of workplace violence, as well as correctional officers, taxicab
                drivers, private security workers, and bartenders.
                While working or on duty, U.S. residents experienced 1.7 million violent victimizations annually including 1.3 million simple assaults, 325,000 aggravat
                assaults, 36,500 rapes and sexual assaults, 70,000 robberies, and 900 homicides.
                Workplace violence accounted for 18% of all violent crime.
                Police officers were victims of a nonfatal violent crime while they were working or on duty at a rate of 261 per 1,000 officers.



           Detailed                                                                            Average annual 2004-2008
           place of
          occurrence                                                             Violent victimizationsa      Property victimizationsb
          for violent
              and                                                                 Number        Percent        Number         Percent
           property
            crimes, Total                                                         5,507,130       100.0%       18,004,640    100.0%
           average
            annual Total in own home or lodging                                     990,900         18.0        4,801,740      26.7
          2004-2008 In own dwelling, own attached garage,                           969,010         17.6        4,076,310      22.6
                      or enclosed porch
                      In detached building on own property                             8,910         0.2          599,590       3.3
                      In vacation home/second home                                     5,140         0.1*          79,930       0.4
                      Hotel or motel room                                              7,840         0.1           45,910       0.3

                      Total near own home                                           866,230         15.7%       6,716,440      37.3%
                       Own yard, sidewalk, driveway, carport                        550,890         10.0        5,486,250      30.5
                       Apartment hall, storage area, laundry room                    52,540          1.0          176,150       1.0
                       On street immediately adjacent to own home                   262,790          4.8        1,054,040       5.9

                      Total at or near friend's, neighbor's or relative's
                                                                                    504,010          9.2%         652,640       3.6%
                      home
                       At or in friends/relatives/neighbor's home                   262,330          4.8          277,630       1.5
                       Friend/relatives/neighbors yard, sidewalk,
                                                                                    158,780          2.9          239,400       1.3
                       driveway
                       Friends/relatives/neighbor's apartment hall,
                       storage area,
                       laundry room                                                   13,960         0.3            6,980       0.0
                       On street adjacent to
                                                                                      68,940         1.3          128,630       0.7
                       friend's/relative's/neighbor's home

                      Total in commercial placesc                                   664,700         12.1%         933,270       5.2%
                       Commercial restaurant, bar, nightclub                        244,000          4.4          209,350       1.2
                       Inside office                                                 74,900          1.4          157,720       0.9
                       Bank                                                           9,100          0.2           10,820       0.1
                       Gas station                                                   63,530          1.2           58,860       0.3
                       Other commercial building                                    230,210          4.2          438,840       2.4
                                                                                                                                ARROYO001420

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Bureau of Justice Statistics (BJS) - Location                                                                          https://www.bjs.gov/index.cfm?ty=tp&tid=44
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           Factory/warehouse                                              42,960         0.8            57,680       0.3

          Total in parking lots or garagesc                              401,920         7.3%       2,018,180      11.2%
           Commercial parking lot/garage                                 110,620         2.0          413,050       2.3
           Noncommercial parking lot/garage                              213,540         3.9          864,190       4.8
           Apartment/townhouse parking lot/garage                         77,760         1.4          740,950       4.1

          Total in school or on school property                          714,860        13.0%       1,272,570        7.1%
           Inside school building                                        464,540         8.4        1,004,890        5.6
           On school property                                            250,320         4.5          267,670        1.5

          Total in open areas, on street or public
                                                                         967,800        17.6%         748,150        4.2%
          transportation
            In apartment yard, park, field, playground                   130,270         2.4          158,360        0.9
            On street other than near own or
            friend/neighbor/
            relative's house                                             787,640        14.3          457,590        2.5
            On public transportation or in station                        49,910         0.9          132,190        0.7

          Other                                                          396,700         7.2%         861,660        4.8%

          *Based on 10 or fewer cases.
          aViolent crimes exclude murder and include rape, sexual assault, robbery, and aggravated or simple assault.
          bProperty crimes include household burglary, motor vehicle theft, and property theft.
          cAll victimizations occurred at these locations to persons or members of households that were interviewed.
          Crimes which occurred to commercial or business facilities are not measured.

          Publications & Products


          Indicators of School Crime and Safety, 2012 Presents data on crime and safety at school from the perspectives of students, teachers, and principals. Thi
          annual report, a joint effort by the Bureau of Justice Statistics and the National Center for Education Statistics (NCES), provides the most current detailed sta
          information on the nature of crime in schools.
            PDF (1.7M) | Comma-delimited format (CSV) (Zip format 352K)
            Part of the Indicators of School Crime and Safety Series

          Workplace Violence Against Government Employees, 1994-2011 Presents information on both nonfatal and fatal forms of violence in the workplace ag
          government employees, based on the Bureau of Justice Statistics' National Crime Victimization Survey and the Bureau of Labor Statistics' Census of Fatal
          Occupational Injuries.
           Press Release | PDF (1.3M) | ASCII file (37K) | Comma-delimited format (CSV) (Zip format 25K)
           Part of the Violence in the Workplace Series

          Workplace Violence Against Government Employees, 1994-2011 RATES OF WORKPLACE VIOLENCE HIGHER FOR GOVERNMENT EMPLOYEES
           Press Release
           Part of the Violence in the Workplace Series

          Jails in Indian Country, 2011 2,239 INMATES IN INDIAN COUNTRY JAILS IN 2011, UP 5.7 PERCENT FROM 2010
           Press Release
           Part of the Jails in Indian Country Series

          Methods for Counting High-Frequency Repeat Victimizations in the National Crime Victimization Survey Examines the nature and extent of series
          victimization in the National Crime Victimization Survey (NCVS).
            PDF (2.39M) | ASCII file (101K) | Spreadsheets (Zip format 40K)

          Workplace Violence, 1993-2009 Presents information on violence in the workplace against employed persons based on the Bureau of Justice Statistics' Na
          Crime Victimization Survey and the Bureau of Labor Statistics' Census of Fatal Occupational Injuries.
           Press Release | PDF (640K) | ASCII file (29K) | Spreadsheet (Zip format 31K)
           Part of the Violence in the Workplace Series

          Jails in Indian Country, 2009 INMATE POPULATION IN INDIAN COUNTRY JAILS INCREASED 1.9 PERCENT IN 2009
           Press Release
           Part of the Jails in Indian Country Series

          Indicators of School Crime and Safety: 2010 (Revised) Presents data on crime and safety at school from the perspectives of students, teachers, and
          principals. A joint effort by the Bureau of Justice Statistics and the National Center for Education Statistics, this annual report examines crime occurring in sch
          well as on the way to and from school.
            PDF (3.8MB) | ASCII file (357K) | Spreadsheets (Zip format 375K)
            Part of the Indicators of School Crime and Safety Series

          Indicators of School Crime and Safety: 2009 Presents data on crime and safety at school from the perspectives of students, teachers, and principals. A j
          effort by the Bureau of Justice Statistics and the National Center for Education Statistics, this annual report examines crime occurring in school as well as on
          way to and from school.
            Acrobat file (PDF 2M) | ASCII file (204K) | Zip format (124K)
            Part of the Indicators of School Crime and Safety Series

          Indicators of School Crime and Safety, 2003 Presents data on crime at school from the perspectives of students, teachers, principals, and the general
          population.
           Press Release | ASCII file (150K) | Spreadsheet (Zip format 127K) | Full Report (PDF 825K) | Indicators 1-19 (PDF 374K) | Supplemental tables (PDF 224K
           Standard error tables (PDF 188K) | Appendices (PDF 173K) | Codebooks and Datasets
           Part of the Indicators of School Crime and Safety Series


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